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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

SHANNON RUSSELL AGUIRRE,           )
EDWARD BLOTNICKI III,              )
SANDRA BURNS, JOHN BRILEY,         )
BENJAMIN CARTER, TINA CASH,        )
DANIEL DURGIN, STEFANIE EMERICK,)                   Case No. 1:19-cv-09577
TAWANA HUSTON, ERIC FISHON,        )
ERICA PARKS, SARAH PATELLOS,       )
ROMONA REED,                       )                THIRD AMENDED
CHRIS SMITH, KRISTIN STELEA,       )                CLASS ACTION COMPLAINT
PEGGY TATUM, TIMOTHY THOMAS, )
CHRISTINA VAIN, and TIA WINSTON, )
on behalf of themselves and others )
similarly situated,                )
                                   )                JURY TRIAL DEMANDED
             Plaintiffs,           )
vs.                                )
                                   )
                                   )
HELLO PRODUCTS, LLC,               )
                                   )
             Defendant.            )


       Plaintiffs Shannon Russell Aguirre, Edward Blotnicki III, Sandra Burns, John Briley,

Benjamin Carter, Tina Cash, Daniel Durgin, Stefanie Emerick, Eric Fishon, Tawana Huston, Erica

Parks, Sarah Patellos, Romona Reed, Chris Smith, Kristin Stelea, Peggy Tatum, Timothy Thomas,

Christina Vain, and Tia Winston (“Plaintiffs”) bring this Class Action against Hello Products, LLC

(“Defendant” or “Hello” herein), on behalf of themselves and all others similarly situated, and

allege the following based on their personal knowledge and the investigation of their counsel:

                                      I.     INTRODUCTION

       1.      This is a consumer Class Action against Defendant, an oral care company, for its

false advertising, unfair and deceptive marketing practices, and materially misleading claims and
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omissions it negligently employed and disseminated in connection with the sale of its line of dental

products containing activated charcoal.

         2.       Activated charcoal is highly porous and has adsorptive qualities that can be useful

in certain contexts. In recent years, health and beauty products containing activated charcoal have

become a consumer sensation. Opportunistic marketers, celebrities and social media influencers

tout a variety of activated charcoal products for purported detoxifying properties and other

enhanced wellbeing and health benefits. Consumers have been willing to pay a premium for these

charcoal products based on these purported benefits.

         3.       Hello sells oral care products containing activated charcoal, including the following

products: (1) activated charcoal fluoride free toothpaste; (2) activated charcoal epic whitening

fluoride toothpaste; (3) cbd fluoride free toothpaste + activated charcoal; (4) activated charcoal +

hemp seed oil toothpaste; (5) activated charcoal + matcha green tea toothpaste (6) activated

charcoal + natural dragon fruit toothpaste; (7) activated charcoal + natural açai toothpaste; and (8)

other charcoal oral care products..” 1 Hereinafter, these products as well as any other Hello products

containing activated charcoal that have been available for purchase within the relevant statute(s)

of limitations, will be referred to collectively herein as the “Charcoal Products” and the

toothpastes specifically will be referred to as the “Charcoal Toothpastes.” Additionally, at times

when relevant to the allegations herein, Charcoal Toothpastes containing fluoride are referred to

as the “Fluoride Charcoal Toothpastes” and those that are fluoride-free are referred to as the



1
          In its marketing materials and on its product packaging and labeling, Defendant typically uses lower case
font, rather than capitalized letters. It uses lower case in its presentment of its brand name (“hello products” or
“hello”), as well as in the printed or online text with which it conveys product and brand information, including
descriptors, ingredients lists, claimed benefits and properties of the product, directions for use, and other claims and
representations. For purposes of this Complaint, capitalization is used when referring to Hello in its capacity as the
Defendant. Otherwise, the Complaint will replicate the same use of lower case lettering used by Hello in its product
names, descriptors and other written representations on its product packaging and in print and online marketing
materials.

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“Fluoride-Free Charcoal Toothpastes.” Both subsets are otherwise subsumed in the term

Charcoal Toothpastes.

        4.       Hello promotes the Charcoal Toothpastes as whitening, cleansing, polishing,

breath-freshening, stain-lifting, plaque-removing, detoxifying, adsorptive, and generally safe,

effective and beneficial for daily, long-term oral care use. Multiple claims are printed on the

product packaging and tube labels of the Charcoal Toothpastes, including: “whitens naturally,”

“noticeably whiter teeth” and “epic whitening.” The packaging and tubes also claim that activated

charcoal “is a detoxifier that removes surface stains and freshens breath.” The ingredients list

states: “charcoal powder (whitens, polishes and cleans teeth/freshens breath).” The Fluoride

Charcoal Toothpastes additionally state: “safe for enamel.” In its extensive online marketing and

print advertising, Hello makes the same and similar claims of “epic” and natural whitening effects,

detoxifying and adsorptive properties, gentleness and safety for long-term daily use, and other

benefits of its Charcoal Toothpastes. Hello often employs the marketing slogan: “it’s simple, black

paste equals white teeth.”

        5.        Hello’s marketing strategy has been very successful, and the Charcoal Toothpastes

have become one of the top sellers in its product category. It reports that its toothpaste, “hello

activated charcoal fluoride-free whitening toothpaste” is the “#1 selling charcoal toothpaste in

FDM (source: IRI MULO L52 weeks 3.24.19).” 2 However, that success is built around messaging

that is materially misleading and deceptive to consumers, lacks a factual basis, and negligently and

recklessly omits material information concerning the use of charcoal in oral care.

        6.        Hello promotes itself as a “naturally friendly” brand to be trusted and relied upon

by consumers in connection with their decision-making as to oral health and dental hygiene.


2
       Reported at the bottom of all hello-products.com pages, https://www.hello-products.com/ (last accessed
September 17, 2019).

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Through its marketing campaign, which is ubiquitous and high in volume and content, Hello

conveys a clear message that the brand is extremely conscientious and focused on health and

safety. Hello specifically holds itself out as possessive of expertise and specialized knowledge on

oral healthcare, and qualified to promote its “thoughtfully formulated” Charcoal Toothpastes.

Hello has consistently employed this messaging for several years, and through it has sought to

instill consumer confidence. It has done so knowing consumers’ belief in its purported specialized

knowledge and trustworthiness would induce consumers to rely on its specific claims concerning

its products. Hello was and remains uniquely situated to evaluate the veracity of its claims on its

own products, and consumers were justified to rely on the brand and the ubiquitous claims of

safety, gentleness, ‘natural’ whitening, detoxifying and other properties of the Charcoal

Toothpastes. And consumers (including the named Plaintiffs) did in fact so rely, when they made

their decision to purchase the Charcoal Products and use them for dental hygiene and oral health

maintenance. As such, a “special relationship” that imposes a duty on Hello to impart correct

information to Plaintiffs and other consumers was in existence at all relevant times.

        7.       Indeed, Hello was well aware that it had duties to uphold as to its marketing,

advertising and labeling of the Charcoal Products. This is in part evidenced by the fact that the oral

care products it develops, markets, and sells are all subject to a legal and regulatory framework

over cosmetics and over-the-counter drugs. 3 For example, the Federal Trade Commission (“FTC”)

requires that marketers such as Hello ensure that advertising claims are truthful, not misleading,

and supported by a reasonable basis and to do so before disseminating such claims. The Federal

Food and Drug Administration (“FDA”) prohibits the misbranding of products such as the

Charcoal Toothpastes, and are deemed misbranded if false or misleading in any particular. They


3
         Each of the Charcoal Toothpastes qualify as a cosmetic or a combination of cosmetic and over-the-counter
drug, under the pertinent legal framework, as explained infra.

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can also be deemed misbranded if certain claims conveyed lack the requisite competent and

reliable scientific evidence to substantiate them. Federal law and agency regulations, as well as

certain state consumer protection laws that mirror the same, clearly provide for a standard of care

and various obligations as to transparency, truthfulness, disclosures and substantiation of the

health, safety and efficacy claims for products that qualify as cosmetics, over-the-counter drugs,

or a combination of the two.

        8.       The consensus of respected dentists, researchers and industry experts weighs

against the use of charcoal dentifrices, 4 due to the lack of scientific substantiation on safety and

efficacy, as well as risks of harm. For example, in 2017, findings published in the Journal of the

American Dental Association (JADA) concluded that there is insufficient laboratory or clinical

data to substantiate the safety and efficacy of dentifrice containing activated charcoal, and

cautioned against its use. In 2019 the British Dental Journal (BDJ) again confirmed a lack of

substantiation in the form of scientific, sound and reliable studies. The 2019 BDJ article expressed

concern that charcoal toothpastes are a “marketing gimmick” that could, in fact, cause harm to oral

health, structures, and aesthetics. Many qualified dental professionals have also spoken out on

these findings and other safety, therapeutic and cosmetic concerns, and have cautioned against the

use of charcoal dentifrices. Dr. Ada Cooper, a spokesperson for the American Dental Association,

recently commented on the lack of safety substantiation (and reported hazards) for charcoal

dentifrice and stated: “Just because something is popular doesn’t mean it’s safe.” 5




4
          “Dentifrice” is a term for tooth-cleansing pastes and powders.
5
          “Beware Whitening Promise of Charcoal Toothpastes,” The Family Dental Center, Mar. 2019,
[https://thefamilydentalcenter.com/blog/beware-whitening-promise-of-charcoal-toothpastes/]. (emphasis added).

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       9.       Notably, the American Dental Association (“ADA”) has not approved any

charcoal dentifrices for its ADA Seal of Acceptance (the “ADA Seal”). The ADA Seal certifies

the safety and efficacy of a dentifrice, based on clinical data and research.

       10.     Hello knew or should have known that many of its claims regarding the Charcoal

Toothpastes were misleading, deceptive, and/or false and lacked a reasonable basis or credible

substantiation. For example, the promise that the Charcoal Toothpastes functioned as an oral

detoxifier that can remove surface stains through adsorption is pseudo-scientific, and essentially

an impossibility. And, despite its affirmative and persistent messaging around the thoughtful

formulation of its ‘naturally friendly’ products, as well as its legal obligations to have a basis for

its claims, Hello did not possess the requisite evidence to substantiate its claims concerning the

cosmetic and health benefits or the safety of its Charcoal Toothpastes; such evidence did not exist

at the times it made its claims, nor does it currently exist. Hello actively mislead consumers to

believe the product was safer and gentler than other whitening toothpastes, and superior to other

similar products sold by competitors, and also that Hello had the credibility and science to back

up all of its claims (for example, on the Hello website it states “a resounding YES” in response to

whether the products are safe). Hello induced consumers’ trust and reliance, and encouraged

consumers to engage with its website and hashtags and presents numerous claims on the safety,

function, and attributes of charcoal for use in oral care, much of which are accredited to a research

scientist who “thoughtfully formulated” the products themselves.

       11.     Hello also omitted material facts, including that charcoal, when used in dentifrice

is known to be abrasive to enamel and the gums, and to pose risky safety hazards with use. And,

it may in fact be detrimental and harmful to oral health and aesthetics. It failed to disclose that




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scientific literature contra-indicates the safety and efficacy of charcoal in oral care use. It failed

to disclose its lack of safety substantiation, despite a duty to do so.

        12.     Such representations and omissions were and are materially misleading, in that they

are likely to deceive a reasonable consumer and also directly concern unique and intrinsic qualities

of the products, and caused an increase in consumers’ perception of their value. Consumers

(including the named Plaintiffs) would not have paid premium prices or even purchased them at

all, but-for the representations on the attributes of activated charcoal and the benefits its products

could naturally and safely deliver. Moreover, had Hello revealed that charcoal in dentifrice is

highly abrasive, carries significant risks, and/or even that Hello lacked the substantiation it was

legally required to possess for its claims, then reasonable consumers, who had been drawn in by

Hello’s friendly marketing tactics, would have had cause to refrain from purchasing, as well as

using the Charcoal Toothpastes.

        13.     Hello nonetheless aggressively proceeded with its opportunistic marketing

campaign, claiming to be conscientious, trustworthy and possessive of special expertise on its

Charcoal Toothpastes in order to secure consumer confidence, while negligently and recklessly

making false, misleading, unsubstantiated, or impossible claims on its benefits and properties. To

the current day, Hello continues its negligent and false advertisement campaign to induce

consumer reliance and purchase, without regard to the consequences to the deceived consumer.

        14.     Hello’s messaging and marketing claims are substantial in volume and content and

are ubiquitously made both online and are printed on the product packaging and labeling of the

Charcoal Toothpastes, such that the Plaintiffs and other consumers are exposed to a coherent

advertising scheme and claims that are uniformly the same and/or substantially similar.




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         15.      Hello charges a $1 to $2 price premium for the Charcoal Toothpastes over Hello’s

other toothpastes that do not contain charcoal.

         16.      As a result of Hello’s marketing claims and messaging Plaintiffs and other

consumers reasonably and justifiably relied upon and attributed credence and value to the asserted

benefits, efficacy, and safety of the Charcoal Toothpastes. They did not know, nor could have

known, of Hello’s omissions of material information and misrepresentations deceptive and false

marketing practices, or of the lack of required substantiation on safety and efficacy.

         17.      As a direct and proximate result of Hello’s misrepresentations, material omissions

and deceptive practices in its advertising and labeling, Plaintiffs and others similarly situated have

suffered actual injuries from their purchase of one or more of the Charcoal Toothpastes, and did

not receive the full value of their purchase. 6 Hello successfully induced Plaintiffs and the putative

class members to purchase the Charcoal Toothpastes that (i) cannot and do not perform by

‘naturally’ whitening, detoxifying, adsorbing, and other promises; (ii) are not safe and gentle as

represented; (iii) do not meet basic oral hygiene needs that other, less expensive dentifrices would;

and (iv) may in fact be detrimental and harmful to oral health and aesthetics. Furthermore, some

consumers have experienced the extreme negative effects that activated charcoal can cause,




6
           All that Plaintiffs must allege that “on account of a materially misleading practice, [they] purchased a
product and did not receive the full value of [their] purchase.” See Izquierdo v. Mondelez Int'l, Inc., No. 16-cv-
04697 2016 WL 6459832, at *7 (S.D.N.Y. Oct. 26, 2016) (quoting Orlander v. Staples, Inc., 802 F.3d 289, 302 (2d
Cir. 2015)). “Defendant argues that New York courts have recognized the payment of a plaintiff's purchase price as
a Section 349 injury only when the plaintiff paid a “price premium.” But there is no such rigid “price premium”
doctrine under New York law.” Orlander v. Staples, Inc., 802 F.3d 289, 302 (2d Cir. 2015).
          In some consumable products cases, the issue of a specific “price premium” will be relevant because it
shows that plaintiffs paid more than they would have for the good but for the deceptive practices of the defendant-
sellers. See Koenig v. Boulder Brands, Inc., 995 F.Supp.2d 274, 288–89 (S.D.N.Y.2014) (finding a sufficiently-pled
§ 349 injury where plaintiff alleged that he would not have paid the price charged for “fat-free” milk had he known
it contained fat); Lazaroff v. Paraco Gas Corp., 967 N.Y.S.2d 867, 2011 WL 9962089 (N.Y.Sup.Ct. Kings Cty.,
Feb. 25, 2011) (finding a sufficiently-pled § 349 injury where plaintiff alleged that he would not have paid the price
charged for a “20 pound” propane cylinder had he known it contained only 15 pounds of propane).


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including discoloration of the gumline, gum irritation, excessive abrasion of tooth enamel and

dentin, yellowing of the teeth, and damage to dental implants. 7

          18.     By falsely advertising and misbranding its Charcoal Toothpastes, Hello prioritizes

its own profits and jeopardizes consumers’ dental hygiene, oral health and safety. Hello’s conduct

in its advertising, labeling, and sale of the Charcoal Toothpastes was, and continues to, be

substantially injurious to consumers, as well as unconscionable and in contravention of public

policy.

          19.     Hello’s false advertising and labeling and materially misleading claims and

omissions have enabled it to sell the Charcoal Toothpastes in great quantity. In 2018, Hello’s CEO

Craig Dubitsky estimated that Hello’s revenue would exceed $20 million. 8

          20.     Defendant’s conduct is consumer-oriented and likely to deceive reasonable

consumers, and is in violation of New York consumer laws and constitutes unlawful practices in

violation of Sections 349 and 350 of New York General Business Law and is also in violation of

the consumer protection laws of various other states, as alleged in greater detail herein.

Defendant’s conduct also constitutes a breach of the UCC express and implied warranties, as well

as violations of common law. Defendant was unjustly enriched as result of its misconduct.

          21.     Plaintiffs bring this proposed Class Action on behalf of themselves and other

similarly situated consumers who purchased Hello’s Charcoal Products within the relevant

statute(s) of limitations (the “Nationwide Class”), as well as proposed subclasses of members who

purchased Hello’s Charcoal Products in various states (defined below). Together, the Nationwide



7
         And, for the rest, on top of their out-of-pocket economic injury many are left other murkier consequences
such as depleted oral health or a continued inability to know for sure if the use of the Charcoal Toothpastes damaged
their enamel or gums or was otherwise detrimental to their oral health.
8
         Amy Feldman, “Taking on the Toothpaste Giants: How One Entrepreneur Built a Fresh $20 Million
Brand,” Forbes, Mar. 29, 2018, [https://www.forbes.com/sites/amyfeldman/2018/03/29/taking-on-the-toothpaste-
giants-how-one-entrepreneur-built-a-fresh-20-million-brand/#4ba7c73c4019] (last accessed June 20, 2019).

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Class and subclasses are collectively referred to herein as the “Class”.. For the alleged violations

of state statutory law and common law, Plaintiffs seek, on behalf of themselves and the members

of the Class, to recover compensatory and statutory damages, treble or punitive damages as

available, attorneys’ fees and costs, as well as declaratory and injunctive relief.

                                      II.      JURISDICTION AND VENUE

         22.      This Court has jurisdiction over this matter under the Class Action Fairness Act

(“CAFA”), 28 U.S.C. § 1332(d), as the amount in controversy exceeds $5 million, exclusive of

interests and costs; it is a class action of over 100 members; and each of the Plaintiffs, with the

exception of Plaintiff Vain, is a citizen of a state different from the Defendant.

         23.      This Court has personal jurisdiction over Defendant, 9 because Defendant has

sufficient minimum contacts with the state of New York and purposefully availed itself, and

continues to avail itself, of the jurisdiction of this New York through the privilege of conducting

its business ventures in the state of New York, thus rendering the exercise of jurisdiction by the

Court permissible under traditional notions of fair play and substantial justice. Specifically, it

promotes its products (including the Charcoal Toothpastes) in this state through print and online

advertising and marketing disseminated in New York (and targeted at New York residents), and

also distributes and sells its products (including the Charcoal Toothpastes) in the state of New

York. Much of the conduct giving rise to this action occurred in the state of New York because

many of the acts, claims and omissions giving rise to this action occurred in and were disseminated

in the state of New York; several of the named Plaintiffs made their purchases in the state of New

York and the purchased products were delivered to and/or used in New York; because Hello



9
          At all relevant times hereto, Defendant was a non-domiciliary entity that was duly authorized to conduct
business in the state of New York. Defendant has committed tortious acts causing injury to consumers within the
state of New York, which Defendant should reasonably have foreseen.

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entered into and serviced numerous sales transactions for the Charcoal Products in the state; and

numerous other putative class members also purchased the Charcoal Products in New York, and

did so in reliance on, and as an immediate result of, the claims and omissions by Hello in its

labeling, marketing, and advertising scheme. Hello’s activity within the state is substantial and is

not isolated.

        24.      Venue is proper in this district under 28 U.S.C. § 1391(a) because a substantial part

of the events or omissions giving rise to Plaintiffs’ claims occurred in this district, as Defendant

does business throughout this district (including promoting, selling, marketing, and distributing

the Charcoal Products at issue), and several of the named Plaintiffs made their purchase of the

Charcoal Toothpaste in this district and their purchased product was delivered to, and used, in this

district.

                                            III.    PARTIES

        25.      Plaintiff Timothy Thomas (“Plaintiff Thomas” or “Mr. Thomas”) resides in

Chandler, Arizona. Plaintiff Thomas purchased a Charcoal Toothpaste at Walmart in December

2018 and February 2019. Mr. Thomas was influenced by and specifically relied upon claims that

that the product was natural and that it would safely, gently and effectively whiten and brighten

teeth through the special properties of charcoal, and detoxify and freshen breath. He believed it

was a healthier, safer, less abrasive, and natural alternative to other tooth whitening products.

Hello’s product packaging and marketing led him to believe that the product had been tested and

proven to be safe. It also led him to believe it would be highly effective because of its touting of

the miraculous attributes of charcoal, including claims of “epic whitening” and “works brilliantly.”

However, his expectations were not met. The product did not achieve the desired results of




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whitening his teeth or noticeable breath freshening. It was also messy, and added a chore of

cleaning up all the black paste, but with no added benefit.

       26.     Plaintiff Tina Cash (“Plaintiff Cash” or “Ms. Cash”) resides in West Memphis,

Arizona. Plaintiff Cash purchased a Charcoal Toothpaste on several occasions, including in May

and June of 2019. Plaintiff Cash was influenced by and specifically relied upon claims that the

product would naturally whiten teeth, freshen breath, and remove plaque. The product was touted

to “work brilliantly,” so the branding made her believe the product would really work. The black

color of the toothpaste brought it a unique appeal because it seemed different and likely to be

effective if it had such a high concentration of the charcoal ingredient touted with so many benefits.

She expected the product to promote good oral health, to safely whiten teeth, and to remove plaque.

Plaintiff Cash purchased the product numerous times, but after a prolonged period of use, she

found the product did not meet her expectations. Ms. Cash stopped using the product when she

noticed particles lingering in her mouth (in between her teeth and along the gumline). She remains

concerned because she can still feel charcoal particles that remain in her teeth and gums.

       27.     Plaintiff Peggy Tatum (“Plaintiff Tatum” or “Ms. Tatum”) resides in Brentwood,

California. Plaintiff Tatum purchased a Charcoal Toothpaste on June 14, 2019 at Target. She

expected that use of the product would result in healthier, more beautiful white teeth. However,

her expectations were not met.

       28.     Plaintiff Kristin Stelea (“Plaintiff Stelea” or “Ms. Stelea”) is an American citizen

who resides in London, England, and resided in the State of California at the time she purchased

the Hello Activated Charcoal Whitening Toothpaste (the “product” for purposes of this paragraph).

She purchased the product in a store in California. The product appealed to her because it

advertised that it was “clean,” “paraben-free” “sulfate-free” and “dye-free”. She was also induced



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to buy the product because the advertising said it would whiten her teeth. She believed that because

of the advertising, the product would be a safe and clean product. However, Ms. Stelea’s

expectations were not met, and she disposed of the product because of its taste, residue, and gritty

texture.

        29.      Plaintiff Benjamin Carter (“Plaintiff Carter” or “Mr. Carter”) resides in Denver,

Colorado. Plaintiff Carter purchased a Fluoride-Free Charcoal Toothpaste from Grove

Collaborative (an online site purveying “eco friendly” and “natural” household and personal care

products at www.grove.co). He purchased the Charcoal Toothpaste as part of a trio offered on the

Grove online store, which also came with a Hello brand charcoal mouthwash and a Hello brand

charcoal toothbrush. 10 Mr. Carter was influenced by and relied upon the claim that the product

would naturally and safety whiten his teeth, and do so without the use chemicals or other damaging,

dangerous or poisonous ingredients. Mr. Carter held an affirmative expectation that the Fluoride-

Free Charcoal Toothpaste would not cause damage. This was important to Mr. Carter because he

knew he needed to protect his teeth from damage. He had opted against a fluoride product because

he was concerned about the risks of fluoride use. As such, while he did not expect the product

would strengthen his teeth (because it did not contain fluoride and did not claim to strengthen

teeth), Mr. Carter nonetheless recalls explicitly expecting that product use would not weaken or

damage his teeth. He was impressed that the brand appeared to make a significant effort to be less

impactful on the environment, and also to provide effective and safe products without the use of

unsafe ingredients. Hello’s marketing created an impression in him that the brand was clean,

friendly, and simple – just as he hoped his teeth would be. Mr. Carter expected the product to clean


10
   Hello offers the same oral care trio, or “hello activated charcoal bundle,” on its website and promotes it as “a
regimen that’s pretty coal.” It contains the “hello activated charcoal epic whitening fluoride-free toothpaste with
fresh mint + coconut oil” and “hello activated charcoal extra freshening mouthwash, natural fresh mint with coconut
oil” and a “hello activated charcoal bamboo toothbrush.”

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his teeth effectively (and thereby help to prevent cavities and other problems). He also expected

that the promised whitening effects would be achieved rather quickly, especially since he used it

in conjunction with the other two Hello charcoal products within the oral care trio (the mouthwash

and toothbrush are both also touted as whitening). After a period of use, however, Mr. Carter did

not experience any cosmetic benefits or oral health improvements. There was no noticeable

difference in the coloration of his teeth, and he also became increasingly concerned about his tooth

enamel and overall oral health. His dentist urged him to use fluoride products.

       30.     Plaintiff Erica Parks (“Plaintiff Parks” or “Ms. Parks”) resides in Orlando, Florida.

Plaintiff Parks purchased a Fluoride-Free Charcoal Toothpaste at a Publix store. She was

influenced by the product packaging as well as the advertising online on Hello’s website. She

specifically relied upon Hello’s claim of “epic whitening,” and she expected it to perform as stated.

She also relied on and expected the product to perform in its claim to freshen breath. The dark

black color of the toothpaste left an impression on Ms. Parks, because she believed it meant it

contained more charcoal in it than other charcoal toothpastes she previously used (that were lighter

and grey in color), and would therefore be more effective. However, after a period of use her

expectations were not met. The promised epic whitening of teeth did not come to fruition, and she

did not feel the product freshened her breath, nor could she discern a freshening mint taste at all.

She also felt the other more grey colored charcoal pastes she previously purchased had been much

more effective at cleansing, whitening and freshening breath, and generally worked much better.

       31.     Plaintiff Daniel Durgin (“Plaintiff Durgin” or “Mr. Durgin”) resides in Boston,

Massachusetts. Plaintiff Durgin purchased Hello activated charcoal fluoride-free whitening

toothpaste with fresh mint + coconut oil in or about September 2019, as well as one of Hello’s

activated charcoal toothbrushes, at a Walmart store in Quincy, Massachusetts. He bought the



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toothpaste based on claims made on the product packaging, primarily that it was labeled as a

“whitening toothpaste” and that it “ whitens” teeth, and he believed, based on these claims, that it

would make his teeth whiter. The marketing as a whole left him with an impression that the product

would be good for his teeth overall and would be safe to use. After a period of use of about three

weeks, Mr. Durgin did not see his teeth become noticeably whiter. He also came across an article

in the October 4, 2019 edition of Men’s Health magazine, 11 and it alerted him to ineffectiveness

and potential harm from charcoal toothpastes 12, and he became concerned about the use of the

product (that it was not only ineffective as a whitener but that it also may not be safe to use and

may cause damage to his teeth).

        32.      Plaintiff John Briley (“Plaintiff Briley” or “Mr. Briley”) resides in Carmel, New

York. Plaintiff Briley purchased a Fluoride-Free Charcoal Toothpaste at Shop Rite in Carmel, New

York. He was influenced by the advertising and marketing, which conveyed an overall sense that

use of the product would result in cleaner and improved teeth. Specifically what stood out was that

the product would strengthen teeth, and that it had natural teeth whitening properties and abilities.

Mr. Briley expected the product to strengthen his teeth, whiten his teeth for improved personal

public appearance and better oral health. After a period of use, his expectations not met.

        33.      Plaintiff Sarah Patellos (“Plaintiff Patellos” or “Ms. Patellos”) is a natural person

and a citizen of New York. She lives within the Southern District of New York. On May 17, 2019,

Ms. Patellos purchased the “hello charcoal epic whitening fluoride-free toothpaste” online on

Amazon. Prior to her purchase, Ms. Patellos saw and reviewed Hello’s advertising claims online


11
          Christa Sgobba, “Why Brushing Your Teeth With Charcoal Toothpaste Is Stupid and Unnecessary,” Men’s
Health, Oct. 4, 2019 (subtitle: “The newest whitening fad might actually increase your risk of cavities”).
12
          The Men’s Health article cited a 2017 statement from the British Oral Health Foundation (warning people
that the whitening effects of activated charcoal may be overblown and that brushing with it may actually put your
teeth at risk), the JADA review from 2017 and research from the Journal of Physics: Conference Series (which
found that brushing with activated charcoal increases the roughness of tooth enamel, which “can put you at risk of
greater plaque accumulation, more cavities, and even periodontal disease”).

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on Amazon.com and the claims on the toothpaste packaging and labeling itself, and she made her

purchase the toothpaste in reliance thereon. Ms. Patellos specifically relied upon representations

made by Hello that the toothpaste would naturally whiten her teeth, and that it was safer and less

damaging than other whitening toothpastes. She relied on the marketing and packaging that

represented activated charcoal as having unique properties that added a special value, and she

would not have purchased the product but-for the fact that it contained activated charcoal, the

inclusion and purported benefits for which she paid a price premium. Ms. Patellos expected that

the product would meet Hello’s own representations (made on the product itself and online),

including but not limited to that it would naturally whiten teeth, lift stains, remove toxins, and that

it would be safe and gentle enough for daily use. She chose the product in part due to Hello’s

particular emphasis on safe and natural ingredients, as she wanted to avoid products containing

damaging ingredients like sulfates. She expected that – as a ‘natural’ alternative to regular

toothpaste – it would, in addition to whitening, adequately and safely meet dental hygiene and oral

health care needs. However, after a period of use, Ms. Patellos’ expectations concerning whitening

were not met. The product did not effectively whiten her teeth as expected, and it also made a big

mess due to its black color. Moreover, she later discovered that other promises made by Hello

were false, impossible, or lacking required substantiation. For example, rather than ‘naturally

whitening’ her teeth, the product was actually abrading her enamel, and had not been proven safe

for use.

           34.   Ms. Patellos has standing to assert claims on all of the Fluoride-Free Charcoal

Toothpastes, because the products are nearly identical, and Hello’s claims, omissions, and conduct

as to her product are substantially similar as to the other flavors of Fluoride-Free Charcoal




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Toothpastes, as are the injuries suffered by others as a result of the deceptive labeling and

advertising.

         35.   Plaintiff Eric Fishon (“Plaintiff Fishon”) or (“Mr. Fishon”) is a natural person and

a citizen of New York. He lives within the Eastern District of New York. On February 22, 2019

on the Target website, Mr. Fishon purchased the “hello activated charcoal epic whitening fluoride

toothpaste,” “hello activated charcoal epic whitening fluoride-free toothpaste,” and the “hello

activated charcoal + hemp seed oil epic whitening fluoride-free toothpaste.” He has purchased

other Hello Charcoal Toothpastes on other occasions as well, including on Amazon in the spring

of 2019. Mr. Fishon saw and reviewed Hello’s advertising claims online (specifically, claims made

online by Hello in its listing on Amazon and on the Target website) and the claims on the toothpaste

packaging and labeling itself, and made his purchases in reliance thereon. Mr. Fishon purchased

Charcoal Toothpastes of the fluoride and fluoride-free variety. Mr. Fishon specifically relied upon

the representations that the Charcoal Toothpastes had teeth whitening and detoxifying effects from

the activated charcoal, and would promote and benefit oral health, as well as strengthen teeth (as

claimed on the fluoride paste). He, like Ms. Patellos, believed that the activated charcoal ingredient

lent unique properties that added a special value, and he paid a premium for the inclusion of the

charcoal ingredient and its purported benefits. Mr. Fishon expected that the product would meet

Hello’s own representations (made on the product itself and online), and that it would be safe and

gentle enough for daily use and that it adequately provide dental hygiene and promote oral health.

However, after a period of use, Mr. Fishon found that the products fell short of his expectations.

They did not strengthen his teeth, improve or promote his oral health, or effectively whiten his

teeth.




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       36.     Because Mr. Fishon purchased Charcoal Toothpastes of the fluoride and fluoride-

free variety, he has standing to assert claims on both the Fluoride Charcoal Toothpastes and the

Fluoride-Free Charcoal Toothpastes.

       37.     Plaintiff Chris Smith (“Plaintiff Smith” or “Ms. Smith”) resides in Aurora, Illinois.

Plaintiff Smith purchased a Fluoride-Free Charcoal Toothpaste on multiple occasions at Walmart

and at Target, in the time period of January 2019 through October 2019. Ms. Smith was influenced

by Hello’s marketing message that conveyed product use would result in health and beauty benefits

including whitening and detoxification. She saw Hello’s promotion of the detoxifying properties

of charcoal and believed them. She relied upon claims that the product could remove stains and

impurities and result in whiter teeth and fresher breath. Ms. Smith expected the product would

perform as promised, but after a period of use, she was disappointed to find it had not whitened

her teeth or otherwise improved her teeth, or resulted in improved or adequate oral health.

       38.     Plaintiff Tawana Huston (“Plaintiff Huston” or “Ms. Huston”) resides in Detroit

(now Sterling Heights), Michigan. Plaintiff Huston purchased a Fluoride Charcoal Toothpaste

online at Walmart.com. She had been shopping for healthy detox options in general for oral,

digestive and overall body health, and was interested in charcoal products of many types. She saw

and relied upon Hello’s claims of epic whitening capabilities of the product, as well as the capacity

for natural detoxification and removal of toxins by the activated charcoal. Her expectations of the

product were not met, after a period of use.

       39.     Plaintiff Tia Winston (“Plaintiff Winston” or “Ms. Winston”) resides in St. Louis,

Missouri. Plaintiff Winston purchased a twin pack of Fluoride-Free Charcoal Toothpastes online

at Amazon.com on June 14, 2019. Ms. Winston saw and relied upon the claims that the product

would whiten her teeth, and that it would do so through the naturally whitening properties of



                                                 18
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charcoal. She expected the product to whiten her teeth, but, after a period of use, she found that it

had done nothing to change the color of her teeth.

       40.     Plaintiff Christina Vain (“Plaintiff Vain” or “Ms. Vain”) resides in Bridgeton, New

Jersey. Plaintiff Vain purchased a Fluoride-Free Charcoal Toothpaste in September 2019 at a Shop

Rite store. Ms. Vain saw and relied upon the “epic whitening” and “naturally whitening” claims,

and also that it was safe. She liked that the product was fluoride-free and had no other potentially

harmful or damaging ingredients. She expected the product to perform as promised, and promote

oral health, but, after a period of use, it did not meet her expectations. It did not whiten her teeth

or provide adequate oral health maintenance, and she later found it may not be safe.

       41.     Plaintiff Sandra Burns (“Plaintiff Burns” or “Ms. Burns”) resides in Concord, North

Carolina. Plaintiff Burns purchased a Fluoride-Free Charcoal Toothpaste on August 18, 2018 at

Harris Teeter Market. She relied on the claim that the product would naturally whiten her teeth.

She liked that the product was BPA-free and fluoride-free and had no other potentially harmful or

damaging ingredients. She expected the product to whiten her teeth as promised, but, after a period

of use, she found the product did not work.

       42.     Plaintiff Shannon Russell Aguirre (“Plaintiff Aguirre” or “Ms. Aguirre”) resides in

Summerville, South Carolina. Plaintiff Aguirre purchased a Fluoride-Free Charcoal Toothpaste at

Walmart and at Target on multiple occasions. She consistently used the products for two to three

years. Ms. Aguirre saw and relied upon the claims on natural and effective whitening and

cleansing, and was influenced by the marketing touting the product as new, effective and natural.

She expected the product to perform as promised and to result in whiter, stronger teeth and prevent

oral health issues. Her expectations were not met, and the use of the products also caused major




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wear on her teeth and damaged her enamel. She also got cavities. She discontinued use of after her

dentist’s recommendation that she do so.

       43.     Plaintiff Stefanie Emerick (“Plaintiff Emerick” or “Ms. Emerick”) resides in Port

Bouvar, Texas. Plaintiff Emerick purchased a Fluoride-Free Charcoal Toothpaste online at

Walmart.com on August 30, 2018. She later purchased a second tube from Walmart. Ms. Emerick

was influenced by and relied upon claims concerning whitening, gentleness and safety, and health.

She liked that the product did not contain fluoride or other potentially risky or harmful ingredients.

She was very happy to have found a safer, gentler alternative to other harsher options for tooth

whitening, and expected the product to perform as promised. She even told her family about the

product. However, after six months of use, her expectations were dashed and in fact Ms. Emerick’s

teeth were in worse condition. She had never had a tooth sensitivity issue prior to use of Hello’s

Charcoal Toothpastes, but she now has to use Sensodyne (as recommended by her dentist after she

complained of tooth sensitivity).

       44.     Plaintiff Edward Blotnicki III (“Plaintiff Blotnicki” or “Mr. Blotnicki”) resides in

Woodruff, Wisconsin. Plaintiff Blotnicki purchased a Fluoride-Free Charcoal Toothpaste online

at Amazon.com on April 30, 2018. Over a year later, on August 28, 2019, he purchased two more

Fluoride-Free Charcoal Toothpastes on Amazon.com. Plaintiff Blotnicki relied on the “whitens

naturally” claim, and also the brand’s omission of harmful ingredients and its claim to never test

on animals (after switching to a more plant-based lifestyle). He expected the product would whiten

his teeth and promote stronger and healthier teeth. He believes the product did somewhat whiten

his teeth, but it also caused damage in that use of the product made his teeth more sensitive.

       45.     Plaintiff Romona Reed (“Plaintiff Reed” or “Ms. Reed”) resides in Austin, Texas.

Plaintiff Reed purchased multiple Hello products, including Hello Activated Charcoal Fluoride



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Whitening Toothpaste, in both 2019 and 2020 at WalMart and Target in Austin, Texas. She was

influenced by the advertising and marketing, which conveyed an overall sense that use of the

product would result in cleaner and improved teeth. Ms. Reed hoped the products would remove

toxins from her body and based upon Hello’s advertising, would remove stains from her teeth to

naturally whiten her teeth. Ms. Reed expected the product to strengthen her teeth, whiten her teeth

for improved personal public appearance and better oral health. After a period of use, her

expectations were not met when she found that the Charcoal Toothpastes did not remove stains

from her teeth or strengthen her teeth.

       46.     Each of the named Plaintiffs suffered the out-of-pocket purchase price for a falsely

advertised and misbranded dentifrice(s). Their payment also reflects and included a price premium

over other products sold by Hello that do not contain charcoal, as well as over competitors’

products. Each of the Charcoal Toothpaste products purchased by the respective Plaintiffs did not

and could not deliver the promised health and cosmetic benefits and did not possess the

detoxifying, ‘naturally whitening’, and other properties Hello claimed. The products also lack the

represented level of safety and safety substantiation. Moreover, upon information and belief

(drawn from expert opinion as well as consumer complaints), use of the Charcoal Toothpastes

poses some risk and is potentially detrimental to oral health and aesthetics.

       47.     None of the named Plaintiffs received the promised benefits, efficacy or safety, or

received the full value of their purchases. Plaintiffs’ expectations were not met after use of the

Charcoal Toothpastes. Later each of the Plaintiffs additionally learned more about the extent of

the Charcoal Toothpastes’ failure to comport with Hello’s representations, including that the

detoxifier claims were implausible and pseudo-scientific; that the charcoal ingredient was an

unnecessarily abrasive agent on teeth and enamel; that the activated charcoal had no



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‘detoxification’ or ‘naturally whitening’ or stain-lifting functions in the mouth, or other promised

oral health benefits; that safety and efficacy had unsubstantiated; and that the products were

potentially unsafe. They discovered that it was effectively worthless, and certainly not worthy of

the price premium paid.

       48.      Defendant Hello Products, LLC (aka Hello herein) is a Delaware limited liability

company with its principal place of business at 363 Bloomfield Avenue, Suite 2D, Montclair,

NJ 07042. Hello is licensed with the New York Department of State to conduct business in New

York. Defendant is an oral care product company engaged nationwide in the business of selling

toothpastes, dental floss, mouthwash, and related products to consumers from its website,

www.hello-products.com, and through the brick-and-mortar and online stores of third-party

retailers. Hello conducts mass marketing campaigns and distributes its Charcoal Products

throughout the United States.

       49.     Hello is a wholly-owned subsidiary of Colgate Palmolive Company (“Colgate

Palmolive”). Upon information and belief, Hello was only recently acquired by Colgate Palmolive.

       50.     The Plaintiffs have standing to pursue injunctive relief. They continue to suffer

ongoing harm because of their inability to be sure that the products they purchased were safe and

did not cause damage or detriment or negative consequences of which they are not yet aware. They

also have an imminent threat of future harm due to the inability to rely on the veracity of the labels

and advertising of Charcoal Products in the future, when deciding whether to make a purchase of

another Hello dentifrice. Each of the named Plaintiffs want to purchase toothpastes that naturally

and safely whiten teeth and bear other benefits, and would consider purchasing one or more of the

Charcoal Toothpastes again if they could be sure that the representations and claims were truthful




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and accurate, and that the products are not mislabeled or falsely advertised. As a previously misled

consumer, they will lack confidence in the representations made by Hello. 13

         51.      Moreover, the dentifrices that Plaintiffs intend to buy in the future, including those

that are effective for safely and gently whitening teeth and provide other cosmetic and oral health

benefits, even if not branded as “Hello” or in the same product in the line of Charcoal Toothpastes

at issue here, may be under brands that are owned or acquired by Hello itself or, because Hello is

a subsidiary of Colgate Palmolive, by that corporation as well. 14 As such, on a broad level

Plaintiffs’ ability to trust in the accuracy of advertising and product labeling is, and will be

compromised, absent specific injunctions ordering Defendant and its affiliates not to engage in

false or misleading advertising and not to place products on the market without claim

substantiation, or indeed, as long as unsafe and unsubstantiated products remain on the shelves. 15

         52.      The inability to rely on labels and advertising claims in the future is a harm to the

Plaintiffs, and, because Hello continues to sell its Charcoal Products with the same advertising

scheme and labeling, and its misconduct is ongoing, other consumers are currently being deceived

and will continue to be deceived, just as the Plaintiffs and other consumers were previously

deceived. The failure to correct these practices and provide injunctive relief goes against public

policy, and the New York consumer protection laws, which broadly permit “any person who has




13
          Alternatively, when considering a purchase decision in the future, each will be injured if they believe that
Hello’s claims have in fact been substantiated or corrected, and, as any reasonable consumer would, think it is
appropriate to rely on the labeling and marketing to be truthful and non-misleading and be confident in the
representations concerning the products.
14
          See, e.g., In re Alma Litigation, 282 F.Supp.3d 751, 770 (S.D.N.Y. 2017) (finding standing where
“Plaintiffs allege, moreover, that they “intend to buy hair products in the future, including relaxers, under brands that
may be owned or acquired by L’Oreal.”)
15
          Id.

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been injured by reason of any violation of this section may bring an action in his own name to

enjoin such unlawful act or practice.” N.Y. GBL § 349(h). 16

                                         IV.      FACTUAL ALLEGATIONS

        A.       Background on Activated Charcoal

        53.      Activated charcoal is made from coal, wood, coconut shells, sawdust, bamboo, or

similar ingredients. The raw material is superheated, treated with different chemicals, and then

superheated a second time with steam. 17

        54.      Activated charcoal has adsorptive qualities that have proven to be quite useful in

certain limited contexts. For decades, it has been used in the emergency medical treatment of

certain types of poisonings and drug overdoses, because, when administered correctly, it can

adsorb certain heavy metals, drugs and other toxins. 18 The effectiveness of medicinal activated

charcoal in the emergency room setting is limited and dependent on specific factors, such as the

type of drug, poison, or toxin, timing between ingestion of the toxin and ingestion of the medicinal

charcoal, and dosage of each. 19

        55.      Activated charcoal has also been used in industrial and environmental settings to

extract certain organic and in organic substances from water. 20 For example, it is sometimes used


16
          See, e.g., In re Amla Litigation, 282 F.Supp.3d 751, 770 (S.D.N.Y. 2017)(in Article III analysis for
injunctive relief standing, also taking into account the broad injunctive relief remedy under NY consumer protection
statute); see also Belfiore v. Procter & Gamble Co., 94 F.Supp.3d 440, 445 (E.D.N.Y 2015).
17
          “Activated Charcoal FAQ,” General Carbon Corp. [http://generalcarbon.com/facts-about-activated-
carbon/activated-carbon-faq/] (last accessed June 26, 2019) (General Carbon Corp. is an activated charcoal
manufacturer).
18
          See generally, Robert W. Derlet & Timothy E. Albertson, “Activated Charcoal—Past, Present and Future,”
145 West J. Med. 493 (Oct. 1986)
[https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1306980/pdf/westjmed00158-0063.pdf].
19
          Id.; see also Derlet & Alberston, supra note 3, at 493–92 & Table 1; Jennifer A. Lowry, “Use of Activated
Charcoal in Pediatric Populations,” World Health Organization: Subcommittee of Expert Committee on the
Selection and Use of Essential Medicines, Jan. 2008, at 2,
[https://www.who.int/selection_medicines/committees/subcommittee/2/charcoal_rev.pdf ] (reviewing literature on
medical use of activated charcoal).
20
          See generally “The History of Activated Carbon,” Jurassic Activated Carbon, Feb. 9, 2014
[https://www.jurassiccarbon.com/blogs/news/12186281-the-history-of-activated-carbon].

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to remove excess amounts of fluoride from drinking water. 21 It is used in juice manufacturing to

control color and remove organic compounds. 22 Activated charcoal can also adsorb water-soluble

vitamins, including forms of Vitamins C and B. 23

        56.      Inspired by the use of activated charcoal in these limited and particular contexts,

enterprising companies like Defendant have been eager to extrapolate charcoal’s adsorptive

properties for use in a much broader context, often with little to no substantiation. Products

containing activated charcoal are increasingly prevalent, and are promoted with vague claims of

‘detoxifying’ properties as well false or overstated health and beauty benefits. Activated charcoal

has been marketed to the public as capable of extracting nearly any undesirable element or

substance, and in nearly any context.

        57.      Yet, writes Scott Gavura in Activated Charcoal, The Wellness Scam (Science Based

Medicine, Aug. 8, 2019): “what’s popularly called a ‘detox’ today has nothing to do with actual

medical detoxification,” and “[f]ake detox, the kind you find in magazines, and sold in pharmacies,

juice bars, and health food stores, is make-believe medicine. The use of the term ‘toxin’ in this

context is meaningless…. but it sounds just scientific enough to be plausible.” 24 Mr. Gavura

goes on, “if you hear the words ‘detox’ uttered anywhere but an emergency room, keep in mind

that you’re hearing a marketing pitch, not credible health evidence.” 25 “Despite the marketing




21
          Manisha Poudyal & Sandhya Babel, “Removal of Fluoride using Granular Activated Carbon and Domestic
Sewage Sludge,” 82 Int’l Proceedings of Chem., Biological, and Envtl. Eng’g 139 (2015)
[http://www.ipcbee.com/vol82/027-IEEA2015-C3024.pdf]; see also Behrooz Eftekhar et al., “The Effectiveness of
Home Water Purification Systems on the Amount of Fluoride in Drinking Water,” J. of Dentistry, Shiraz U. of Med.
Sci., Sept. 2015, at 278, (noting that use of home water purification systems, including several using carbon-based
filtration methods, reduced the amount of fluoride in water).
22
          Cetin Kadakal et al., “Research Note: Effect of Activated Charcoal on Water-Soluble Vitamin Content of
Apple Juice,” 27 J. of Food Quality 171 (Apr. 2004) [https://doi.org/10.1111/j.1745-4557.2004.tb00647.x].
23
          Id.
24
          Scott Gavura, “Activated Charcoal, The Wellness Scam,” Science Based Medicine, Aug. 8, 2019
[https://sciencebasedmedicine.org/activated-charcoal-the-wellness-scam/ ].
25
          Id. (emphasis added).

                                                        25
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hype, activated charcoal has no ability to suck out the toxic chemicals from the rest of your

body.” 26

        58.      Multiple scientific and consumer publications have made note of this logical fallacy

and have debunked the broadly asserted ‘detoxifying’ properties of activated charcoal (particularly

in its most commonly available form as an ingestible supplement). In April 2017, Consumer

Reports published Activated Charcoal Isn’t a Magic Health Bullet, wherein Julia Calderone writes:

“In recent years, people have tried to translate the very limited success of activated charcoal in the

ER to their everyday lives, assuming that if it can adhere to and remove certain drugs in an

emergency room, it can stop all kinds of toxins, making an already healthy person even

healthier.” 27 Lisa Sasson, M.S., R.D., clinical associate professor of nutrition at New York

University is quoted as saying “this logical leap is not based in science.” 28

        59.       In another example from 2017, the Superfoodly.com website published Activated

Charcoal Uses May Be Harmful, Possibly Cancerous? stating: “The problem is that none of these

cleansing/detox benefits are backed by science…. using [charcoal] to remove toxins from your

body is nonsensical, unless you literally just ingested poison (and even then, only certain types

will it absorb). There are no clinical trials or peer reviewed research which suggests activated

charcoal removes toxins daily when used as a supplement.” 29

        60.       Simultaneous with the charcoal trend, consumer demand for teeth-whitening

products has risen. The global market for teeth-whitening products is expected to reach $7.4 billion

by 2024. 30 Dentists, dental scientists, and researchers have raised concerns about the rapid growth


26
          Id. (emphasis added).
27
          Julia Calderone, “Activated Charcoal Isn’t a Magic Health Bullet,” Consumer Reports (April 13, 2017)
[https://consumerreports.org/dietary-supplements/activated-charcoal-fad-not-a-magic-health-bullet/].
28
          Id.
29
          “Activated Charcoal Uses May Be Harmful, Possibly Cancerous?,” Superfoodly (July 28, 2017)
[https://www.superfoodly.com/activated-charcoal-uses-side-effects/].
30
          https://www.hexaresearch.com/research-report/teeth-whitening-products-market.

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of dental health ‘fads,’ including the use of charcoal dentifrice, which, even when “there is a lack

of . . . scientifically supported information around such items, [] this does not stop them from being

used.” 31 As Dr. Ada Cooper, a spokesperson for the American Dental Association, recently stated:

“Just because something is popular doesn’t mean it’s safe.” 32

        Hello has successfully leveraged both the charcoal and detox trends as well as consumer

enthusiasm for teeth whitening with its development, marketing, and sales of its Charcoal

Toothpastes. In addition to the Charcoal Toothpastes, several other of Hello’s other popular oral

care products contain activated charcoal, including “hello charcoal mouthwash,” “hello activated

charcoal floss,” and “hello toothbrush with activated charcoal.” 33 Just as it does with its Charcoal

Toothpastes, Hello touts these products as safe, detoxifying, adsorptive, and/or possessive of

whitening and other beneficial properties.

        B.       Contemporary Scientific Studies Challenge the Safety and Efficacy of
                 Activated Charcoal for Use in Dentifrice

        61.      The first use of charcoal for oral hygiene dates back to Hippocrates in ancient

Greece. 34 The Romans apparently followed this practice, along with other questionable oral care

practices such as rinsing their mouths with urine. 35

        62.       In the United States, there have been several attempts to introduce charcoal as an

oral health product. According to commentary published in the Journal of the American Dental




31
          Marco Antonio Dias da Silva & Anthony Damien Walmsey, “Fake News and Dental Education,” 226
British Dental Journal 397, 397-99 (2019).
32
          “Beware Whitening Promise of Charcoal Toothpastes,” The Family Dental Center, Mar. 2019,
[https://thefamilydentalcenter.com/blog/beware-whitening-promise-of-charcoal-toothpastes/]. (emphasis added).
33
          “Charcoal Products,” Hello Products, https://www.hello-products.com/shop/charcoal/ (last accessed June
25, 2019).
34
          See S.W.B. Newsom, “Hygiene and the Ancient Romans,” J. of Infection Prevention, at 25, June 2004
[https://journals.sagepub.com/doi/abs/10.1177/14690446040050030601].
35
          C. Valerius Catullus, “On Egnatius of the White Teeth,” circa B.C. 84–54, (Tr. Richard Francis Burton,
1894), [http://www.perseus.tufts.edu/hopper/text?doc=Perseus:text:1999.02.0005:poem%3D39] (poem by the
Roman poet Catullus referring to the practice of whitening teeth by rinsing with urine).

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Association (“JADA”) in 1932, a product named “Kramer’s Original Charcoal Dental Cream,”

had been pronounced “not acceptable” as an Accepted Dental Remedies (ADR) by the Council on

Dental Therapeutics (the “Council”). The Council found that “[c]linical experiences are recorded

in which the particles of charcoal became imbedded in the gum tissue and produced a bluish line

near the margin, which is removable only by surgical means.” 36 When the Kramer’s brand

produced no evidence to rebut the clinical results, the Council denied it as an ADR “because it is

a dentifrice intended for daily use that contains charcoal, a potentially harmful substance.” 37

        63.      Decades after American dentistry rejected charcoal for use in dentifrice, the topic

has again resurfaced, in light of the burgeoning consumer trend. One study, presented at the

Academy of General Dentistry 2015 Annual Meeting, concluded that “activated charcoal was more

abrasive than a whitening toothpaste on acrylic resins” and warned that “[t]he fine black charcoal

powder may become embedded in defects such as margins or cracks present on older dentition.”38

        64.      In 2017, the Journal of the American Dental Association published a literature

review to “examine the efficacy and safety of charcoal and charcoal-based dentifrices.” John K.

Brooks et al., Charcoal and Charcoal-Based Dentifrices, 148 JADA 661 (2017) (referred to herein

as “Charcoal-Based Dentifrices (JADA 2017)” or “the 2017 JADA article”). The authors, Dr. John

Brooks, DDS, Dr. Nasir Bashirelahi, PhD, and Dr. Mark A. Reynolds, DDS, PhD, reviewed the

first 50 consecutive charcoal dentifrices from Google.com and Amazon.com to assess how the




36
          John K. Brooks et al., “Commentaries: More on Charcoal and Charcoal-Based Dentifrices,” 148 JADA 785
(2017), [http://dx.doi.org/10.1016/j.adaj.2017.09.027] (quoting S.M. Gordan, “Kramer’s Original Charcoal Dental
Cream: not acceptable for A.D.R.,” 33 JADA 912, 912–13 (1946)).
37
          Id. (emphasis added).
38
          Brantley McCarty et al., “Activated Charcoal as a Whitening Dentifrice,” Presented at Academy of General
Dentistry 2015 Annual Meeting, June 18–21, 2015, San Francisco, CA
[https://www.epostersonline.com/agd2015/node/72] (last accessed June 5, 2019).

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marketing claims of these products compared with efficacy and safety of charcoal-based

dentifrices as found in the available scientific literature. 39

         65.      The authors of Charcoal-Based Dentifrices (JADA 2017) reviewed advertising

claims about the charcoal-based dentifrices on the market, and found: “Nearly one-half of the

charcoal-based dentifrices were advertised as being capable of detoxification, with most claiming

to detoxify the oral cavity or teeth. Our review failed to identify scientific support in the

literature that topical application of charcoal can provide any detoxification benefits to the

teeth or oral mucosa.” 40

         66.      The authors of the 2017 JADA article additionally reported that “[c]harcoal has

been recognized as an abrasive mineral to the teeth and gingiva, and its inclusion in tooth

preparations raises concern about damage to these oral structures, as well as increasing

caries susceptibility due to the potential loss of enamel.” 41

         67.      The 2017 JADA article further noted that in the charcoal-based toothpastes

containing fluoride, the fluoride might “be rendered either chemically inert or minimally

effective, as charcoal is a well-known absorptive agent capable of inactivating fluoride.” 42

         68.      In conclusion, the authors of Charcoal-Based Dentifrices (JADA 2017) stated:

         In our literature review, we found insufficient scientific evidence to substantiate
the cosmetic, health benefits (antibacterial, antifungal, or antiviral; reduced caries; tooth
whitening; oral detoxification), or safety claims of marketed charcoal-based dentifrices.
Controlled clinical trials and laboratory investigations of charcoal-based dentifrices
. . . are needed to determine product efficacy and safety. 43




39
         John K. Brooks et al., “Charcoal and Charcoal-Based Dentifrices,” 148 JADA 661 (2017).
40
         Id. (emphasis added). The authors were unable to identify any randomized, controlled clinical trials with a
follow-up duration of 3 months or longer testing the safety or effectiveness of charcoal-based dentifrices. All of the
available studies lacked adequate controls to measure clinical oral improvements with charcoal-based dentifrices.
41
         Id. (emphasis added).
42
         Id. (emphasis added).
43
         Id. (emphasis added).

                                                         29
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        69.     In May 2019, the British Dental Journal confirmed that supporting scientific

evidence remained lacking, and again raised the same and similar concerns reflected in the 2017

JADA article. Linda H. Greenwall et al., Charcoal-Containing Dentifrices, 226 BDJ 697, 698

(2019) (referred to herein as “Charcoal-Containing Dentifrices (BDJ 2019)” or “the 2019 BDJ

article”). It further noted the tendency for build up of charcoal particles in surface defects, fissures,

and gumline, and resulting poor aesthetic effects. 44

        70.     The May 2019 article in the BDJ, Charcoal-Containing Dentifrices (BDJ 2019),

concluded that charcoal-based dentifrices “may be considered to be a fashionable, marketing

‘gimmick’” that is “based on folklore on the use of different forms of charcoal for oral and dental

remedies,” or improperly based on “present day uses of charcoal for medical purposes.” 45 The

2019 BDJ article lamented the prevalent and “worrying approach” in the marketing of charcoal

dentifrices that places “a strong emphasis on benefits which appeal to consumers, which have yet

to be disproved,” and that favor a “‘scientifically claimed until proved wrong’ approach . . . over

substantiated, evidence-based promotion.” 46 The authors opined that “the ethics of such an

approach to the marketing of health-influencing products is at best questionable. False and

deceptive messaging, together with the selective provision of information could be classed as

misleading practice, contrary to the consumers’ best interests and protection.” 47

        C.      The American Dental Association has Not Approved any Activated Charcoal
                Dentifrice for its ADA Seal of Acceptance




44
        Id.
45
        Linda H. Greenwall et al., “Charcoal-Containing Dentifrices,” 226 British Dental Journal 697, 698 (2019).
46
        Id. (emphasis added).
47
        Id. (emphasis added).

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         71.     The American Dental Association (“ADA”) was founded in 1859. 48 Per the ADA’s

description of its mission, the ADA “exists to power the profession of dentistry and to assist our

members in advancing the overall oral health of their patients.” 49 ADA presents itself as a “strong

advocate[] for public health” working with an aim to keep patients “healthy from the dental chair

to daily care at home.” 50

         72.     In furtherance of the ADA’s public health goals, the organization administers the

ADA Seal of Acceptance Program (“Seal Program”), which began in 1931. 51 The ADA established

its Seal Program to combat “extravagant claims” about what dental products could do. 52 Since that

time, the ADA Seal of Acceptance has become “[u]niversally recognized by consumers as a

symbol of safety and effectiveness” and “is carried on more than 300 oral health products,

including toothpastes, toothbrushes, dental floss, mouth rinses, denture adherents, and chewing

gum.” 53 Companies can submit dental products to the Seal Program by including “data from

clinical or laboratory studies that demonstrate safety and efficacy according to product category

requirements developed by the ADA Council on Scientific Affairs.” 54 Members of the ADA

Council review submissions for adherence to product category requirements and, if necessary,

utilize consultants with relevant specific area expertise. 55 Once a product’s safety and efficacy has

been demonstrated, the ADA Council will award the Seal of Acceptance. 56



48
         https://www.ada.org/en/about-the-ada/ada-history-and-presidents-of-the-ada (last accessed November 18,
2019).
49
          https://www.ada.org/en/about-the-ada (last accessed November 18, 2019).
50
          Id.
51
          https://www.ada.org/en/science-research/ada-seal-of-acceptance (last accessed November 18, 2019).
52
          https://www.ada.org/en/science-research/ada-seal-of-acceptance/ada-seal-faq, “What is the ADA Seal?”
(last accessed November 18, 2019).
53
          https://www.ada.org/en/about-the-ada (last accessed November 18, 2019).
54
          https://www.ada.org/en/science-research/ada-seal-of-acceptance/ada-seal-faq, “What determines if a dental
product qualifies for the Seal?” (last accessed November 18, 2019).
55
          https://www.ada.org/en/science-research/ada-seal-of-acceptance/ada-seal-faq, “How are products
evaluated?” (last accessed November 18, 2019).
56
          Id.

                                                        31
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        73.      A variety of major brands have sought and received the ADA Seal of Acceptance

for certain products, including, but not limited to, Crest, Efferdent, ACT, CVS, Equate (Walmart),

Listerine, Up and Up (Target), Oral-B, and Colgate. 57 Significantly, the ADA has not granted

the ADA Seal of Acceptance to any product with activated charcoal. 58

        74.      Hello has not received the ADA Seal of Acceptance for the products named herein.

        75.      However, Hello has received the ADA Seal of Acceptance for other oral care

products it has developed, marketed and sold to consumers, including the following products:

“hello kids fluoride rinse,” “hello kid’s fluoride toothpaste,” and “hello naturally whitening

fluoride toothpaste.” 59

        76.      Based upon the prevailing scientific literature regarding the lack of substantiation

on safety and efficacy of activated charcoal in dental products, and the known risks and

abrasiveness of charcoal, coupled with Hello’s prior experience with the ADA Seal Program, Hello

was or should have been aware of the unsuitability of the ADA Seal of Acceptance for its Charcoal

Toothpastes. Nevertheless it has chosen to make the exact sort of false, deceptive, and/or

misleading extravagant claims that inspired the creation of the ADA’s Seal Program.

        D.       Hello’s Representations on the Charcoal Products’ Labeling, Packaging,
                 Advertising, and Marketing

        77.      Since at least 2015, Defendant has packaged, marketed, distributed, and sold some

or all of its Hello Charcoal Products. Examples of the external cardboard boxes, product packaging

and tubes include:




57
      https://www.ada.org/en/science-research/ada-seal-of-acceptance/ada-seal-shopping-list (last accessed
November 18, 2019).
58
      See https://www.ada.org/en/science-research/ada-seal-of-acceptance/ada-seal-shopping-list (last accessed
November 18, 2019).
59
      https://www.ada.org/en/science-research/ada-seal-of-acceptance/ada-seal-shopping-list (last accessed
November 18, 2019).

                                                      32
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       78.   Printed on the external cardboard packaging of the Charcoal Toothpastes is the

following:




                                           33
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       The above packaging bears a logo stating “black paste works brilliantly” and invites the

consumer to “learn more and smile more at helloproducts.com.” The printed text in the black

section of the packaging states:

       “what’s up with charcoal?
       black paste might look weird, but it works brilliantly. the activated charcoal
       (made from sustainable bamboo) is a detoxifier that removes surface stains and
       freshens breath. a friendly word of advice: black paste can be messy. please spit
       responsibly and clean the sink once you’ve rinsed ;-).”

       79.     All of Hello’s toothpaste tubes and packaging include an ingredient list with

parentheticals that describe the function of each ingredient. The ingredients list printed on the tube

and cardboard packaging for each of the Charcoal Toothpastes includes, inter alia: “Charcoal

powder (whitens, polishes and cleans teeth/freshens breath).”

       80.     The tubes and cardboard packaging for each of the Charcoal Toothpastes state:

“use: whitens, helps remove plaque with regular brushing.”

       81.     Featured predominantly in the printed labeling of the tubes and cardboard

packaging for all but one of the currently available Charcoal Toothpastes is the claim: “epic

whitening.”

       82.     The following claims are printed on the external cardboard packaging of each the

Fluoride-Free Charcoal Toothpastes:

       •       “noticeably whiter teeth” or “whitens naturally”

                                                 34
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       •      “removes plaque”

       •      “freshens breath” or “slays dragon breath” or “mind blowing freshness”

       83.    The following claims are printed on the external cardboard packaging of the

Fluoride Charcoal Toothpastes:

       •      “noticeably whiter teeth”

       •      “prevents cavities”

       •      “safe for enamel”

       •      “awesome for fresh breath”

       84.    On its website, Hello makes the following claims regarding the Fluoride-Free

Charcoal Toothpastes, as well as the purpose and benefits of activated charcoal in its oral care

products:




                                              35
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        •     “a friendly force of nature. say hello to activated charcoal, a natural whitener
and detoxifier that helps make smiles brighter and breath fresher. now that’s pretty coal.” 60
        •     “it’s simple, black paste = white teeth.” 61
        •     “our activated charcoal toothpaste whitens naturally and gently without
peroxide, and is safe for everyday use. beyond whitening teeth, it kicks plaque to the curb. . .
.” 62
        •     “this paste is specially formulated with activated charcoal (made from
sustainable bamboo), an epic whitener and detoxifier that removes surface stains. . . .” 63
        •     “thoughtfully formulated with activated charcoal (made from sustainable
bamboo) and dragon fruit, our paste slays dragon breath, vanquishes stains, whitens epically . . .
. #brushhappy” 64
        •     “this fluoride free superpasteTM is thoughtfully formulated for daily use with
activated charcoal (made from sustainable bamboo), which helps epically whiten your teeth
and freshen your breath like nobody’s business. it’s so fab, you’ll be saying ah-sah-yee-ha.
#brushhappy” 65

        85.      Regarding the Fluoride Charcoal Toothpastes, the site states:

        “activated charcoal (made from sustainable bamboo) is nature’s way to epically
        whiten teeth and freshen your breath like nobody’s business. here at hello, we
        believe in a brusher’s right to choose, so this charcoal paste contains fluoride,
        which helps to prevent cavities and strengthen enamel. if fluoride isn’t your
        thing, we have a fluoride free charcoal paste, too. and don’t worry, our charcoal
        toothpastes have been specifically formulated to be gentle enough for daily
        use.” 66

        86.      Hello’s website also includes a short article titled “why add charcoal to toothpaste?”

written by Connie Gregson. 67 Ms. Gregson is identified as the “friendly head of r+d at hello

products” who “created the formulations of our products.” The website describes her as having


60
         Shop Charcoal, Hello-Products.com, https://www.hello-products.com/shop/charcoal/ (last accessed
September 25, 2019).
61
         https://www.hello-products.com/shop/charcoal-whitening-toothpaste/ (last accessed September 25, 2019).
62
         https://www.hello-products.com/product/charcoal-whitening-toothpaste/ (last accessed September 25,
2019).
63
         https://www.hell)o-products.com/product/charcoal-whitening-hemp-toothpaste/ (last accessed September
25, 2019) (regarding the “+ hemp seed oil epic whitening fluoride free” superpasteTM).
64
         https://www.hello-products.com/product/charcoal-whitening-dragonfruit-toothpaste/ (last accessed
September 25, 2019) (regarding the “+ natural dragon fruit epic whitening fluoride free” superpasteTM).
65
         https://www.hello-products.com/product/charcoal-whitening-acai-toothpaste/ (last accessed September 25,
2019) (regarding the “+ natural acai epic whitening fluoride free” superpasteTM).
66
         https://www.hello-products.com/product/activated-charcoal-whitening-fluoride/ (last accessed September
25, 2019) (‘hello activated charcoal epic whitening fluoride toothpaste with fresh mint + coconut oil’).
67
         https://www.hello-products.com/about/ingredients/activated-charcoal/ (last accessed September 25, 2019).

                                                       36
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“more degrees than a thermometer,” including an MS in food biochemistry, and states that she was

formerly a research scientist for Pepsi before “deciding to focus on cavity prevention and

optimized oral health.” Notable statements from Ms. Gregson include the following:

         “charcoal is associated with many things: barbeque grilling and chilling, whiskey
distilling and swilling, multitasking and facial masking, etc. but as it turns out, charcoal’s
also a powerful teeth whitener. yep you heard us correctly.”

        “the tooth-whitening variety of charcoal is known as activated charcoal, and
it’s been designed to safely go where no charcoal has (hopefully) gone before: inside
your mouth.”

        “activated charcoal is formed when high pressure gas is forced into charcoal
making it much more porous. this porousness makes it extremely adsorptive. and yes,
you read that right: we said “adsorptive” – not absorptive. the difference is that activated
charcoal literally “adds” to its mass by grabbing other molecules. hence adsorption.
think a static-y cloth that cleans by getting stuff to cling, as opposed to a paper towel that’s
soaking up a liquid. this structure helps activated charcoal adsorb the odors that cause
bad breath and the tannins that can stain teeth, when used in toothpaste form, the
charcoal can get into nooks and crannies really well.” 68

       87.     Hello makes the same and similar claims elsewhere online, including Amazon.com:




68
       https://www.hello-products.com/about/ingredients/activated-charcoal/ (last accessed September 25, 2019).

                                                     37
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       E.      The Claimed Benefits of the Charcoal Toothpastes are Materially Misleading
               and are Debunked or Unsubstantiated by Scientific Evidence, Impossible
               and/or Untrue

       (i)     Detoxifying and Adsorbing

       88.     Hello’s marketing of the Charcoal Toothpastes highlights the purported detoxifying

and adsorptive properties of activated charcoal. For example, the product packaging states the

charcoal is “a detoxifier that removes surface stains and freshens breath.” Hello’s website presents

activated charcoal as “a natural whitener and detoxifier that helps make smiles brighter and breath

                                                38
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fresher. now that’s pretty coal.” 69 Additional examples of the way in which Hello characterizes

the benefits and functions of charcoal as an adsorptive detoxifier are reflected above in Section D.

        89.      In reality, Hello’s claims are specious and make misuse of the term

“detoxification.” As previously discussed, detoxification is a medical term that refers to emergency

treatments for dangerous levels of drugs, alcohol, or poisons, like heavy metals. 70 Moreover, there

are no clinical trials or peer reviewed research which suggests activated charcoal removes toxins

daily when used as a supplement.” 71

        90.      Even more implausible than the ‘detoxifying’ effects of ingestible charcoal

supplements, are purported ‘detoxifying’ properties in topically applied personal care products

containing charcoal, such as dentifrice. The logic of employing charcoal in this context is even

more attenuated and is, in fact, wholly unsupported. As one wellness writer has put it:

         “At the root of the activated charcoal health fad is the misuse, or
        misunderstanding, of the word ‘toxin.’ In a detox-crazy world, toxins are used to
        refer to impurities or anything undesirable in your body: stains on your teeth, dirt
        or dust on your skin, naturally present sugars in your juice, a hangover after a night
        out. Personal care products (like teeth whiteners, face masks, soaps, shampoos,
        and deodorants) containing activated charcoal bank on the idea that impurities
        can be draw out during use. . . But there is little to no research to prove that
        the trace amounts of activated charcoal, combined with other ingredients, in
        these products are effective and much more than just marketing.” 72




69
          Shop Charcoal, Hello-Products.com, https://www.hello-products.com/shop/charcoal/ (last accessed
September 25, 2019).
70
          Scott Gavura, “Activated Charcoal, The Wellness Scam,” Science Based Medicine, Aug. 8, 2019
[https://sciencebasedmedicine.org/activated-charcoal-the-wellness-scam/ ].
71
          “Activated Charcoal Uses May Be Harmful, Possibly Cancerous?,” Superfoodly (July 28, 2017)
[https://www.superfoodly.com/activated-charcoal-uses-side-effects/]; Scott Gavura, “Activated Charcoal, The
Wellness Scam,” Science Based Medicine, Aug. 8, 2019 [https://sciencebasedmedicine.org/activated-charcoal-the-
wellness-scam/ ]; Julia Calderone, “Activated Charcoal Isn’t a Magic Health Bullet,” Consumer Reports (April 13,
2017) [https://consumerreports.org/dietary-supplements/activated-charcoal-fad-not-a-magic-health-bullet/].
72
          Katie Mui, “Activated Charcoal: The Powerful Detox Ingredient You Don’t Want in Your Regular Diet,”
GoodRx, Feb. 7, 2019 [https://www.goodrx.com/blog/what-is-activated-charcoal-detox-medication-interactions/].
(emphasis added).

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         91.      Despite the lack of scientific substantiation, Hello goes to great length to bolster

the plausibility of its claims. On its website Hello provides incredulous descriptions of how

charcoal’s porousness and adsorptive qualities enable it to not only ‘detoxify,’ but also lift stains,

remove plaque, whiten teeth, freshen breath, and provide other oral health benefits. Hello explains

charcoal’s adsorption function as one “that cleans by getting stuff to cling” and “grabbing other

molecules,” and “adsorb the odors that cause bad breath and the tannins that can stain teeth.” 73

         92.      Hello’s detoxification and other claims (including its functionality claims, such that

charcoal kicks plaque to curb and removes stains through the process of adsorption) are a

marketing gimmick with no basis in fact. 74 The same or very similar consumer-appealing claims

have been assessed by dental experts and determined to be unsupportable (see, e.g., the 2017 JADA

and 2019 BDJ articles). Put simply, there is no scientific support “that topical application of

charcoal can provide any detoxification benefits to the teeth or oral mucosa.” 75 This includes

“antibacterial, antifungal, or antiviral” benefits, as well as reduced caries or a more general (and

ill-defined) notion of “oral detoxification.” 76

         (ii)     Naturally Whitening

         93.      Hello’s whitening claims for the Charcoal Toothpastes (made on its product

packaging, labeling, marketing and advertising) include but are not limited to: “epic whitening,”

“noticeably whiter teeth,” “whitens naturally,” “it’s simple, black paste = white teeth.” See Section

D above.




73
          https://www.hello-products.com/about/ingredients/activated-charcoal/ (last accessed September 25, 2019).
74
          To the extent charcoal-based dentifrices do appear to effectuate certain purported oral hygiene or aesthetic
benefits, it is not its porousness, but rather the high abrasiveness of the charcoal particle that enables any seemingly
positive results, and in a short-sighted and risky manner.
75
          John K. Brooks et al., “Charcoal and Charcoal-Based Dentifrices,” 148 JADA 661 (2017).
76
          Id.

                                                           40
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        94.      When a toothpaste or toothpowder is advertised as “whitening,” most reasonable

consumers believe it will leave their teeth whiter. However, dentists and researchers have warned

that charcoal dentifrice companies’ “whitening” claims are misleading, due to the failure to clarify

the distinction between intrinsic and extrinsic whitening mechanisms. As opposed to intrinsic

whiteners, the British Dental Journal explains, many “products whiten teeth, to different extents,

by the removal of surface (extrinsic) stains, which may reform relatively quickly in, for example,

a smoker. Typically, these products do not change the intrinsic colour of the tooth, which is largely

determined by the colour of the dentine.” 77

        95.      Linda Greenwell, in her 2017 article Charcoal Toothpastes: What We Know So

Far, concluded: “[t]here is no evidence that the use of charcoal toothpaste has an effect on intrinsic

(internal) staining of teeth or on intrinsic whitening of the teeth.” 78 In 2019 Ms. Greenwell, as co-

author Charcoal-Containing Dentifrices (BDJ 2019), re-affirmed the conclusion that activated

charcoal “does not change the colour of the teeth other than by abrasive action similar to that of a

‘smoker’s toothpaste’. . . .” 79 “The common interchangeable use and misuse of the terms

‘whitening’ and ‘bleaching’ is therefore misleading and confusing to consumers and patients, with

the marketing of some charcoal and other dentifrices being no exception.” 80

        96.      The Hello Charcoal Toothpastes do not intrinsically whiten teeth. As such, any

claimed “whitening” properties of the Hello Charcoal Toothpastes are limited to the removal of

extrinsic surface stains, and therefore misleading. 81




77
       Linda H. Greenwall et al., “Charcoal-Containing Dentifrices,” 226 British Dental J. 697, 699 (2019).
78
       Linda Greenwall & Nairn H.F. Wilson, Opinion, “Charcoal Toothpastes: What We Know So Far,” Clinical
Pharmacist (July 13, 2017) [https://www.pharmaceutical-journal.com/opinion/correspondence/charcoal-toothpastes-
what-we-know-so-far/20203167.article?firstPass=false].
79
       Linda H. Greenwall et al., “Charcoal-Containing Dentifrices,” 226 British Dental J. 697, 699 (2019).
80
       Id.
81
       John K. Brooks et al., “Charcoal and Charcoal-Based Dentifrices,” 148 JADA 661 (2017).

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        97.       Hello’s whitening claims are deceptive for the additional reason that it presents the

Charcoal Toothpastes as possessive of “naturally” whitening qualities due to the unique and

inherent attributes of activated charcoal – essentially that whitening is effectuated by adsorbing

and lifting stains.

        98.      This is misleading and deceptive. Charcoal functions as an abrasive agent. Its

composition and fractal-shaped particles make it highly abrasive to tooth enamel. 82 As such, any

extrinsic stain-lifting that could be viewed as ‘whitening’ is achieved simply by mechanical

abrading of extrinsic stains, and is not achieved from adsorptive qualities of the charcoal; rather it

is achieved by the particularly abrasive effects of the charcoal.

        99.      Put another way, the Charcoal Toothpastes “work” to “whiten” teeth through

abrading away the stains and deposits having the charcoal particles scrape off the surface of the

teeth, i.e. the tooth enamel. The adsorptive qualities of charcoal are irrelevant in the context of

purported teeth whitening, and Hello’s representations in this regard are misleading and deceptive,

similarly to its frivolous ‘detoxifying’ claims.

        100.     Abrasive ingredients are commonly used in dentifrice and function to mechanically

lift extrinsic stains, reduce the adhesion of dental biofilms and chromophores from the enamel

surface, and otherwise improve discoloration and clean the teeth. However, there are numerous

commonly accepted and widely used abrasives that are effective and more gentle than charcoal,

and have undergone clinical testing as well as ADA scrutiny. There are no long-term clinical

studies of the effects of its use, and charcoal (which is particularly abrasive due to its unique

particle shape and composition) is not in the ADA-approved list of abrasives.




82
         See, e.g., Matthias Epple et al., “A Critical Review of Modern Concepts for Teeth Whitening,” 79 Dentistry
J., 7 (Aug. 1, 2019) [https://www.mdpi.com/2304-6767/7/3/79/htm].

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         101.     Lastly, and arguably at worst, consumer experience and dental expert opinions alike

indicate that long-term use of the Hello Charcoal Toothpastes could potentially result in a darkened

and yellow tooth appearance. This is because, when teeth are regularly brushed with highly

abrasive substances such as charcoal, the enamel can wear down and cause the tooth’s dull, internal

dentin to show through. As Dr. Ada Cooper, spokesperson for the American Dental Association,

has explained: “Using materials that are too abrasive can actually make your teeth look more

yellow, because it can wear away the tooth’s enamel and expose the softer, yellower layer called

dentin.” 83 Furthermore, the removal of enamel by abrasive whitening dentifrices not only exposes

the yellowish dentin, but also causes teeth to stain even more easily in the future – with the

sensitive dentin exposed and no longer protected by enamel.

       (iii) Safe, gentle, effective and adequate for dental hygiene maintenance with daily,
long-term use

         102.     On its website, Hello has an FAQ section that states: “are hello products safe?”

and provides the response: “a resounding YES.”84 Hello bombards consumers with a ‘friendly’

and ‘natural’ messaging intended to leave a strong impression that the brand is extremely

conscientious of health, safety and wellbeing. Hello presents its Charcoal Products as “naturally

friendly,” “thoughtfully designed,” and also free of numerous ingredients that are increasingly

considered undesirable or unnatural (such as sls/sulfates, parabens, and BPA). 85




83
          “Beware Whitening Promise of Charcoal Toothpastes,” The Family Dental Center, Mar. 2019,
[https://thefamilydentalcenter.com/blog/beware-whitening-promise-of-charcoal-toothpastes/].
84
          Frequently Asked Questions, Hello-Products.com, https://www.hello-products.com/faq (last accessed June
25, 2019).
85
          “hello charcoal teeth whitening toothpaste is fluoride free, vegan, and free from sls/sulfates, artificial
sweeteners/flavors, parabens, microbeads, triclosan, and gluten. like all of our pastes, it’s made in the USA with
globally sourced ingredients in BPA-free tubes, and of course, we never test on animals – that would be insanely
unfriendly. brush happy.” https://www.hello-products.com/product/charcoal-whitening-toothpaste/ (last accessed
September 25, 2019).

                                                         43
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         103.     Printed on the Charcoal Toothpastes’ toothpaste tubes and packaging is Hello’s

claim that oral benefits come “with regular brushing.” Hello describes its Fluoride-Free Charcoal

Toothpastes as “safe for everyday use,” to achieve whitening “naturally and gently.” The Fluoride

Charcoal Toothpastes are also designated for daily use, and furthermore are specifically claimed

to be “safe for enamel.”

         104.     The packaging instructions and marketing statements send the message that

consumer use of the Charcoal Toothpastes should approximate a regular brushing routine and that

the products are appropriate for a consumer to use as their primary everyday source of oral hygiene.

         Abrasive damage to enamel and gums

         105.     While proclaiming that the Charcoal Toothpastes are gentle and safe for daily long-

term use, Hello also fails to disclose material facts, such that activated charcoal has not been

substantiated as safe and effective for use in dentifrice, and both JADA and the BDJ have

confirmed insufficient scientific evidence to substantiate safety claims (as well as cosmetic and

health benefits) as well as raised concerns about risks associated with the use of charcoal

dentifrices.

         106.     Activated charcoal is known to be a highly abrasive and harmful substance to tooth

enamel. 86 Multiple scientific studies have noted its abrasiveness presents a risk to enamel and

gingiva in the context of oral care products. As noted in the 2017 JADA article: “[c]harcoal has

been recognized as an abrasive mineral to the teeth and gingiva, and its inclusion in tooth

preparations raises concern about damages to these oral structures, as well as increasing caries




86
         See, e.g., John K. Brooks et al., “Commentaries: More on Charcoal and Charcoal-Based Dentifrices,” 148
JADA 785 (2017) [http://dx.doi.org/10.1016/j.adaj.2017.09.027] (quoting S.M. Gordan, “Kramer’s Original
Charcoal Dental Cream: not acceptable for A.D.R.,” 33 JADA 912, 912–13 (1946)) (Concluding a charcoal dental
cream was not an acceptable dental remedy “because it is a dentifrice intended for daily use that contains charcoal, a
potentially harmful substance”).

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susceptibility due to the potential loss of enamel.” 87 The 2019 BDJ article again noted the risk to

enamel and gingiva posed by charcoal’s abrasivity. 88

        Oral health effects from abrasive damage

        107.       Moreover, the abrasive damage to tooth enamel caused by charcoal can set the

stage for spiraling into additional oral health issues. It has been shown that increased surface

roughness of teeth creates an environment conducive to increased bacteria in the oral cavity. This,

in turn, can lead to other problems and is correlated with high caries and periodontal disease.

        108.      On a general level, the optimal formulated toothpaste maximizes cleaning while

minimizing abrasiveness. The abrasives employed in a toothpaste should effectively polish teeth

and remove biofilms and stains, but not abrade on the tooth structure itself. The findings of a

controlled scientific study, published in a 2017 article, Surface Changes of Enamel After Brushing

with Charcoal Toothpaste, confirmed that charcoal-based toothpastes are more abrasive and

affecting on the surface roughness on a tooth as compared to other non-charcoal whitening

toothpastes. 89 Charcoal’s abrasiveness is related to its composition and its irregular “star shaped”

particles. 90 The “research concluded that there were increasing surface roughness values of tooth

surfaces after the use of toothpaste containing charcoal, and the increased surface roughness was

statistically significant . . . .” 91 Increased surface roughness on a tooth’s enamel is “a strategic

place for bacteria to adhere to the tooth’s surface,” and “[t]he presence of bacteria in the oral cavity

is one of the causes of high caries and periodontal disease risk.” 92




87
         John K. Brooks et al., “Charcoal and Charcoal-Based Dentifrices,” 148 JADA 661 (2017).
88
         Linda H. Greenwall et al., “Charcoal-Containing Dentifrices,” 226 British Dental Journal 697, (2019).
89
         U I Pertiwi et al., Surface Changes of Enamel After Brushing with Charcoal Toothpaste, IOP Conf. Series:
Journal of Physics: IOP Conf. Series 884 (2017) [iopscience.iop.org] (doi:10.1088/1742-6596/884/1/012002).
90
         Id.
91
         Id.
92
         Id.

                                                       45
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        109.     Still more problematic, experts have noted that certain characteristics of Charcoal

Toothpastes tend to prolong users’ brushing time and increase brushing vigorousness, which can

serve to further exacerbate the abrasive effect of charcoal dentifrices. The first such characteristic

is the distinct black color of pastes containing charcoal. “Charcoal-containing toothpastes are black

in colour and brushing off the colour tends to prolong brushing, or the use of excessive brushing

force, which may lead to the abrasion of teeth.” 93 The same phenomena occurs with dentifrices

claimed to have ‘whitening’ properties, as consumers might brush more frequently and vigorously

to achieve the desired whitening more quickly, not realizing that “excessive brushing with a

charcoal-based dentifrice may cause more harm than good.” 94

        Negative aesthetic results

        110.    Studies also show bad aesthetic effects in some users. “Particles of charcoal

included in charcoal toothpaste may accumulate in crevices and other defects in teeth, including

cracks in the teeth of older individuals.” 95 For “patients with established periodontal disease,” the

use of charcoal-based dentifrices may result in “the accumulation of charcoal particles deep in

periodontal defects and pockets, causing grey/black discoloration of the periodontal tissues.” 96

        111.     Studies have shown that the staining and discoloration caused by charcoal

dentifrices can impact dental implants. When grey lines are created by the buildup of charcoal

particles between dental restorations and teeth, it can ultimately “necessitate the costly replacement

of the affected filings, veneers or crowns.” 97


93
        Linda Greenwall & Nairn H.F. Wilson, Opinion, “Charcoal Toothpastes: What We Know So Far,” Clinical
Pharmacist (July 13, 2017).
94
        Linda H. Greenwall et al., “Charcoal-Containing Dentifrices,” 226 British Dental Journal 697, (2019).
(emphasis added).
95
        Linda Greenwall & Nairn H.F. Wilson, Opinion, “Charcoal Toothpastes: What We Know So Far,” Clinical
Pharmacist (July 13, 2017).
96
        Linda H. Greenwall et al., Charcoal-Containing Dentifrices, 226 British Dental Journal 697, (2019).
97
        Linda Greenwall & Nairn H.F. Wilson, Opinion, “Charcoal Toothpastes: What We Know So Far,” Clinical
Pharmacist (July 13, 2017).

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        Potential for compromised efficacy of the Fluoride Charcoal Toothpastes

        112.      As a dentifrice ingredient, fluoride is an effective agent known to protect against

cavities and tooth decay; help mineralize teeth to avoid tooth breakdown; and help prevent

bacterial overgrowth in the mouth. Under the applicable federal regulatory framework (discussed

more fully infra), toothpastes containing fluoride are regulated as drugs (as opposed to cosmetics),

since fluoride is an anti-cavity agent and can affect the structure of the tooth. Because they contain

fluoride, and also by merit of the claims made on its packaging, the Fluoride Charcoal Toothpastes

are classified as anticaries drugs and regulated as such by the FDA, in particular by the FDA’s

Anticaries Monograph.

        113.      It is well known that charcoal can strongly affect fluoride, and is sometimes used

to extract fluoride from community water supplies. 98 The 2017 JADA article noted that fluoride

might “be rendered either chemically inert or minimally effective” in a toothpaste containing

charcoal. 99 The 2019 BDJ article noted that “any fluoride and other active ions in charcoal-based

toothpaste may not be available in use to affect enhanced cleaning or chemical changes to the tooth

substrate.” 100 “As such, charcoal-based toothpastes, despite containing fluoride may have limited

capacity to remineralise enamel, let alone increase its resistance to caries and tooth wear

processes.” 101

        114.      On the labeling, Hello claims its Fluoride Charcoal Toothpaste “prevents cavities”

and “safe for enamel,” and on its website states it “helps to prevent cavities and strengthen

enamel.” 102 Sec. D. However, the fluoride in the Fluoride Charcoal Toothpastes may be impacted


98
        See, e.g., Manisha Poudyal & Sandhya Babel, “Removal of Fluoride using Granular Activated Carbon and
Domestic Sewage Sludge,” 82 Int’l Proceedings of Chem., Biological, and Envtl. Eng’g 139 (2015)
99
        John K. Brooks et al., “Charcoal and Charcoal-Based Dentifrices,” 148 JADA 661 (2017).
100
        Linda H. Greenwall et al., Charcoal-Containing Dentifrices, 226 British Dental Journal 697, (2019).
101
        Linda H. Greenwall et al., Charcoal-Containing Dentifrices, 226 British Dental Journal 697, (2019).
102
        https://www.hello-products.com/product/activated-charcoal-whitening-fluoride/ (last accessed September
25, 2019).

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or inactivated by the charcoal. Class members who purchased Fluoride Charcoal Toothpastes, were

potentially deprived of the dental benefits they thought they would receive by purchasing one of

the Fluoride Charcoal Toothpastes, including preventing cavities and/or strengthening enamel,

because the fluoride it contains has been potentially been effectively rendered inert. 103

         The replacement of widely accepted ingredients with charcoal (whose safety and efficacy
         has not been established) jeopardizes consumers’ oral hygiene and oral health

         115.      Researchers have warned that marketers’ overhype of purported health and safety

benefits of charcoal dentifrices can cause consumers to believe they are making safe and

responsible choices but unwittingly risk their long-term oral health. Extreme marketing tactics,

broad and exaggerated marketing claims and deceptive and false promises, in the absence of

disclosures of the truth about inadequate substantiation, cause consumers to purchase and use a

charcoal dentifrice, often in lieu of a non-charcoal dentifrice that has in fact been established as

safe and effective. As the 2019 BDJ article authors noted:

         “The unsubstantiated claims that certain charcoal-based dentifrices, any of which
         are described as eco-friendly, ecological, herbal, natural, organic or pure, have
         antibacterial, antiseptic and/or anti-fungal qualities, may lull consumers into
         thinking that the use of such dentifrices may be a sustainable way to prevent
         or possibly even treat periodontal disease, over and above whatever claims they
         are inclined to believe. Such persuasion of consumers, many of whom may have
         established oral and dental disease, is considered to be opportunistic marketing,
         with little regard to the consequences of the exploitation.” 104

         116.      For example, the over-marketing of charcoal dentifrices can cause customers to

abandon fluoride toothpastes for fluoride-free varieties, believing in purported oral health

properties that do not exist. The authors of the 2019 BDJ article noted the “concerning [. . .]




103
          Plaintiffs do not allege that the fluoride was, in fact rendered inert, nor do they assert it as the specific basis
for the claims or damages alleged herein; however, these finding concerning the averse effect of charcoal on fluoride
are discussed and raised herein in the context of the larger marketing scheme, not as essential basis for recovery by
consumers of the Fluoride Charcoal Toothpastes.
104
          Id.

                                                            48
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potential for individuals changing from the use of a regular fluoride-containing toothpaste to the

use of a charcoal toothpaste which contains no fluoride, thereby increasing their risk of caries.”105

The authors of the 2017 JADA article also raised this concern, and advised that dentists should

“educate their patients about the unproven claims of oral benefits and possible health risks

associated with the use of charcoal dentifrices and the potential increased risk of developing

caries with the use of these nonfluoridated . . . products.” 106

       117.    This same phenomena (of abandoning other tried and true toothpastes for the

untested Charcoal Toothpastes) extends beyond just fluoride. Hello promises multiple oral hygiene

benefits from regular use of the Charcoal Toothpastes (for example, the ingredients list on the

product states that charcoal “whitens, polishes and cleans teeth/freshens breath”), and assigns

unrealistic functions to the charcoal ingredient, while leaving out other ingredients known to serve

said function(s).

       118.    Charcoal and its adsorptive properties do not play a role in freshening breath. The

2019 BJD article states:

       Given the adsorption capabilities of activated charcoal, which make it an antidote
       to acute poisoning and drug overdose, it could be assumed that it would be good
       constituent of a dentifrice for adsorbing the substances responsible for halitosis.
       Brushing with a charcoal-based dentifrice may leave the mouth feeling fresh, but
       such mouth freshness, possibly tempered by an earthy aftertaste of charcoal, may
       be short-lived, as charcoal does not counter the causes of halitosis. Furthermore,
       the adsorptive nature of charcoal in the dentifrices may limit the effects of
       flavourings, essential oils and any other constituents included in the formulation to
       mask mouth odour, thus limiting the effects of the dentifrices on halitosis. 107


       119.    Hello attributes other attributes to charcoal, with various claims such as “kicking

plaque to the curb” and other claims vaguely going to the functionality and adsorptive properties


105
       Linda H. Greenwall et al., “Charcoal-Containing Dentifrices,” 226 British Dental Journal 697, (2019).
106
       Id. (emphasis added).
107
       Id.

                                                      49
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of charcoal. Hello’s replacement of tested ingredients with the untested ingredient of charcoal is

particularly ill-advised in light of the fact that the assumed premise of charcoal’s purported mode

of action is not only untested and unsubstantiated, it is considered by many experts to be simply

nonsensical: i.e., that the activated charcoal binds to surface stain deposits, tannins, plaque,

bacteria, odors, and any other noxious or undesirable element, then adsorbs such elements into the

porous charcoal particle and is brushed away, leaving clean and polished teeth, a detoxified mouth,

and fresh breath.


       F.      Hello Knew or Should Have Known its Material Claims and Omissions on
               Whitening Effects, Detoxifying/Adsorptive Properties, Oral Hygiene Benefits
               and Safety were Misleading, Deceptive and/or False

       120.    Hello’s Charcoal Products are subject to a federal legal and regulatory framework

concerning the marketing, advertising, branding, and labeling of drugs and cosmetics.

(Toothpastes and other dentifrice are classified as cosmetics, drugs, or a combination thereof.) As

a purveyor of regulated oral care products, making various claims as to safety, oral health, cosmetic

effects, and even some medicinal and disease-prevention claims, Hello knew or should have

known of its duties under such regulations. Indeed, as previously discussed, Hello has undergone

the rigorous process to obtain an ADA Seal on some of its products (but has not done so for any

of its charcoal products). Many of Defendant’s misleading and deceptive practices as to the

Charcoal Toothpastes were prohibited by federal and state regulations, of which Hello was

certainly aware.

       121.    The Federal Trade Commission Act (15 U.S.C. § 41 et seq.) (“FTC Act”), as well

as the Federal Food, Drug and Cosmetic Act (21 U.S.C. §321 et seq.) (“FD&C Act”), the Fair

Packaging and Labeling Act (15 U.S.C. §1451 et seq.) (“FP&L Act”) and the regulatory

frameworks and rules created thereunder impose obligations on marketers and distributors such as

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Hello. These federal laws were created in the aim to protect consumers from unfair and deceptive

practices (including unsafe or deceptively labeled or packaged products), as well as to protect

against unfair competition. Similarly, multiple state laws have statutes that incorporate and/or

mirror pertinent portions of federal regulatory framework.

         122.     In this pleading, Plaintiffs acknowledge Hello’s obligations and duties under this

federal framework under federal and parallel state frameworks for purposes related to the elements

of the common law and state statutory causes of action asserted herein (such as the existence of

various legal duties and obligatory standards of care, the existence of a special relationship, as well

as to underscore that Hello knew or should have known of its noncompliance and that its conduct

was wrongful). Plaintiffs expressly disclaim any attempt to hold Hello to a higher standard than

that which is required under federal law, and does not seek relief or remedy for conduct to a

standard exceeding that which is required under federal law. 108

         123.     Likewise, the allegations herein as to the Fluoride Charcoal Products do not purport

to improperly assert a private right action for any purported violation of the FDA’s Anticaries

Monograph or other otherwise seek to compel compliance with federal rules or regulations whose

enforcement is in the province of a federal agency. 109


108
          The allegations concerning conduct that violates the FD&C Act, the FTC Act, regulations thereunder,
and/or other parallel state laws and regulations, as raised herein, are properly asserted in the context of the causes of
action and relief sought herein, and are not barred by preemption. See, e.g., Reid v. GMC Skin Care USA Inc., No.
15-CV-277, 2016 WL 403497, *10 (N.D.N.Y. Jan. 15, 2016) (“Plaintiffs’ claims, if proven to be true, would simply
require Defendant to truthfully state the efficacy of its products or not sell its products; such relief would not impose
a state requirement that is different from or in addition to, or that is otherwise not identical with that of the FDCA.”).
109
          “There is nothing in the [Anticaries Monograph] regarding whitening toothpastes or products.” Canale v.
Colgate-Palmolive Co., 258 F.Supp.3d 312, 321 (S.D.N.Y. 2017). “The final Anticaries Monograph approves only
certain claims regarding decay prevention in dental hygiene products with certain active ingredients for certain
intended uses. That a toothpaste contains sodium fluoride, an active ingredient approved under the monograph, and
therefore may advertise its cavity-preventing qualities, does not, for example, permit its manufacturer to make
misleading claims about the toothpaste’s ability to clear acne. If [. . .] Bowling were taken literally and out of
context, a manufacturer could make such a claim, and then point to the Anticaries Monograph to immunize it against
state law claims challenging that assertion. Congress cannot have intended such sweeping preemption.” Canale v.
Colgate-Palmolive Co., 258 F.Supp.3d 312, 323 (S.D.N.Y. 2017), citing Bowling v. Johnson & Johnson, 65
F.Supp.3d 371, 375-76 (S.D.N.Y. 2014); In re PepsiCo, Inc., 588 F.Supp.2d 527, 538-39, n. 10 (S.D.N.Y. 2008).

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         124.     The Fluoride-Free Charcoal Products are a “cosmetic” and the Fluoride Charcoal

Products are both a “cosmetic” and a “drug,” qualifying as a drug/cosmetic combination. 110 As

such, the cosmetic regulations and discussion below are applicable to the Fluoride Charcoal

Toothpastes as well as the Fluoride-Free Charcoal Toothpastes. 111

         The FTC Act and FTC regulations

         125.     Section 5 of the FTC Act broadly prohibits unfair and deceptive trade practices (15

U.S.C. § 45), and Section 12 of the FTC Act prohibits the dissemination of false and misleading

advertisement of food, drugs, and cosmetics (15 U.S.C. §§ 52). 112

         126.     The FTC requires advertisers to possess a reasonable basis for their advertising and

marketing claims. 113 Claims concerning health and safety must be supported by competent and

reliable scientific evidence.

         127.     The FTC requires that an advertiser substantiate its claims (express and implied)

before it disseminates said claims, and, when an advertiser actually conveys to a consumer




110
          Section 509 of the FD&C Act provides that the categories of “drug” and “cosmetic” are not mutually
exclusive.
111
          The FDA labeling requirements for over-the-counter (OTC) anticaries drug products, such as the Fluoride
Charcoal Toothpastes, can be quite specific, but are also generally prohibitive of misbranding that might mislead the
consumer. See, e.g., 21 CFR 355.50 (Labeling of anticaries drug products) and 21 CFR 330.1 (General conditions for
general recognition as safe, effective and not misbranded). While not purporting to provide an exhaustive list of
Hello’s obligations as to an OTC anticaries drug, or a detailed analysis of compliancy – and Plaintiffs do not make
any such violation or enforcement thereof the basis of their claims alleged herein – Plaintiffs would note that Hello
was required to assess whether charcoal (as an ‘inactive’ non-drug ingredient) interfered with the effectiveness of the
fluoride (the ‘active’ drug ingredient). Under 21 CFR 330.1, a product will not be considered safe and effective, and
will be subject to regulatory action, if it fails to conform with the requirement that “(e) [t]he product contains only
suitable inactive ingredients which are safe in the amounts administered and do not interfere with the effectiveness of
the preparation or with suitable tests or assays to determine if the product meets its professed standards of identity,
strength, quality, and purity.” 21 CFR 330.1(e).
112
          For purposes of Section 12 of the FTC Act, classification as a “drug” or “cosmetic” is based on the
definitions at Section 15 (c) and (e) of the FTC Act, 15 U.S.C. § 55(c), (e).
113
          The FTC requires companies to “have a reasonable basis for advertising claims before they are
disseminated, and “a firm’s failure to possess and rely upon a reasonable basis for objective claims constitutes an
unfair and deceptive act or practice in violation of Section 5 of the Federal Trade Commission Act. . . .” See FTC
Policy Statement Regarding Advertising Substantiation, appended to In the Matter of Thompson Medical Co., 104
F.T.C. 648, 839 (1984), aff’d, 791 F.2d 189 (D.C. Cir. 1986).

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(expressly or impliedly) that it has certain level of support or evidence for its products, it must

have such substantiation to the actual level it claims to possess.

        The FD&C Act and FDA regulations

        128.     The FD&C Act prohibits the marketing and movement in interstate commerce of

adulterated or misbranded food, drugs and cosmetics. 21 U.S.C. § 321 et seq. FD&C Act defines

“drug” and “cosmetic” at 21 USC §321(g)(1) and 21 USC §321(i), respectively.

        129.     The FD&C Act (21 U.S.C. § 321 et seq.) prohibits the marketing and movement in

interstate commerce of adulterated or misbranded food, drugs and cosmetics. 114

        130.     The FD&C Act provides that a drug or a cosmetic will be considered misbranded

for numerous potential reasons, including if the drug or cosmetic’s “[] labeling is false or

misleading in any particular.” 21 U.S.C. § 352(a) (misbranded drugs 115); 21 U.S.C. § 362(a)

(misbranded cosmetics). Labeling will be deemed misleading not only because a label statement

is deceptive in its representations, and also when a material fact is not revealed on a label. As to

the latter, labeling is deemed misleading if it fails to reveal facts that are material in light of other

representations, or material with respect to the consequences resulting from the intended use of the

product. 21 CFR 1.21 (Failure to reveal material facts).

        131.     A cosmetic is also considered misbranded if its safety has not been adequately

substantiated, and it does not conspicuously bear the statement: “Warning – The safety of this

product has not been determined.” 21 CFR 740.10. The safety of a cosmetic may be considered

adequately substantiated if experts qualified by scientific training and experience can reasonably


114
          The FD&C Act defines “drug” and “cosmetic” at 21 USC §321(g)(1) and 21 USC §321(i), respectively.
The Charcoal Toothpowders at issue qualify as cosmetics, as they are fluoride-free and are intended to be applied to
the human body for cleansing, beautifying, promoting attractiveness, or altering the appearance.
115
          The FDA labeling requirements for over-the-counter (OTC) anticaries drug products, for example, are
specific and numerous, as well as generally prohibitive of misbranding that might mislead the consumer. See, e.g.,
21 CFR 355.50 (Labeling of anticaries drug products) and 21 CFR 330.1 (General conditions for general recognition
as safe, effective and not misbranded).

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conclude from the available toxicological and other test data, chemical composition, and other

pertinent information that the product is not injurious to consumers under conditions of customary

use and reasonably foreseeable conditions of misuse. 116

         132.     As a company engaged in the interstate marketing, distribution and sale of its

Charcoal Toothpastes, Hello was or should have been aware of its legal duties under these laws,

as well as the regulatory framework built thereunder. Hello’s legal duties include but are not

limited to: (i) to ensure the safety of the Charcoal Toothpastes; (ii) to disclose risks of use and

safety hazards; (iii) to ensure the advertising claims and the label and packaging of the Charcoal

Toothpastes are not misleading or deceptive in their claims and omissions; (iv) to possess adequate

and credible substantiation for its claims; and (v) to disclose the lack of substantiation, particularly

for safety.

         133.     Defendant Hello was, or should have been, aware of its obligations under the above-

described legal and regulatory framework, yet appears to have disregarded its duties as to claim

substantiation, safety, marketing and advertising, as well as to product packaging and labeling.

This further underscores that it knew or should have known its acts and practices were also

unlawful under state consumer protection laws.

         134.     Defendant Hello knew or should have known that it did not possess the legally

required substantiation for its claims. 117

         135.     Defendant Hello also knew, or should have known, that the Charcoal Toothpastes

did not possess the promised benefits and safety, and that there was risk of harm. Scientific studies


116
         See, e.g., FDA Cosmetic Labeling Guide, https://www.fda.gov/cosmetics/cosmetics-labeling-
regulations/cosmetics-labeling-guide.
117
         The FTC requires companies to “have a reasonable basis for advertising claims before they are disseminated,
 and “a firm’s failure to possess and rely upon a reasonable basis for objective claims constitutes an unfair and
deceptive act or practice in violation of Section 5 of the Federal Trade Commission Act. . . .” See FTC Policy Statement
Regarding Advertising Substantiation, appended to In the Matter of Thompson Medical Co., 104 F.T.C. 648, 839
(1984), aff’d, 791 F.2d 189 (D.C. Cir. 1986).

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and journals that contradicted many of Hello’s claims were published and available to Hello at the

time it disseminated its claims and marketing content.

        136.     Moreover, Hello would not have even had to look to academic or scientific

resources, because the scientific findings were also reported in consumer reports and mainstream

media outlets during the time the Charcoal Toothpastes were developed, marketed and sold.

Examples include:

        •        ABC News, June 2017, How Safe is Activated Charcoal? reports concerns of Dr.
                 Upen Patel, D.D.S., because charcoal dentifrices are not evaluated by the ADA for
                 long term use, can erode enamel, abrasiveness, gums, and tissue, and the small
                 charcoal particles “can get stuck in your gums and in small cracks in your teeth, so
                 you can have these little black lines in your gums and your teeth you can’t get
                 out.” 118

        •        Prevention.com, September 2018, Is Charcoal Toothpaste the Answer to Whiter
                 Teeth?, quoted Dr. Kenneth Magid, D.D.S., adjunct clinical associate professor at
                 NYU College of Dentistry: “Not only do charcoal toothpastes not meet the criteria
                 that I would use to recommend them, but they may be too abrasive and damaging
                 to teeth.” “Since charcoal toothpastes aren’t regulated by any agency or approved
                 by the ADA, many of the products may be too abrasive for regular use and can
                 possibly remove the enamel outside of the teeth or damage porcelain restorations
                 such as veneers or crowns.” “Once the enamel wears away, there’s no way to
                 regrow it, and on top of that, it can actually make your teeth look duller and darker
                 instead of brighter. This is due to the underlying dentin showing through. . . . In
                 addition to darkening your smile, wearing down your enamel will also make your
                 teeth more sensitive to temperature and prone to cavities.” 119

        •        BBC, May 2019, Charcoal Toothpastes ‘don’t whiten teeth,’ cited the British
                 Dental Journal for the premise that “charcoal-based toothpastes, which claim to
                 whiten teeth, are a ‘marketing gimmick’ which could increase the risk of tooth
                 decay,” and are “more abrasive than regular toothpastes, potentially posing a risk
                 to the enamel and gums.” The article quoted Dr. Greenwall-Cohen as stating that
                 charcoal particles in toothpastes can “get caught up in the gums and irritate them,”
                 and also be problematic for fillings. 120


118
          Irene Cruz, “How Safe Is Activated Charcoal?,” ABC 10 (June 9, 2017)
[https://www.abc10.com/article/news/local/how-safe-is-activated-charcoal/447456019].
119
          Macaela Mackenzie, “Is Charcoal Toothpaste the Answer to Whiter Teeth?,” Prevention (Sept. 26, 2018)
[https://www.prevention.com/beauty/a23470865/charcoal-toothpaste/].
120
          “Charcoal Toothpastes ‘don’t whiten teeth,’” BBC: Health, May 10, 2019
[https://www.bbc.com/news/health-48216116].

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        •        Harper’s Bazaar, August 2018, Is Charcoal Toothpaste Safe to Use? (re-published
                 in July 2019), reported on the doubts and issues raised by the British Dental Journal,
                 noting, “[u]nlike your liver and kidneys, the teeth and gums don’t perform a
                 detoxifying function of the body, and since so-called toxins aren’t generally
                 hanging out in your mouth anyway, there’s not much point in using your tooth
                 cleaning to purge them.” 121

        •        DailyMail, May 2019, Charcoal-based Toothpastes do NOT whiten teeth and may
                 lead to tooth decay as dentists warn the products are reliant on ‘marketing
                 gimmicks and folklore, quotes Professor Damien Walmsley, scientific adviser for
                 the British Dental Association: “Charcoal-based toothpastes offer no silver bullets
                 for anyone seeking a perfect smile, and come with real risks attached.” “These
                 abrasive formulations may be effective at removing surface stains, but prolonged
                 use may also wear away tooth enamel. Research now shows it could even cause
                 discoloration of the gums.” 122

        •        Dr. Ada Cooper, DDS, spokesperson for the American Dental Association, warned
                 of charcoal toothpastes in Beware Whitening Promise of Charcoal Toothpastes in
                 March 2019: “Just because something is popular doesn’t mean it’s safe.” “Charcoal
                 is recognized as an abrasive material to teeth and gums.” “Using materials that are
                 too abrasive can actually make your teeth look more yellow, because it can wear
                 away the tooth’s enamel and expose the softer, yellower layer called dentin.” 123

        137.     It is entirely implausible that Defendant Hello, a major oral care company that

possessed particularly sophisticated marketing savvy and invested significant time, money and

effort into the marketing of its products, failed to notice reported concerns from the ADA and other

dental professionals and experts, researchers within the scientific community, and the media that

the safety and efficacy of charcoal dentifrices were wholly unsubstantiated, and their use was

highly risky to consumers’ oral health, dental hygiene and aesthetics. (Unlike consumers, whose




121
          Lauren Hubbard & Alexandra Tunell, “Is Charcoal Toothpaste Safe to Use?,” Harper’s Bazaar, Aug. 14,
2018 (updated: Harper’s Bazaar Staff, “Is Charcoal Toothpaste Safe to Use?,” July 31, 2019)
[https://www.harpersbazaar.com/beauty/health/advice/a3764/charcoal-toothpaste-pros-cons/].
122
          Victoria Allen, “Charcoal-based Toothpastes do NOT whiten teeth and may lead to tooth decay as dentists
warn the products are reliant on ‘marketing gimmicks and folklore,” DailyMail (May 9, 2019),
[https://www.dailymail.co.uk/health/article-7010219/Charcoal-based-toothpastes-NOT-whiten-teeth.html].
123
          The Family Dental Center, Mar. 2019, “Beware Whitening Promise of Charcoal Toothpastes,”
[https://thefamilydentalcenter.com/blog/beware-whitening-promise-of-charcoal-toothpastes/].

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attention to the claims of the oral care industry will likely be limited to time in a shopping aisle

looking at product packaging, or at online retail sites that present a company’s marketing claims.)

        138.     Hello’s awareness that its claims were scientifically or medically unsubstantiated

can also, arguably, be inferred from what it does not say in its website FAQs. For example, to the

posited question, “are hello products safe?” Hello answers:

        “a resounding YES. safety and efficacy are of the utmost importance to us. . . . for
        a majority of our fluoride offerings, we’ve done third party testing that
        demonstrated our pastes are effective at removing stains while being gentle on your
        teeth. these tests are called PCRs (pellicle cleaning ratios) and RDAs (relative
        dentin abrasivity) . . . .” 124

        Note what is not said—Hello does not say that it has done third-party testing of its Charcoal

Toothpastes. 125

        139.     Red flags were also raised by Defendant’s own customers. Verified Hello Charcoal

Toothpastes consumers have raised concerns online for years – citing problems that comport with

those identified in dentistry studies and other reports. In a review dated September 8, 2018,

Amazon user “Jen” reported the following after using the “hello fluoride-free whitening

toothpaste”: “It makes my teeth hurt & it’s making my enamel thin and my gums purple.” 126

        140.     These online reports mimic the same phenomenon reported in dentistry journals

and publications (going as far back to a 1932 JADA report) , 127 and should cause any responsible

oral care business to seriously evaluate the safety and effectiveness of its product. Indeed, Hello



124
         “safety & allergens,” Frequently Asked Questions, Hello-Products.com, https://www.hello-
products.com/faq/#safety%20&%20allergens (last accessed June 25, 2019).
125
         “We observed that activated charcoal was more abrasive than a whitening toothpaste on acrylic resins. . . .”
Brantley McCarthy et al., “Activated Charcoal as a Whitening Dentifrice,” Academy of General Dentistry 2015
Annual Meeting (June 18-21, 2015) [https://www.epostersonline.com/agd2015/node/72].
126
         Customer Review, AMAZON.COM (September 8, 2018), https://www.amazon.com/gp/customer-
reviews/R3LT1KJSKLHL93/
127
         John K. Brooks et al., “Commentaries: More on Charcoal and Charcoal-Based Dentifrices,” 148 JADA 785
(2017), [http://dx.doi.org/10.1016/j.adaj.2017.09.027] (quoting S.M. Gordan, “Kramer’s Original Charcoal Dental
Cream: not acceptable for A.D.R.,” 33 JADA 912, 912–13 (1946)).

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was under a continuing duty to warn if its product poses a risk, and its duty could be triggered by

new information.

       G.      Hello Intended Consumers’ Reliance and Induced Consumers’ Purchase of
               the Charcoal Toothpastes

       141.    Hello’s advertising and marketing scheme was constructed in order to induce

consumers to purchase the Charcoal Toothpastes over other products, and to do so at a price

premium.

       142.    The claims at issue – which are alleged herein as misleading, inaccurate, and/or

false, as well as lacking a proper factual basis and required evidentiary substantiation – are material

to a consumer’s decision whether to purchase them. Hello negligently, recklessly and/or

intentionally fails to disclose material information that, if known to a consumer, would inform

their perception of the claims affirmatively made, and would affect the purchase decision. The

misrepresentations and omissions also have potentially serious consequences on consumers’ oral

health and dental hygiene, simply as a result of the intended use.

       143.    Hello sought to instill consumer trust and confidence with terms like “thoughtfully

formulated,” and “naturally friendly,” and claims of “being on a mission.” Hello presented a

research scientist for her expertise in oral health care, and even directed consumers to the website

on the printed product packaging to “learn more.” Hello made many claims relating to health,

safety and oral aesthetics, which it knew average consumers were unequipped to assess, and were

relying on and placing their trust in. Hello persistently claimed superiority over other brands in

terms of quality and safety of ingredients, and conscientious ‘friendliness.’




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        144.     Hello charges more for its Charcoal Toothpastes than it does for Hello’s other non-

charcoal toothpastes. On its website, Hello charges $4.99 per 4-ounce tube of non-charcoal

toothpaste. The Charcoal Toothpastes are sold at $5.99 and $6.99 per 4-ounce tube. 128

        145.     Hello negligently continues to promote and hype the (unsubstantiated) attributes of

activated charcoal, and highlighting positive press coverage, “as featured in Glamour, Brit + Co,

teenVogue.” 129 It does so despite warnings from dentists and the scientific community about

charcoal dentifrices – at best a “marketing gimmick” and, at worst, harmful to teeth, dentistry

implants and overall oral health.

        146.     Hello’s misleading claims, material omissions, and its false and deceptive

marketing campaign as a whole, are materially misleading and likely to deceive (and have

deceived) consumers, and are intended to induce reliance and the purchase of one or more of the

Charcoal Toothpastes.

        J.       Consumers’ Reliance was Reasonable and Justified

        147.     Each and every purchaser of the Hello Charcoal Toothpastes, including the named

Plaintiffs and putative Class members, were exposed to Defendant’s claims. In addition to online

and print marketing and ads, the claims are printed on external cardboard packaging and product

labeling.

        148.     Hello’s ubiquitous messaging that it is “thoughtful,” “naturally friendly,” “free of

harmful ingredients,” and other stylistic branding flourishes together foster a reasonable

expectation that Hello is a trustworthy brand, that its claims were legitimate, and that the products

were safe and effective, with “a resounding YES!”.



128
        Charcoal Toothpaste, Hello Products, https://www.hello-products.com/shop/toothpaste/ (last accessed Sept.
10, 2019).
129
        Hello Products, https://www.hello-products.com (last accessed Sept. 10, 2019).

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       149.    Consumers reasonably relied on the oft-repeated claims that the Charcoal

Toothpastes had natural and safe whitening and detoxifying properties, as well as other dental

hygiene and cosmetic benefits, that they were safe for everyday use, as well as generally effective,

appropriate, and adequate for dental hygiene maintenance and, at least not harmful in their intended

use.

       150.    An average consumer lacked any reasonable or meaningful ability to test or

practicably verify Hello’s claims. Consumers cannot reasonably be expected to research and

independently ascertain the truthfulness of the claims made by the sellers they pay for products.

       151.    This is particularly so in the purchase of a dental product from an oral care

company, and consumers may reasonably rely upon the expertise of an oral care company that

introduces a dental product to the retail market and presents it as safe for long-term daily use,

effective and adequate to meet dental hygiene and oral care maintenance needs. Reasonable typical

consumers lack sufficient training to discern the validity of such claims, which require a certain

level of expertise and specialized knowledge; nor should consumers be reasonably expected to feel

the need to question or investigate these types of claims.

       152.    In this instance, Hello went out of its way with bombastic marketing and invited

consumers to visit its website, to read its long explanations of the attributes of activated charcoal,

to explore its hashtags, and to generally engage with – and place trust and confidence in – the

brand and its products. Consumers’ justifiable reliance is inextricably wound up in Hello’s

marketing, which was substantial in content and volume, and persistently underscoring its

‘friendly’ and engaging branding in order to influence consumer perceptions and cultivate trust

and confidence.




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        153.     Consumers relied on Hello’s claims and were induced to believe that the Hello

Charcoal Toothpastes provide properties, qualities and safety benefits that other ‘retail’ toothpastes

do not, and also that other ‘natural’ toothpastes do not. Unfortunately they paid a price, in

economic injury as well as potential non-economic consequences.

        K.       Hello’s Wrongful Conduct Injured Consumers

        154.     The named Plaintiffs, putative Class members, and consumers at large have been

harmed by Hello’s false, misleading and negligent representations because they purchased the

Hello Charcoal Toothpastes that were not as represented, in that they did not provide the promised

benefits, properties, and characteristics, as well as a level of safety. They were also ineffective as

dentifrice and/or harmful.

        155.     Plaintiffs and purported Class members paid a premium price for the mislabeled

and falsely advertised products, and such premium can be directly and clearly tied to the inclusion

of the activated charcoal ingredient, and the hyped marketing claims Hello made about its

attributes. The premium would not have been paid but-for Hello’s misrepresentations on the

unproven and potentially harmful ingredient - charcoal. 130

        156.     Hello’s misrepresentations and omissions concerned material characteristics of its

products, and it charged a higher price for such characteristics. Consumers (including the named

Plaintiffs) would not have paid premium prices or even purchased them at all, but-for the

representations on the attributes of activated charcoal and the benefits of its products could

naturally and safely deliver. Hello’s claims and omissions were materially misleading, in that they




130
          Each consumer has been exposed to the same or substantially similar misleading and unlawful practices
and each product contains identical or substantially similar claims, and each of the Charcoal Toothpastes were sold
at a price premium. As such, each consumer suffered the same or substantially similar injuries as the named
Plaintiffs, irrespective of which particular Charcoal Toothpaste they purchased.

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are likely to deceive a reasonable consumer and also directly concern unique and intrinsic qualities

of the products, and caused an increase in consumers’ perception of their value.

       157.    Moreover, had Hello been revealed that charcoal in dentifrice is highly abrasive,

carries significant risks, and/or even that Hello lacked the substantiation it was legally required to

possess for its claims, then reasonable consumers, who had been drawn in by Hello’s friendly

marketing tactics, would have had cause to refrain from purchasing as well as using the Charcoal

Toothpastes. In light of Hello’s marketing content, even were the charcoal ingredient as

implemented in Hello’s particular formula for its Charcoal Toothpastes not ultimately proven to

be categorically unsafe, the lack of substantiation and potential for risk would have deterred a

reasonable consumer purchasing (at a premium) what they reasonably believed to be very safe

healthy, natural, free of any potentially harmful ingredients.

       158.    These products were not as represented and cannot deliver the promised health,

dental hygiene, and cosmetic benefits, as previously discussed. For example, the Hello had no

reasonable factual basis for claiming any oral health benefits delivered in the form of purported

detoxifying, purifying and adsorption properties of charcoal. The promised performance and

benefits simply were not, and could not have been, realized.

       159.    The Charcoal Toothpastes were sold at a price premium of $1 to $2 per tube for a

toothpaste with the unproven, potentially harmful ingredient, over the toothpastes sold by Hello

that do not contain charcoal.

       160.    In addition to the economic injury in the form of a price premium paid for falsely

promised benefits, consumers have been damaged by the total purchase price, because they

purchased a dentifrice that does not provide the basic safety and oral health maintenance that

otherwise similar non-charcoal dentifrices do.



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         161.     Hello claims that it has tested and verified the effectiveness and safety of its non-

charcoal whitening toothpastes, but notably, it makes no such claim for the Charcoal Toothpastes.

Moreover, Hello’s non-charcoal toothpastes (sold at $3.99-$4.99) contain some ingredients that

are not present in the Charcoal Toothpastes, but that are commonly accepted as safe and effective

in dentifrice (calcium carbonate, a common abrasive agent, is an example). Because charcoal

powder is unproven as safe and effective for use in dentifrice (and potentially harmful), it is not

an appropriate substitute for many such ingredients.

         162.     As such, the consumer is harmed in a second way that is distinct from, and in

addition to, the $1 to $2 price premium paid for nonexistent benefits of activated charcoal. Not

only do Hello’s Charcoal Toothpastes not bring an additional benefit for the $1 to $2 premium (in

the form of purported detox or natural whitening), they also may not provide basic oral hygiene

maintenance that would have been provided by other non-charcoal, regular toothpastes containing

ingredients that have been substantiated, proven, and/or approved as legitimately safe and

effective. Instead, Plaintiffs and putative Class members were using oral care products that were

deficient and do not meet basic oral health care needs and maintenance.

         163.     Furthermore, the use of the products carried significant risk due to the inclusion of

charcoal. 131

         164.     Consumers were damaged by the entire cost of a tube of toothpaste that was

ineffective at maintenance of oral hygiene and potentially deleterious to oral health.




131
          For example, they used the Charcoal Toothpowders (which had been represented as, inter alia, safe for
gums, natural, healthy and effective for whitening, and non-abrasive to enamel) which were, unbeknownst to them,
in fact abrading their enamel rather than safely and naturally whitening their teeth. And, as previously discussed, the
inclusion of charcoal particles can directly damage dental implants or the gumline. Charcoal also causes damage that
arrives in the form of oral health issues that can arise due to failure to meet basic oral health care needs and
maintenance, as well as oral health issues that can spiral as consequences of the abrasive damage caused by
charcoal.

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        165.     In addition to its trusting consumers, Hello took unfair advantage of its competitors.

It conveyed that the Charcoal Toothpastes were of such premium, superior quality and had

attributes that other commercially available toothpowders do not (whether ‘natural’ or more typical

toothpowders).

        166.     Hello has collected substantial profits as a result of numerous material omissions

and false and misleading claims over the benefits and safety of activated charcoal in dentifrice and

the Charcoal Toothpastes, and other purported attributes that were false and misleading.

        167.     In 2018, Hello CEO Craig Dubitsky estimated that Hello’s revenue would exceed

$20 million. 132 It reports that its toothpaste, “hello activated charcoal fluoride-free whitening

toothpaste” is the “#1 selling charcoal toothpaste in FDM (source: IRI MULO L52 weeks

3.24.19).” 133

        168.     Defendant had knowledge that its claims lack required substantiation and that the

Charcoal Toothpastes do not comport with the representations it has made. It also knew or should

have known of the potential for serious harm caused by the use of charcoal in dentifrice.

Defendant’s conduct is deceptive, unethical, in violation of public policy, wanton and recklessly

indifferent to others, and substantially injurious to consumers as well as to competitors.

        169.     Defendant should not be permitted to retain its substantial benefit obtained from its

injurious misconduct, which in justice and equity belong to Plaintiffs and members of the Class,

and caused them injury; nor should it, in justice and equity, be permitted to continue to benefit

from its unfair and deceptive practices.




132
         Amy Feldman, “Taking on the Toothpaste Giants: How One Entrepreneur Built a Fresh $20 Million
Brand,” Forbes, Mar. 29, 2018, [https://www.forbes.com/sites/amyfeldman/2018/03/29/taking-on-the-toothpaste-
giants-how-one-entrepreneur-built-a-fresh-20-million-brand/#4ba7c73c4019] (last accessed June 20, 2019).
133
         Reported at the bottom of all hello-products.com pages, https://www.hello-products.com/ (last accessed
September 17, 2019).

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       170.    Without remedy (including injunctive relief), Plaintiffs, members of the putative

Class, and other consumers, will suffer a concrete harm, in that they cannot be confident that the

labeling of products will be truthful and not misleading when they are making their purchase

decisions in the future. Alternatively, they might mistakenly but reasonably believe that the

labeling and advertising of the products has been substantiated and/or corrected, and be deceived

yet again into purchasing one or more of the products.

                                   V.   CLASS ACTION ALLEGATIONS

       171.    Pursuant to CAFA and the Federal Rules of Civil Procedure 23(a) and (b)(3),

Plaintiffs bring this lawsuit as a Class Action on behalf of themselves and all other similarly

situated members of the classes, as defined below. This Class Action satisfies the numerosity,

commonality, typicality, adequacy, predominance, and superiority requirements of those

provisions.

       The proposed “Nationwide Class” is defined, subject to timely amendment following

discovery, as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 134 for
                    personal, family or household use within the United States within the applicable
                    statute of limitations.

       The proposed “AZ Subclass” is defined, subject to timely amendment following

discovery, as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 135 for
                    personal, family or household use within the state of Arizona within the
                    applicable statute of limitations.

       The proposed “CA Subclass” is defined, subject to timely amendment following

discovery, as follows:


134
       As previously defined herein.
135
       As previously defined herein.

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                    All individuals who purchased one or more of Hello’s Charcoal Products 136 for
                    personal, family or household use within the state of California within the
                    applicable statute of limitations.

       The proposed “CO Subclass” is defined, subject to timely amendment following

discovery, as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 137 for
                    personal, family or household use within the state of Colorado within the
                    applicable statute of limitations.

       The proposed “FL Subclass” is defined, subject to timely amendment following discovery,

as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 138 for
                    personal, family or household use within the state of Florida within the
                    applicable statute of limitations.

       The proposed “IL Subclass” is defined, subject to timely amendment following discovery,

as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 139 for
                    personal, family or household use within the state of Illinois within the
                    applicable statute of limitations.

       The proposed “MA Subclass” is defined, subject to timely amendment following

discovery, as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 140 for
                    personal, family or household use within the Commonwealth of Massachusetts
                    within the applicable statute of limitations.

       The proposed “MI Subclass” is defined, subject to timely amendment following discovery,

as follows:




136
       As previously defined herein.
137
       As previously defined herein.
138
       As previously defined herein.
139
       As previously defined herein.
140
       As previously defined herein.

                                                66
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                    All individuals who purchased one or more of Hello’s Charcoal Products 141 for
                    personal, family or household use within the state of Michigan within the
                    applicable statute of limitations.

       The proposed “MO Subclass” is defined, subject to timely amendment following

discovery, as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 142 for
                    personal, family or household use within the state of Missouri within the
                    applicable statute of limitations.

       The proposed “NJ Subclass” is defined, subject to timely amendment following discovery,

as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 143 for
                    personal, family or household use within the state of New Jersey within the
                    applicable statute of limitations.

       The proposed “NC Subclass” is defined, subject to timely amendment following

discovery, as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 144 for
                    personal, family or household use within the state of North Carolina within the
                    applicable statute of limitations.

       The proposed “NY Subclass” is defined, subject to timely amendment following

discovery, as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 145 for
                    personal, family or household use within the state of New York within the
                    applicable statute of limitations.

       The proposed “SC Subclass” is defined, subject to timely amendment following discovery,

as follows:




141
       As previously defined herein.
142
       As previously defined herein.
143
       As previously defined herein.
144
       As previously defined herein.
145
       As previously defined herein.

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                    All individuals who purchased one or more of Hello’s Charcoal Products 146 for
                    personal, family or household use within the state of South Carolina within the
                    applicable statute of limitations.

       The proposed “TX Subclass” is defined, subject to timely amendment following

discovery, as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 147 for
                    personal, family or household use within the state of Texas within the applicable
                    statute of limitations.

       The proposed “WI Subclass” is defined, subject to timely amendment following

discovery, as follows:

                    All individuals who purchased one or more of Hello’s Charcoal Products 148 for
                    personal, family or household use within the state of Wisconsin within the
                    applicable statute of limitations.

       172.    Members of the proposed Class and Subclasses (and any other alternative

subclasses that may be proposed) are collectively referred to herein as the “Class members.”

       173.    Excluded from the Class are: (1) Defendant and its subsidiaries, affiliates,

employees, officers, directors, assigns, and successors, as well as any entities or divisions in which

any of the Defendants have a controlling interest; (2) the Judge and/or Magistrate Judge to whom

this case is assigned and any member of the Judges’ immediate families; and (3) anyone asserting

claims for personal injury in connection with the Hello Charcoal Products. Plaintiffs reserve the

right to amend the definition of the Class if discovery and/or further investigation reveal that the

Class should be expanded or otherwise modified.

       174.    Numerosity: The exact number of Class members is presently unknown, and can

only be ascertained through appropriate discovery. However, Plaintiffs reasonably estimate that



146
       As previously defined herein.
147
       As previously defined herein.
148
       As previously defined herein.

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the Nationwide Class consist of thousands or tens of thousands of members. The expected

numerosity of the Class is such that joinder of all members is impracticable. Moreover, the

disposition of the claims of the Class members in a single action will provide substantial benefits

to all parties and to the Court, including in terms of practicability and manageability. The Class

members are readily identifiable from information and records in Defendant’s possession, custody,

or control.

       175.      Commonality and Predominance: Common questions of law and fact exist as to

all members of each of the Classes and predominate over questions affecting only individual

members. Defendant engaged in a common course of conduct giving rise to the legal claims as to

Plaintiffs themselves as well as to the other putative members of the Classes, all of whom were

damaged by the identical common law violations, statutory violations (within each Subclass)

business practices, and misconduct. For example, consumers were exposed to the same or

substantially similar set of misrepresentations and omissions and packaging, labeling, and

marketing; manifested a similar kind and degree of reliance; and also suffered substantially similar

injuries. Individual questions, if any, pale by comparison, in both quality and quantity, to the

numerous common questions that predominate in this action.

       176.      These common questions predominate over any questions affecting only individual

members of the Classes and include, but are not limited to, the following:

                  a.      Whether, in its product packaging, labeling, marketing, advertising, and/or
              sale of the Charcoal Products, Defendant made materially misleading representations
              and material omissions;

                  b.      Whether Defendant made and breached an express warranty to the named
              Plaintiffs and the Class;

                 c.      Whether Hello’s false and misleading statements concerning the Charcoal
              Products and their concealment of material facts concerning the Charcoal Products
              were likely to deceive reasonable consumers;

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               d.      Whether Plaintiffs and the Class members suffered an ascertainable loss or
           actual injury;

               e.     Whether misrepresentations related to or printed on the packaging of the
           Charcoal Products caused Plaintiffs and the Class members to pay a higher price than
           they otherwise would;

               f.     Whether the acts and omissions of Defendant violated the enumerated state
           consumer protection statutes and/or deceptive acts and practices statutes in effect in the
           various States;

                 g.     Whether Plaintiffs and the Class members are entitled to injunctive relief;
           and

                 h.     Whether the actions of Defendant warrant punitive damages.

       177.      Typicality: Plaintiffs’ claims are typical of the claims of the proposed Classes, as

Plaintiffs and all members of the Classes purchased Hello Charcoal Products after exposure to,

and reliance upon, the same material misrepresentations and/or omissions reflected in the claims

appearing on the product packaging and labeling, on Defendant’s websites, Defendant’s

Amazon.com listing, other online retail platforms, and/or other forms of advertising and

marketing. Plaintiffs and Class members have suffered the same or substantially similar injuries

as a result, in that they were damaged by the common thread of Defendant’s misconduct and

incurred expenses based on their reliance thereon.

       178.      Plaintiffs are advancing the same claims and legal theories on behalf of themselves

and all absent members of the Classes. As alleged above, each consumer has been exposed to the

same or substantially similar deceptive practices regardless of which of the Charcoal Products they

purchased because: 1) identical or substantially similar claims are made as to each product

regarding the benefits of activated charcoal, and each product was labeled and/or promoted in

marketing and advertising with the same or substantially similar claims and omissions; and 2) the

inclusion of activated charcoal in each product gives rise to the harms described herein and raises

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the same set of concerns. Particularly as to the Non-Fluoride Charcoal Toothpastes, those products

are essentially one and the same product, with very trivial variation in ingredients and in the

representations made.

       179.    Adequacy: Plaintiffs will fairly and adequately represent and protect the interests

of the Classes. Plaintiffs have retained counsel highly experienced in prosecuting consumer class

actions. Plaintiffs and their counsel are committed to vigorously prosecuting this action on behalf

of members of the Classes, and have the resources to do so. Neither Plaintiffs nor their counsel

have any interests adverse to those of the Classes.

       180.    Superiority: A class action is superior to all other available methods for the fair

and efficient adjudication of this controversy. Because of the relatively small size of the claims of

the individual members of the respective Classes, absent a class action, most members would likely

find the cost of litigating their claims against Defendant to be prohibitive or impractical. A class

action, on the other hand, offers the possibility for effective redressability. The class treatment of

common questions of law and fact is also superior to multiple individual actions or piecemeal

litigation in that it conserves the time and resources of the courts and the litigants, and promotes

consistency and efficiency of adjudication. The class action device presents no management

difficulties and provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.

       181.    Ascertainability and Notice: The proposed Classes are each defined with

reference to objective criteria. A reliable and administratively feasible mechanism exists for the

determination of membership of each of the proposed Classes. Plaintiffs and their counsel

anticipate that notice to the proposed Class members will be effectuated through recognized,




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Court-approved notice dissemination methods, which may include the United States mail,

electronic mail, internet postings, and/or other published notice.

                                        VI.     CAUSES OF ACTION

                                             COUNT ONE
                                            Nationwide Class
                                       Breach of Express Warranty


       182.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       183.    Plaintiffs bring this claim under Article 2 of the Uniform Commercial Code (the

“UCC”) (as adopted and codified under New York UCC law at § 2-313, and other states where

members of the Nationwide Class reside) and do so on behalf of themselves and the members of

the Class.

       184.    Under Section 2-313 of the UCC, affirmation of fact or promise made by the seller

to the buyer, which relate to the goods and are a basis of the bargain, create an express warranty

that the goods shall conform to the affirmation or promise.

       185.    In connection with the sale of the Charcoal Toothpastes, Defendant issued written

express warranties concerning the Charcoal Toothpastes. Express warranties concerning the

Charcoal Toothpastes included, but were not limited to:

       •       “naturally whitening”

       •       “whitens naturally”

       •       “epic whitening”

       •       “noticeably whiter teeth”

       •       “whitens, polishes and cleans teeth/freshens breath”

       •       “detoxify your mouth”

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       •       “detoxifies and freshens breath”

       •       “a natural whitener and detoxifier that helps make smiles brighter and breath

fresher”

       •       “detoxifier that removes surface stains and freshens breath”

       •       “gentle and safe for everyday use”

       •       “safe for enamel”

       •       “prevents cavities”

       •       “adsorptive”

       •       “adsorb the odors that cause bad breath and the tannins that can stain teeth”

       •       “helps prevent cavities and strengthen enamel”

       •       “removes plaque”

       •       “kicks plaque to the curb”

       186.    Defendant’s affirmations of fact or promise were made to the Plaintiffs and

members of the Class on the product packaging and labeling of the Charcoal Toothpastes, on

Hello’s website, and in other online retail sites and digital and print advertising.

       187.    These affirmations of fact or promise were material and became part of the basis of

the bargain between the Defendant on the one hand, and the Plaintiffs and Class members on the

other, thereby creating express warranties that the Charcoal Toothpastes would conform to such

affirmations of fact and promise.

       188.    Plaintiffs and the Class members were in direct privity with Defendant and/or its

agents, or were intended third-party beneficiaries of the warranties breached hereinto the extent

required by law.




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       189.    Plaintiffs and Class members reasonably and justifiably relied on the Defendant’s

express warranties, believing that the Charcoal Toothpastes they purchased would conform to the

express warranties.

       190.    Defendant breached its express warranties because the Charcoal Toothpastes do

not, in fact, conform to the affirmations of fact or promise, and the Charcoal Toothpastes do not

perform as expressly warranted. They did not so perform for Plaintiffs, and they cannot perform.

       191.    In fact, no reliable, scientifically sound studies have demonstrated that any of the

benefits of activated charcoal or the Charcoal Toothpastes as represented by Defendant to be

substantiated, and there is no substantiation of their safety or efficacy. Activated charcoal has never

been proven effective and safe for use in dentifrice generally or for the particular claims made by

Defendant.

       192.    Plaintiffs and the Class members were injured as a direct and proximate result of

Defendant’s breach because Plaintiffs and the Class members did not receive the benefit of the

bargain, as the Charcoal Toothpastes did not have the promised benefits, effectiveness, safety,

value or other properties as represented. The Plaintiffs and the Class members suffered injuries

because, had they known the true facts, they would not have purchased the Charcoal Toothpastes,

as compared to similar products that did conform as warranted and represented.

       193.    Within a reasonable time after she knew of Defendant’s warranty breaches, Plaintiff

Patellos, on behalf of herself and Class members, placed Defendant on notice of its breach and

gave it opportunity to cure, with her initial Class Action Complaint filed October 16, 2019 and

subsequently sent by registered mail to Defendant’s headquarters in New Jersey and received on

November 19, 2019.




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       194.    As a direct and proximate result of Defendant’s breaches of express warranty,

Plaintiffs and the Class members have been damaged by the difference in value between the

Charcoal Toothpastes as advertised and the Charcoal Toothpastes as actually sold, in an amount

to be proven at trial, together with interest thereon from the date of purchase.

                                            COUNT TWO
                                             NY Subclass
                                     Deceptive Acts and Practices
                          Violation of New York General Business Law § 349

       195.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       196.    Plaintiffs Briley, Fishon, and Patellos bring this Count individually on behalf of

themselves, and on behalf of the NY Sublass.

       197.    Section 349 of the New York General Business Law declares unlawful “[d]eceptive

acts or practices in the conduct of any business, trade, or commerce or in the furnishing of any

service in this state. . .” and further provides that “any person who has been injured of any violation

of the [GBL § 349] may bring an action in his own name to enjoying such unlawful act or practice.

. .”

       198.    By the acts and conduct alleged herein, Defendant Hello committed unfair or

deceptive acts and practices, and did so on a recurring basis and in violation of the GBL. These

acts and conduct include, but are not limited to, Defendant’s deceptive and inaccurate

misrepresentations that the Charcoal Toothpastes (i) are safe and gentle enough for everyday use,

(ii) are effective for naturally whitening teeth, (iii) de-toxify the mouth, and (iv) have adsorptive

properties that freshen breath, lift stains, remove plaque, and provide other benefits.

       199.    Defendant’s unlawful conduct also included omitting material facts, such as failing

to disclose to consumers that (i) its claims lacked a scientific basis or credible substantiation; (ii)

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safety had not been evaluated for long-term use, (iii) the safety and effectiveness of charcoal for

use in dentifrice was counter-indicated in scientific literature and may in fact be detrimental and

harmful to oral health and aesthetics.

       200.    Defendant also represented the Charcoal Toothpastes to be superior and safer than

its competitors, which was directly refuted by a scientific study finding that charcoal pastes were

more abrasive on tooth enamel than whitening pastes without charcoal.

       201.    The foregoing deceptive acts and practices were likely to deceive or mislead

reasonable consumers, and were consumer-oriented so as to induce consumers to purchase the

Charcoal Toothpastes.

       202.     Defendant’s deceptive acts and practices are misleading in a material way because

they fundamentally misrepresent the benefits, safety, and characteristics of the Charcoal

Toothpastes. They misled Plaintiffs Briley, Fishon, and Patellos NY Subclass members and other

reasonable consumers who acted reasonably under the circumstances, inducing them to purchase

the Charcoal Toothpastes, and to do so at a price premium, yet do not receive the full value of their

purchase and did not get the benefit of their bargain. A reasonable consumer, including each of the

named Plaintiffs, would and did expect that the purchased Charcoal Toothpastes would provide

the benefits, meet the quality and safety standards, and otherwise conform to the representations

on the product labeling and packaging and on Defendant’s website and online advertising and sales

listings. Defendant charged a price premium for promised cosmetic, dental hygiene and oral health

benefits that had not been substantiated and were not ultimately delivered.

       203.     As a result of Defendant’s false, misleading, and deceptive statements and

representations, including but not limited to the misrepresentations described herein, Plaintiffs

Briley, Fishon, and Patellos and members of the NY Subclass have suffered, and continue to



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suffer, economic injury. They were injured because, had they known the true facts (that the

Charcoal Toothpastes did not have the represented benefits, safety and characteristics), they would

not have purchased the Charcoal Toothpastes and/or would not have paid the price premium Hello

charged for the Charcoal Toothpastes, as compared to similar products that did not bear these

misrepresentations. Plaintiffs Briley, Fishon, and Patellos and the NY Subclass were damaged by

the difference in value between the Charcoal Toothpastes as advertised and the Charcoal

Toothpastes as actually sold.

       204.    Defendant made its untrue and/or misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

       205.     Pursuant to New York General Business Law § 349, Plaintiffs Briley, Fishon, and

Patellos seek an order of this Court enjoining Hello from continuing to engage in unlawful, unfair

or fraudulent business practices, or any other conduct prohibited by law. Plaintiffs Briley, Fishon,

and Patellos and the NY Subclass members may be irreparably harmed and/or denied an effective

and complete remedy if such an order is not granted. The unfair and deceptive acts and practices

of Hello, as described above, present a serious threat to Plaintiffs Briley, Fishon, and Patellos and

the NY Subclass members. Plaintiffs thus pray for relief as set forth below.

                                          COUNT THREE
                                            NY Subclass
                                          False Advertising
                          Violation of New York General Business Law § 350

       206.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       207.    Plaintiffs Briley, Fishon, and Patellos bring this Count individually on behalf of

themselves, and on behalf of the NY Subclass.




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       208.    By the acts and conduct alleged herein, Hello committed unfair or deceptive acts

and practices that constitute violations of Section 350 of the New York General Business Law,

which makes false advertising unlawful.

       209.    Section 350-a(1) of the New York General Business Law provides that the term

‘false advertising’ means advertising, including labeling, of a commodity, that is misleading in a

material respect. “In determining whether any advertising is misleading, there shall be taken into

account (among other things) not only representations made by statement, word, design, device,

sound or any combination thereof, but also the extent to which the advertising fails to reveal facts

material in light of such representations with respect to the commodity. . . .”

       210.    Defendant has engaged in consumer-oriented conduct that is deceptive or

misleading in a material way, and that constitutes false advertising in violation of Section 350 of

the New York General Business Law. Defendant’s conduct has constituted multiple separate

violations of Section 350 of the New York General Business Law.

       211.    In its marketing and advertising, and on the packaging and labeling of the Charcoal

Toothpastes Hello made representations that were untrue and materially misleading concerning

the Charcoal Toothpastes and also omitted other material information. Hello thereby misrepresents

the true benefits, effectiveness, safety and other properties of the Charcoal Toothpastes.

       212.    Hello’s material misrepresentations were substantially uniform in content,

presentation, and impact upon consumers at large. Plaintiffs Briley, Fishon, and Patellos and NY

Subclass members and other consumers were and continue to be exposed to Defendant’s material

misrepresentations when purchasing the Charcoal Toothpastes.

       213.    Hello’s misleading marketing, advertising, packaging and labeling of the Charcoal

Toothpastes was likely to deceive a reasonable consumer.



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        214.   Hello’s material and misleading statements include but are not limited to its claims

that the Charcoal Toothpastes (i) are safe and gentle enough for everyday use, (ii) are effective for

naturally whitening teeth, (iii) de-toxify the mouth, and (iv) have adsorptive properties that freshen

breath, lift stains, remove plaque, and provide other benefits. Defendant also omitted material

facts, such as that (i) its claims lacked a scientific basis or credible substantiation; (ii) safety had

not been evaluated for long-term use, (iii) the safety and effectiveness of charcoal for use in

dentifrice was counter-indicated in scientific literature and may in fact be detrimental and harmful

to oral health and aesthetics.

        215.   Plaintiffs Briley, Fishon, and Patellos and members of the NY Subclass were

indeed deceived regarding the characteristics of Hello’s Charcoal Toothpastes. Plaintiffs Briley,

Fishon, and Patellos and members of the NY Subclass who purchased the falsely labeled Charcoal

Toothpastes were reasonable under the circumstances and could not have known the Charcoal

Toothpastes they purchased did not in fact bear the benefits, effectiveness, safety and other

properties as advertised, marketed, packaged and labeled.

        216.   Defendant’s untrue and misleading statements were material to Plaintiffs Briley,

Fishon, and Patellos and the NY Subclass members, and any reasonable consumer would expect

the Charcoal Toothpastes to provide the benefits promised, and to conform to the represented

safety and other standards, qualities and properties represented on the products’ packaging and

labeling and in advertising and marketing, on the Defendant’s website, and in other online sales

listings.

        217.   Any reasonable consumer would also find numerous previously discussed

omissions to be highly material, including but not limited to the lack of substantiation, the high

abrasivity, the potential detrimental consequences and risk to oral health and aesthetics, and other



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nondisclosed information that was material to consumers in the context of Hello’s marketing

claims.

          218.   The misrepresentations in Defendant’s advertising and labeling caused the

Plaintiffs Briley, Fishon, and Patellos and NY Subclass members to purchase one or more of the

Charcoal Toothpastes, and to pay a price premium for such products.

          219.   As a result of Defendant’s deceptive and false advertising, Plaintiffs Briley,

Fishon, and Patellos and members of the NY Subclass have suffered, and continue to suffer, an

injury that they could not have reasonably avoided. They were injured because, had they known

the true facts (that the Charcoal Toothpastes did not have the promised benefits, effectiveness,

safety and other properties), Plaintiffs Briley, Fishon, and Patellos and members of the NY

Subclass would not have purchased the Charcoal Toothpastes and/or would not have paid the price

premium Hello charged for the Charcoal Toothpastes, as compared to similar products that were

not falsely advertised and as compared to products sold by Hello itself that did not contain activated

charcoal as an ingredient.

          220.   As a direct and proximate result of Hello’s statutory violations and false

advertising, Plaintiffs Briley, Fishon, and Patellos and NY Subclass members have been damaged

in the amount of the purchase price of the Charcoal Toothpaste they purchased and/or the price

premium paid and are entitled to recover the difference in value between the Charcoal Toothpastes

as advertised and the Charcoal Toothpastes as actually sold.

          221.   In addition to the consumer injuries alleged herein, Defendant’s deceptive and false

advertising, marketing and labeling practices have caused harm to competition and the public

interest.




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       222.     Defendant made its untrue and/or misleading statements and representations and

omissions willfully, wantonly, and with reckless disregard for the truth.

       223.    As a direct and proximate result of Hello’s statutory violations and false

advertising, Plaintiffs Briley, Fishon, and Patellos and members of the NY Subclass were damaged

and are entitled to monetary, compensatory, treble and punitive damages, injunctive relief,

restitution and disgorgement of all monies obtained by Defendant’s unlawful conduct, interest,

and attorneys’ fees and costs.

       224.    On behalf of themselves and other members of the NY Subclass, Plaintiffs Briley,

Fishon, and Patellos seek to enjoin Hello from continuing to engage in false advertising and any

other unlawful acts and practices, pursuant to New York General Business Law Section 350.

Plaintiffs Briley, Fishon, and Patellos and the members of the NY Subclass may be irreparably

harmed and/or denied an effective and complete remedy if such an order is not granted. The

injuries and harms caused by Defendant’s conduct are serious and ongoing.

       225.    Pursuant to New York General Business Law Section 350-e, Plaintiffs Briley,

Fishon, and Patellos , on behalf of themselves and the members of NY Subclass, seeks to recover

the actual damages or $500, whichever is greater, and seeks to have these damages trebled. They

also seek any other statutorily available damages and remedies, and to recover reasonable

attorneys’ fees and costs and further pray for relief as set forth below.

                                            COUNT FOUR
                                            Nationwide Class
                                  Intentional Misrepresentation/Fraud

       226.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.




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       227.     Plaintiffs bring this Count on behalf of themselves and on behalf of the members

of the Class.

       228.     Defendant has represented to the public, including Plaintiffs, by promoting,

marketing, advertising, packaging, labeling, and other means, that the Charcoal Toothpastes have

characteristics and qualities that they do not have. These representations were material, and were

uniformly made.

       229.     At the time Defendant made the representations alleged herein, Defendant knew

the representations were false and/or made them with fraudulent intent.

       230.     Defendant made the misrepresentations herein with the intention of depriving

Plaintiffs and other Class members of property or otherwise causing injury, and thus, Defendant

has committed fraud.

       231.     Defendant’s deceptive or fraudulent intent may be inferred by allegations and

evidence of motive and opportunity, as well as strong circumstantial evidence of conscious

misbehavior or recklessness. In the instant case, the allegations previously asserted herein that

support scienter include but are not limited: the scientific journals that contradict, refute or call

into question Hello’s claims, of which it must have been aware (in light of the industry and media

reports on the same, as well as consumer complaints); Hello’s own clinical studies of its products

and/or Hello’s intentional selectivity in choosing which products to subject to clinical testing;

Hello’s selective submission to the ADA Seal Program to omit any charcoal products. Defendant

knew that consumers would place trust and confidence in its product claims and rely thereon in

their purchase of the products. In addition to Hello’s inferred awareness that its claims were

unsubstantiated and the products were potentially unsafe, the Defendant expressly represented

safety as well as superiority to other products, and also generated great profit by instilling



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confidence in its consumer base that its claims were credible; as such, Defendant’s motive and

opportunity to deceive, and access to accurate information is further strong circumstantial

evidence. 149

         232.     Plaintiffs and other Class members believed and relied on Defendant’s promoting,

marketing, advertising, packaging, and labeling of the Charcoal Toothpastes, and, in justifiable

reliance thereon, purchased and used them.

         233.     As a proximate result of these acts and omissions, Plaintiffs and Class members

were induced to spend money on the Charcoal Products and they were damaged in the economic

loss of money spent (in an amount to be determined at trial) on the Charcoal Products that were

not as represented, and that were not worth the full value paid, and which Plaintiffs and the Class

members would not have purchased, or would have paid less for, but-for the misrepresentations

and material omissions. 150

         234.     As a proximate result of these acts and omissions, upon which Plaintiffs and Class

members reasonably relied, they also used the Charcoal Toothpastes to their damage, as they were

unaware of the risks (including the abrasivity) and lack of substantiation for efficacy, safety as

well as adequacy of daily long-term use for dental hygiene and oral health maintenance. The




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          See, e.g., Hughes v. Ester C. Co., 930 F.Supp.2d 439 (E.D.N.Y. 2013); Greene v. Gerber Products Co., 262
F.Supp.3d 38 (E.D.N.Y. 2017).
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          See, e.g., Weisblum v. Prophase Labs, Inc., 88 F.Supp.3d 283, 298 (S.D.N.Y.2015) (concluding that the
plaintiffs stated fraud claim based on allegations that the defendants made misrepresentations about cold remedy
products, which induced the plaintiffs to buy the products); Hughes v. Ester C Co., 930 F.Supp.2d 439, 472
(E.D.N.Y. 2013) (finding that the plaintiffs stated intentional misrepresentation claim based on allegations that the
defendants made a material false representation–that vitamin products protected consumers from illness, that the
defendants knew the representation was false, and that the plaintiffs reasonably relied on the representation in
purchasing products at a premium, thereby causing damages); Ackerman v. Coca-Cola, Co., 2010 WL 2925955, at
*26, 2010 U.S. Dist. LEXIS 73156, at *98–99 (E.D.N.Y. July 21, 2010) (concluding that the plaintiffs stated
intentional misrepresentation claim based on allegations that the defendant overstated vitamin water's health benefits
and the plaintiffs purchased water at premium price based on the defendant's misrepresentations).

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Charcoal Toothpastes contained charcoal, which is known to be abrasive and capable of causing

damage to the enamel and gums, and to cause sensitivity and aesthetic issues.

       235.    Plaintiffs pray for relief as set forth below.


                            COUNTS FIVE THROUGH NINETEEN

       236.    Defendant had a statutory duty to refrain from unfair or deceptive acts or practices.

       237.    Had Defendant not engaged in wrongful or deceptive conduct, as described above,

Plaintiffs and members of the Class would not have purchased and paid for the Charcoal

Toothpastes, and/or would not have paid a price premium for them, and they have therefore

proximately suffered injury in fact and ascertainable losses.

       238.    Defendant’s deceptive, unconscionable or fraudulent misrepresentations and

material omission to consumers, including the failure to inform of the risks of use and the lack of

substantiation, as well as numerous affirmative representations, constituted unfair and deceptive

acts and practices in violation of state consumer protection statutes.

       239.    Defendant’s failure to abide by its statutory duties is ongoing and continues.

       240.    Defendant obtained significant sums of money from Plaintiffs and Class members

as a result of its wrongful conduct, in which it continues to engage and profit from.

       241.    Defendant’s actions, as complained of herein, constitutes unfair competition or

unfair, unconscionable, deceptive or fraudulent acts or practices in violation of state consumer

protection statutes, including but not limited to the following state consumer protection and

deceptive practices statutes as identified below in counts brought by the respective named

Plaintiffs on behalf of their respective state subclasses.

       242.    As a direct and proximate result of Defendant’s wrongful conduct, Plaintiffs and

the Class members are entitled to a judgment declaring that Defendant’s actions have been in

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violation of their statutory duties, that provides injunctive relief in order to ensure that ongoing

wrongful and similar acts do not continue, and that provides compensatory damages, multiple or

or punitive damages, attorneys’ fees and costs of suit, and any other damages and remedies

provided by statute or to which Plaintiffs and the Class are entitled to or that are otherwise justified

by equitable relief, as deemed appropriate by this Court.

                                          COUNT FIVE
                                           AZ Subclass
                         Violations of the Arizona Consumer Fraud Act
                                Ariz. Rev. Stat. §§ 44-1522, et seq.

        243.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

        244.    Plaintiff Thomas and Plaintiff Cash (“Plaintiffs Thomas and Cash”) bring this

Count individually on behalf of themselves, and on behalf of the AZ Subclass, and do so pursuant

to the Arizona Consumer Fraud Act. Ariz. Rev. Stat. §§ 44-1521, et seq. (the “ACFA”), which

prohibits “[t]he act, use or employment by any person of any deception, deceptive act or practice,

fraud, false pretense, false promise, misrepresentation, or concealment, suppression or omission

of any material fact with intent that others rely upon such concealment, suppression or omission,

in connection with the sale or advertisement of any merchandise whether or not any person has in

fact been misled, deceived or damage thereby.” Ariz. Rev. Stat. § 44-1522(A).

       245.    Defendant is a “person” as defined by the ACFA, as are Plaintiffs Thomas and Cash

and the members of the AZ Subclass. Ariz. Rev. Stat. § 44-1521(6).

       246.    The Charcoal Toothpastes are “merchandise” as defined by the ACFA. Ariz. Rev.

Stat. § 44-1521(5).

       247.    As previously alleged above herein, Defendant made numerous material statements

about the benefits and characteristics of the Charcoal Toothpastes that were false, deceptive or

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misleading, in connection with the sale, offers to sell, attempts to sell and advertisements of the

Charcoal Toothpastes, and that were intended to be relied upon. These include, but are not limited

to, representations that the Charcoal Toothpastes are or can create: (i) naturally whitening; (ii)

whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v) whitens, polishes and cleans

teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and freshens breath; (viii) a natural

whitener and detoxifier that helps make smiles brighter and breath fresher; (ix) detoxifier that

removes surface stains and freshens breath; (x) gentle and safe for everyday use; (xi) safe for

enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors that cause bad breath and

the tannins that can stain teeth; (xv) helps prevent cavities and strengthen enamel; (xvi) removes

plaque; and (xvii) kicks plaque to the curb.

       248.    Defendant’s unlawful conduct also included the omission and suppression of

material facts, such as failing to disclose to consumers that (i) its safety and efficacy claims lacked

a reasonable factual basis and/or credible and competent scientific substantiation; (ii) safety had

not been evaluated for long-term use, (iii) the safety and effectiveness of charcoal for use in

dentifrice was counter-indicated in scientific literature and may in fact be detrimental and harmful

to oral health, dental hygiene, and aesthetics.

       249.    Hello knew that its claims were unsubstantiated yet it knowingly failed to disclose

to the lack of substantiation to consumers. Hello also knowingly failed to warn consumers of the

risk or potential harm from use of the Charcoal Toothpastes.

       250.    Defendant’s knowing and intentional false promises, misrepresentations, and

omissions set forth above constitute unfair and deceptive acts or practices prohibited by the ACFA.

Ariz. Rev. Stat. § 44-1522(A).




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       251.    Defendant’s misrepresentations and omissions and other unfair and deceptive acts

and practices had the tendency, capacity, and likelihood to deceive and mislead a reasonable

consumer acting reasonably in the circumstances. Defendant designed its misrepresentations and

omissions in order to deceive and in order to induce their reliance and purchase of the Charcoal

Toothpastes. In keeping with its intention, Defendant did, in fact, successfully mislead and deceive

reasonable consumers and induce their reliance and purchase to their detriment, including

Plaintiffs Thomas and Cash and members of the AZ Subclass.

       252.    Hello’s deceptive and unfair marketing practices and misleading claims and

omissions therein, were uniform to consumers and conveyed a uniformly deceptive and misleading

impression of the Charcoal Toothpastes. They were part of a widespread and systematic pattern

and/or practice which was designed for its tendency and capacity to mislead.

       253.    The safety and efficacy of the Charcoal Toothpastes, and substantiation thereof,

were material to Plaintiffs Thomas and Cash and members of the AZ Subclass making their

respective purchases. Hello had a duty to accurately disclose the level of substantiation, or lack

thereof, for its claims. It also had a duty to make accurate and clear disclosures concerning potential

risk or harm from use.

       254.    The omission of lack of substantiation and risk of harm were material and

intentionally made to induce consumer reliance; they were logically related and rationally

significant to Plaintiffs Thomas and Cash and members of the AZ Subclass, in their consideration

of the purchase transaction.

       255.    In contravention of these and other duties, Hello omitted to make these and other

material disclosures, and also made overt claims on safety and efficacy that were misleading and/or




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false and did so in order to induce consumer reliance. Defendant’s claims on safety and efficacy

could be measured and qualified and were not mere puffery.

       256.     Plaintiffs Thomas and Cash and members of the AZ Subclass were deceived and

misled about the true performance, safety, efficacy, benefits, requisite substantiation, risk, value

and other characteristics of the Charcoal Toothpastes. As a direct and proximate result of

Defendant’s unlawful acts, Plaintiffs Thomas and Cash and members of the AZ Subclass sustained

actual damages when they purchased one or more of the misrepresented Charcoal Toothpastes.

       257.     The Charcoal Toothpastes did not and cannot deliver promised health or cosmetic

benefits, do not have the promised value and are potentially worthless for the intended use, and in

fact may be detrimental and pose serious risk.

       258.     As a direct and proximate result of Defendant’s violations of the ACFA, Defendant

caused actual damage to Plaintiffs Thomas and Cash and the AZ Subclass members and they are

therefore entitled to damages and other relief as provided under the ACFA. The sustained actual

damages are in an amount to be determined at trial and will include the economic injury in the

amount of the purchase price(s) of the Charcoal Toothpastes they purchased and/or the price

premium paid.

       259.     Pursuant to the ACFA, Plaintiffs Thomas and Cash and the AZ Subclass make

claims for damages, attorneys’ fees and costs.

       260.     Plaintiffs Thomas and Cash and members of the AZ Subclass also seek punitive

damages as provided under the ACFA. Defendant knew or should have known that its conduct

was unfair or deceptive, and/or prohibited by rule. As shown by the allegations herein, Defendant

consciously pursued a course of conduct knowing that it created a substantial risk of significant

harm to others, thus warranting the imposition of punitive damages under Arizona law.



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       261.    Plaintiffs Thomas and Cash and members of the AZ Subclass also seek an order for

the consumer restitution and for disgorgement of Defendant’s ill-gotten gains.

       262.    Plaintiffs Thomas and Cash and members of the AZ Subclass assert that Defendant

willfully violated Section 44-1522 of the ACFA, because it knew or should have known that its

conduct was of the nature prohibited by the ACFA. As such, they seek statutory penalties for

willful violations of the ACPA, and for any other just and proper relief available under the ACFA.

       263.    Furthermore, if not stopped, Defendant will continue to cause harm to members of

the AZ Subclass. Plaintiffs and members of the Classes risk irreparable injury as a result of

Defendant’s violations of the ACFA, and these violations present a continuing risk to Plaintiffs,

the Classes, and the general public. Defendant’s unlawful acts and practices complained of herein

affect the public interest, consumer safety and the competitive market. Pursuant to the ACFA,

Plaintiffs and the Classes seek an assurance of discontinuance of the unlawful practices and seek

such assurance in the form of a declaratory judgment and court order enjoining the wrongful acts

and practices of Defendant, and for any other just and proper relief available under the ACFA.

                                          COUNT SIX
                                          CA Subclass
                 Violation of the California Unfair Competition Law (“UCL”)
                                Cal. Bus. & Prof. Code § 17200

       264.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       265.    Plaintiff Tatum brings this Count individually on behalf of herself and on behalf of

the CA Subclass.

       266.    Plaintiff Tatum is a person within the meaning of the UCL and she has suffered

economic injury as a result of Defendant’s unlawful and unfair misconduct, and otherwise meets

requirements for statutory standing to sue under the UCL. Cal. Bus. & Prof. Code §§ 17201, 17204.

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        267.    The UCL prohibits any “unlawful, unfair, or fraudulent business act or practice” as

well as any “unfair, deceptive, untrue or misleading” advertising, and any act prohibited by

Sections 17500 through 17577.5. Cal. Bus. & Prof. Code § 17200.

        268.    By the acts and conduct alleged herein, Defendant committed unfair, unlawful

and/or fraudulent acts and practices and employed deceptive, misleading, and/or untrue

advertising, as well as other prohibited acts and practices. Defendant’s deceptive acts and practices

were likely to deceive or mislead reasonable consumers. Defendant’s deceptive acts and practices

are misleading in a material way because they fundamentally misrepresent the characteristics and

benefits of the Charcoal Toothpastes. They are likely to mislead, and did mislead, consumers who

are reasonable members of the general public acting reasonably under the circumstances, and

induced them to purchase the Charcoal Toothpastes.

        269.    Defendant’s misconduct relating to the Charcoal Toothpastes included misleading

and deceptive claims including that the Charcoal Toothpastes are or can create (i) naturally

whitening; (ii) whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v) whitens,

polishes and cleans teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and freshens

breath; (viii) a natural whitener and detoxifier that helps make smiles brighter and breath fresher;

(ix) detoxifier that removes surface stains and freshens breath; (x) gentle and safe for everyday

use; (xi) safe for enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors that cause

bad breath and the tannins that can stain teeth; (xv) helps prevent cavities and strengthen enamel;

(xvi) removes plaque; and (xvii) kicks plaque to the curb.

        270.    Defendant also omitted material facts. Defendant’s omissions were contrary to the

representations it actually made. Additionally, Defendant was under a duty to disclose certain such

omissions. Defendant’s omissions include that: (i) its safety and efficacy claims lacked a



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reasonable basis and/or credible and competent scientific substantiation; (ii) the safety for long-

term use had not been evaluated; (iii) available scientific literature counter-indicated the safety and

effectiveness of charcoal for use in dentifrice; and (iv) the products may in fact be detrimental to

cosmetic aesthetics, deficient for dental hygiene, and/or and harmful to tooth enamel and gums

and to overall oral health.

       Unlawful

       271.     Defendant violated, and continues to violate, the UCL’s prohibition against

engaging in unlawful conduct. A business act or practice is “unlawful” under the UCL if it violates

established state or federal law. Defendant’s conduct falls under the unlawful prong of the UCL,

by virtue of the allegations previously asserted herein, and also by virtue of its violations of the

following:

       a.       The FTC Act and FTC regulations;

       b.       The FD&C Act and FDA regulations;

       c.       California’s Sherman Law (Cal. Health & Safety Code §§ 109875 et seq.), as

alleged herein, by its act of misbranding and its act of falsely advertising a cosmetic, as well as:

the unlawful dissemination of falsely advertised cosmetics (110390), the unlawful manufacture,

sale, delivery, holding and offer for sale of a falsely advertised cosmetic (110395), the unlawful

advertising of a misbranded cosmetic (110398), the unlawful delivery, proffer for delivery and/or

receipt in commerce of a falsely advertised cosmetic (110400);

       d.       The CLRA, Cal. Civ. Code §§ 1750, et seq., including §§ 1770(a)(2), (3), (5), (7),

and (9), as pled below and as alleged herein; and

       e.       Cal. Bus. & Prof. Code §§ 17500, et seq., as pled below and as alleged herein.

       Unfair



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       272.    Defendant has also violated, and continues to violate, the UCL’s prohibition against

engaging in unfair conduct. Defendant has violated the unfair prong of section 17200 of the UCL

because the acts and practices alleged herein – including the omission of its lack of substantiation

for its claims, and other facts that would detract from its claims, as well as the existence of safety

concerns over the use of charcoal in dentifrice – offend established public policy (included but not

limited to the policies reflected by the statutory and regulatory provisions cited above), and are

immoral, unethical, unscrupulous, as well as substantially injurious to consumers.

       273.    Its conduct presents no utility or benefit to consumers or to competition. To the

extent any purported benefit is associated with Defendant’s acts and practices, any such benefit is

greatly outweighed by the gravity of the harm caused to consumers by Defendant’s conduct.

       274.    Substantial consumer injury could not have reasonably been avoided. Typical and

reasonable consumers are not in a position to know and understand the safety concerns posed by

the use of charcoal in dentifrice generally or the use of the Charcoal Toothpastes sold by

Defendant, or the lack of controlled safety studies for such products.

       275.    It also impairs competition within the market for similar dentifrices, and prevents

Plaintiff Tatum and the CA Subclass Members from making fully informed decisions about the

oral care products to purchase or the price to pay for such products.

       Fraudulent

       276.    Defendant has violated the fraudulent prong of section 17200 of the UCL because

its misrepresentation, its omissions, failure to disclose safety concerns and the lack of controlled

safety studies were likely to deceive a reasonable consumer, and the true facts would be material

to a reasonable consumer.




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       277.    Had Plaintiff Tatum and the CA Subclass Members been aware of the Defendant’s

deceptive practices and marketing tactics, and the truth about the misbranded and falsely

advertised Charcoal Toothpastes (including the safety concerns; the lack of controlled safety

studies; the lack of required substantiation; the misleading and deceptive nature of claims on

whitening, detoxifying and other purported properties of the products; and other facts), they would

not have purchased the product(s) or would have paid less for the product(s).

       278.    Defendant’s deceptive and unconscionable conduct is compounded by its continued

representation that its Charcoal Toothpastes are safe, as well as its failure to take remedial action.

       279.    All of the wrongful conduct alleged herein occurred, and continues to occur, in the

conduct of Defendant’s business and is part of a general practice that is still being perpetuated and

repeated throughout the state of California and nationwide. The misbranded products and

misleading and deceptive marketing claims continue to be disseminated.

       280.    As a direct and proximate result of Defendant’s unlawful misconduct, including but

not limited to its specific statutory and regulatory violations, Plaintiff Tatum and the CA Subclass

Members have been harmed. That harm will continue unless Defendant is enjoined from using the

misleading marketing, packaging and labeling described herein in connection with the advertising

and sale of its Charcoal Toothpastes.

       281.    In accordance with Section 17203 of the UCL, Plaintiff Tatum seeks an order

enjoining Defendant from continuing to conduct business through its unlawful, unfair, and

deceptive practices, and to commence a corrective advertising campaign. Cal. Bus. & Prof. Code

§ 17203. Defendant’s conduct is ongoing and continuing, such that prospective injunctive relief is

necessary.




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       282.    Defendant has been unjustly enriched and its monies wrongfully earned should be

disgorged, and required to be paid in restitution to Plaintiff Tatum and CA Subclass Members any

money that Defendant acquired by unfair competition, as provided under the UCL and/or as

otherwise statutorily permitted. Cal. Bus. & Prof. Code § 17204; Cal. Com. Code § 2721.

       283.    Plaintiff Tatum and the CA Subclass Members are also entitled to restitution on the

basis of quasi-contract or equity, and should be restored with the monies they paid for the falsely

advertised misbranded products.

                                       COUNT SEVEN
                                          CA Subclass
                        Violation of California False Advertising Law (“FAL”)
                               Cali. Bus. and Prof. Code § 17500 et seq.

       284.    Plaintiff Tatum re-asserts and references the allegations in this Third Amended

Complaint, and incorporates as if fully set forth herein.

       285.    Plaintiff Tatum brings this Count individually, and on behalf of the CA Subclass.

       286.    Section 17500 of the California Business and Professions Code, or the FAL,

prohibits making false or misleading advertising claims.

       287.    The Defendant’s acts, conduct, misrepresentations, and non-disclosures of the

material facts, as previously alleged herein, constitute false and misleading advertising and

therefore are in violation of the FAL and are unlawful.

       288.     Defendant’s misleading marketing, advertising, packaging and labeling of the

Charcoal Toothpastes is false advertising likely to deceive a reasonable consumer. Defendant’s

marketing, advertising, packaging and labeling of the Charcoal Toothpastes misrepresent the true

benefits, effectiveness, safety and other properties of the Charcoal Toothpastes, including but not

limited to its claims that the Charcoal Toothpastes are or can create (i) naturally whitening; (ii)

whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v) whitens, polishes and cleans

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teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and freshens breath; (viii) a natural

whitener and detoxifier that helps make smiles brighter and breath fresher; (ix) detoxifier that

removes surface stains and freshens breath; (x) gentle and safe for everyday use; (xi) safe for

enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors that cause bad breath and

the tannins that can stain teeth; (xv) helps prevent cavities and strengthen enamel; (xvi) removes

plaque; and (xvii) kicks plaque to the curb. Plaintiff Tatum and Members of the CA Subclass were

indeed deceived regarding the characteristics of the Charcoal Toothpastes. Plaintiff Tatum and

Members of the CA Subclass who purchased the falsely labeled Charcoal Toothpastes were

reasonable under the circumstances and could not have known the Charcoal Toothpastes they

purchased did not in fact bear the properties and qualities as advertised, marketed, packaged,

and/or labeled.

       289.       Defendant knew, or reasonably should have known, that the claims were untrue or

misleading.

       290.       Defendant has been unjustly enriched and should be required to make restitution to

Plaintiffs and to the Class. Pursuant to Section 17535 of the Business and Professions Code,

Plaintiff Tatum seeks an order for the disgorgement of the improperly acquired funds by which

Defendant was unjustly enriched. Plaintiff Tatum and the CA Subclass members also seek

restitution in the amount they spent on the Charcoal Toothpastes.

       291.       Plaintiff Tatum and the CA Subclass Members seek injunctive and equitable relief.

Plaintiff Tatum and the CA Subclass members are entitled to injunctive relief, and seek orders to

enjoin Defendant from ongoing and future conduct as well as to take corrective action, and orders

for any other equitable relief. Defendant’s misconduct is ongoing and continuing, such that

prospective injunctive relief is necessary.



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       292.    Plaintiff Tatum is entitled to an award of attorneys’ fees and costs in prosecuting

this action against Defendant under California’s Code of Civil Procedure Section 1021.5 and other

applicable law, in part because:

               a.      a successful outcome in this action will result in the enforcement of

important rights affecting the public interest by maintaining the integrity of representations made

concerning the Charcoal Toothpastes;

               b.      this action will result in a significant benefit to consumers or a large class

of persons by bringing unlawful, unfair and deceptive conduct to a halt, and by causing the return

of ill-gotten gains obtained by Defendant;

               c.      unless this action is prosecuted, members of a large class of persons will not

recover those monies, and many consumers would not be aware that they were victimized by

Defendant’s wrongful acts and practices;

               d.      unless this action is prosecuted, Defendant will continue to mislead

consumers about the true nature of its Charcoal Toothpastes;

               e.      and an award of attorneys’ fees and costs is necessary for the prosecution

of this action and will result in a benefit to each member of the Class(es), and consumers in general.

                                         COUNT EIGHT
                                          CO Subclass
                      Violations of the Colorado Consumer Protection Act
                               Colo. Rev. Stat. §§ 6-1-101, et seq.

       293.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       294.    Plaintiff Carter brings this Count individually on behalf of himself, and on behalf

of the CO Subclass.




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       295.    Defendant is a “person” within the meaning of the Colorado Consumer Protection

Act. Colo. Rev. Stat. § 6-1-102(6).

       296.    Defendant engaged in unlawful practices in the course of its business that violated

the Colorado Consumer Protection Act including: knowingly making false representations as to

the characteristics, ingredients, uses, and benefits of the Charcoal Toothpastes, in violation of

Colo. Rev. Stat. § 6-1-105(e); representing that the Charcoal Toothpastes were of a particular

standard when Defendant knew or should have known they were of another, in violation of Colo.

Rev. Stat. § 6-1-105(g); and failing to disclose material information concerning the Charcoal

Toothpastes which information was known at the time of the advertisement and sale and such

failure to disclose such information was intended to induce Plaintiff Carter and the CO subclass to

enter into a transaction, in violation of Colo. Rev. Stat. § 6-1-105(u).

       297.    By the acts and conduct alleged herein, Defendant committed unfair or deceptive

acts and practices. These acts and conduct include, but are not limited to, Defendant’s

misrepresentations and deceptive claims that the Charcoal Toothpastes are or can create (i)

naturally whitening; (ii) whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v)

whitens, polishes and cleans teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and

freshens breath; (viii) a natural whitener and detoxifier that helps make smiles brighter and breath

fresher; (ix) detoxifier that removes surface stains and freshens breath; (x) gentle and safe for

everyday use; (xi) safe for enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors

that cause bad breath and the tannins that can stain teeth; (xv) helps prevent cavities and strengthen

enamel; (xvi) removes plaque; and (xvii) kicks plaque to the curb.

       298.    Defendant’s unlawful conduct also included omitting material facts, such as failing

to disclose to consumers that (i) its claims lacked a scientific basis or credible substantiation; and



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(ii) the safety and effectiveness of charcoal for use in dentifrice was counter-indicated in scientific

literature. Defendant failed to warn consumers of the lack of substantiation, and failed to warn

consumers of risk or potential harm. Defendant’s conduct significantly impacts the public as actual

or potential consumers of the Charcoal Toothpastes.

       299.    Defendant knew, or had reason to know, that the foregoing misrepresentations,

omissions and other practices were false and/or misleading. Defendant’s misrepresentations and

omission were material to consumers, and made in order to induce consumers’ reliance and

purchase of the Charcoal Toothpastes (and at a price premium). Defendant’s deceptive practices

could reasonably be expected to mislead, and did in fact mislead reasonable consumers, including

Plaintiff and members of the CO Subclass.

       300.    As a direct and proximate cause of Defendant’s deceptive practices and unlawful

conduct, Plaintiff Carter and members of the CO Subclass have suffered, and continue to suffer,

economic injuries. Plaintiff Carter and members of the CO Subclass purchased one or more of the

Charcoal Toothpastes, which did not possess the benefits, effectiveness, safety and other qualities

that Hello had represented. Had they known the true facts, they would not have purchased the

Charcoal Toothpastes, or would have paid less. Plaintiff Carter and the CO Subclass were damaged

by the difference in value between the Charcoal Toothpastes as advertised and the Charcoal

Toothpastes as actually sold.

       301.    For violations of the Colorado Consumer Protection Act, and pursuant to Colo.

Rev. Stat. § 6-1-113, Plaintiff Carter, on behalf of himself and the members of the CO Subclass,

seeks to recover actual damages sustained; to recover reasonable attorneys’ fees and costs; and

any other statutorily available damages or relief the Court deems proper.

                                           COUNT NINE
                                            FL Subclass

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                Violations of Florida Deceptive and Unfair Trade Practices Act
                                Fla. Stat. Ann. § 501.201, et seq.

       302.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       303.    Plaintiff Parks brings this Count individually on behalf of herself, and on behalf of

the FL Subclass.

       304.    Defendant’s acts, omissions, and practices described herein are in violation of the

Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”).

       305.    The FDUTPA prohibits “[u]nfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce.” Fla.

Stat. § 501.204(1).

       306.    The FDUTPA is to be “construed liberally to promote” its stated purposes,

including to “make state consumer protection and enforcement consistent with established policies

of federal law relating to consumer protection. Fla Stat. § 501.202(3). In construing the FDUTPA,

“due consideration and great weight shall be given to the interpretation of the Federal Trade

Commission and the federal courts relating to § 5(a)(1) of the Federal Trade Commission Act, 15

U.S.C. § 45(a)(1).” Fla. Stat § 501.204(2).

       307.    Defendant has engaged in a pattern of business practices that are unfair, deceptive,

unconscionable and anti-competitive, and that affected Plaintiff Parks and members of the Florida

Subclass, in violation of the FDUTPA. Defendant’s conduct also violates other laws, rules and

regulations that protect consumers and/or prohibit unfair methods of competition, unfair or

deceptive acts or practices, and such violations constitute per se violations of the FDUTPA. Fla.

Stat § 501.203(3).




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        308.    Plaintiff Parks is a “consumer” within the meaning of the FDUTPA. Fla. Stat. §

501.203(7).

        309.    Defendant is engaged in “trade or commerce” within the meaning of Fla. Stat. §

501.203(8).

        310.    Defendant’s unlawful acts and practices include, but are not limited to, its

misrepresentations and deceptive claims that the Charcoal Toothpastes are or can create (i)

naturally whitening; (ii) whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v)

whitens, polishes and cleans teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and

freshens breath; (viii) a natural whitener and detoxifier that helps make smiles brighter and breath

fresher; (ix) detoxifier that removes surface stains and freshens breath; (x) gentle and safe for

everyday use; (xi) safe for enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors

that cause bad breath and the tannins that can stain teeth; (xv) helps prevent cavities and strengthen

enamel; (xvi) removes plaque; and (xvii) kicks plaque to the curb.

        311.    Defendant also omitted the disclosure of material facts to consumers concerning

the Charcoal Toothpastes, including that (i) its claims lacked a scientific basis or credible

substantiation; and (ii) the safety and effectiveness of charcoal for use in dentifrice was counter-

indicated in scientific literature.

        312.    Defendant’s conduct and practices were likely to deceive a reasonable consumer

acting reasonably in the circumstances.

        313.    Defendant’s misrepresentations and omissions and other practices were intended to

induce consumers, including Plaintiff Parks and FL Subclass members, to purchase the Charcoal

Toothpastes.




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       314.    Defendant’s conduct constituted unfair and deceptive trade practices in violation of

Section 5 of the FTC Act. 15 U.S.C. § 45.

       315.    Defendant’s conduct violated the FTC Act’s prohibition against false or misleading

advertisements of food, drugs and cosmetics. 15 U.S.C. § 52.

       316.    Defendant’s conduct violated the FD&C Act’s prohibition on the marketing and

movement in interstate commerce of misbranded cosmetics. 21 U.S.C. § 331.

       317.    Defendant caused the Charcoal Toothpastes to be misbranded under 21 U.S.C. §

263 and 21 CFR 1.21, and otherwise mislabeled the Charcoal Toothpastes in contravention of

federal laws, rules and regulations.

       318.    Defendant’s conduct violated FTC and FDA rules and regulations requiring that

Defendant have a reasonable basis and credible, scientific substantiation for the claims and

representations it made concerning the Charcoal Toothpastes in the labeling, packaging,

advertisements and marketing of the Charcoal Toothpastes.

       319.    Defendant failed to provide a warning to consumers that it lacked adequate

substantiation of its claims, and/or to warn of the risk and potential harm from use of its products,

in violation of federal rules and regulations including 21 CFR 740.10.

       320.    Defendant knew or should have known that its conduct was unfair or deceptive,

and/or prohibited by rule.

       321.    As a direct and proximate result of Defendant’s statutory violations and deceptive,

misleading and unfair practices, Plaintiff Parks and the members of the FL Subclass have been

aggrieved, injured and suffered damages in the amount of the purchase price(s) of the Charcoal

Toothpastes they purchased and/or the price premium paid.




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       322.    Defendant has engaged in, and continues to engage in, unfair and deceptive

practices that offend public policies, and are immoral, unethical, unscrupulous and substantially

injurious to consumers. Plaintiff Parks and the FL Subclass risk irreparable injury as a result of

Defendant’s violations of the FDUTPA, and these violations present a continuing risk to Plaintiff

Parks, the FL Subclass, and the general public. Defendant’s unlawful acts and practices

complained of herein affect the public interest, consumer safety and the competitive market.

       323.    Pursuant to Fla. State §§ 501.211(2) and 501.2105, Plaintiff Parks and the FL

Subclass make claims for damages, attorneys’ fees and costs.

       324.    Pursuant to Fla. Stat. § 501.211(1), Plaintiff Parks and the FL Subclass seek a

declaratory judgment and court order enjoining the wrongful acts and practices of Defendant.

       325.    Plaintiff Parks and the FL Subclass also seek an order for the restitution and

disgorgement of Defendant’s ill-gotten gains, and for statutory penalties of $10,000 per violation

for Defendant’s willful violations of the FDUTPA (Fla. Stat. § 501.2075), and for any other just

and proper relief available under the FDUTPA.

                                          COUNT TEN
                                           IL Subclass
      Violations of the Illinois Consumer Fraud and Deceptive Business Practices Act
                                815 Ill. Comp. Stat. 505/1, et seq.

       326.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       327.    Plaintiff Smith brings this Count individually on behalf of herself, and on behalf of

the IL Subclass.

       328.    Defendant is a “person” within the meaning of the Illinois Consumer Fraud and

Deceptive Business Practices Act (815 ILCS 505/1(c)).




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       329.    Defendant engaged in a “sale” within the meaning of the Illinois Consumer Fraud

and Deceptive Business Practices Act with regard to the advertisement, offers of sale, sale and

distribution of the Charcoal Toothpastes to consumers. (815 ILCS 505/1(d)).

       330.    Defendant engaged in unlawful practices and deceptive conduct in the course of its

business that violated the Illinois Consumer Fraud and Deceptive Business Practices Act

including: misrepresentations and omissions related to the to the characteristics, ingredients, uses,

and benefits of the Charcoal Toothpastes, with the intent that others rely upon the concealment,

suppression or omission of such material facts; and representing, knowingly or with reason to

know, that the Charcoal Toothpastes were of a particular standard when they were of another, all

in violation of 815 ILCS 505/2.

       331.    By the acts and conduct alleged herein, Defendant committed unfair or deceptive

acts and practices. These acts and conduct include, but are not limited to, Defendant’s

misrepresentations and deceptive claims that the Charcoal Toothpastes are or can create (i)

naturally whitening; (ii) whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v)

whitens, polishes and cleans teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and

freshens breath; (viii) a natural whitener and detoxifier that helps make smiles brighter and breath

fresher; (ix) detoxifier that removes surface stains and freshens breath; (x) gentle and safe for

everyday use; (xi) safe for enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors

that cause bad breath and the tannins that can stain teeth; (xv) helps prevent cavities and strengthen

enamel; (xvi) removes plaque; and (xvii) kicks plaque to the curb.

       332.    Defendant’s unlawful conduct also included omitting material facts, such as failing

to disclose to consumers that (i) its claims lacked a scientific basis or credible substantiation; and

(ii) the safety and effectiveness of charcoal for use in dentifrice was counter-indicated in scientific



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literature. Defendant failed to warn consumers of the lack of substantiation, and failed to warn

consumers of risk or potential harm.

       333.    Defendant’s misrepresentations and omission were material to consumers, and

made in order to induce consumers’ reliance and purchase of the Charcoal Toothpastes (and at a

price premium). Defendant’s deceptive practices could reasonably be expected to mislead, and did

in fact mislead reasonable consumers, including Plaintiff Smith and members of the IL Subclass.

       334.    As a direct and proximate cause of Defendant’s deceptive practices and unlawful

conduct, Plaintiff Smith and members of the IL Subclass have suffered, and continue to suffer,

economic injuries. Plaintiff Smith and members of the IL Subclass purchased one or more of the

Charcoal Toothpastes which did not possess the benefits, effectiveness, safety and other qualities

that Hello had represented. Had they known the true facts, they would not have purchased the

Charcoal Toothpastes, or would have paid less. Plaintiff Smith and the IL Subclass were damaged

by the difference in value between the Charcoal Toothpastes as advertised and the Charcoal

Toothpastes as actually sold.

       335.    For violations of the Illinois Consumer Fraud and Deceptive Business Practices

Act, Plaintiff Smith, on behalf of herself and the members of the IL Subclass, seek to recover

actual damages sustained; to recover reasonable attorneys’ fees and costs; and any other statutorily

available damages or relief the court deems proper.

                                     COUNT ELEVEN
                                       MA Subclass
               Unfair and Deceptive Conduct in Violation of M.G.L. c. 93A, § 2

       336.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       337.    Plaintiff Durgin brings this claim on behalf of himself and the MA Subclass.



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       338.     Defendant is a “person” within the meaning of M.G.L. c. 93A, § 1(a).

       339.     Defendant engaged in “trade or commerce” within the meaning of M.G.L. c. 93A,

§ 1(b) with regard to its advertisement, offer for sale, and distribution of the Charcoal Toothpastes

to consumers.

       340.     Defendant’s conduct, as alleged herein, constitutes unfair or deceptive acts or

practices and unfair methods of competition in trade or commerce in violation of M.G.L. c. 93A,

§ 2 and the regulations promulgated thereunder by the Massachusetts Attorney General, including,

without limitation, the following:

                (a)    940 C.M.R. § 3.02 (prohibiting, among other things, statements or
                       illustrations used in advertisements which create a false impression of the
                       grade, quality, value, or usability of the product offered);

                (b)    940 C.M.R.§ 3.05(1) (prohibiting claims or representations “made by any
                       means concerning a product which, directly, or by implication, or by failure
                       to adequately disclose additional relevant information, ha[ve] the capacity
                       or tendency or effect of deceiving buyers or prospective buyers in any
                       material respect”);

                (c)    940 C.M.R. §3.05(2) (prohibiting the use of any advertisement “which
                       would mislead or tend to mislead buyers or prospective buyers, through
                       pictorial representations or in any other manner, as to the product being
                       offered for sale”);

                (d)    940 C.M.R. § 3.08(2) (providing that it “shall be an unfair and deceptive act
                       or practice to fail to perform or fulfill any promises or obligations arising
                       under a warranty”);

                (e)    940 C.M.R. § 3.16(2) (providing that it is a violation of c. 93A, § 2 to “fail
                       to disclose to a buyer or prospective buyer any fact, the disclosure of which
                       may have influenced the buyer or prospective buyer not to enter into the
                       transaction”); and

                (f)    940 C.M.R. § 3.16(3) (providing that an act or practice violates c. 93A, § 2
                       if it “fails to comply with existing statutes, rules, regulations or laws, meant
                       for the protection of the public’s health, safety or welfare promulgated by
                       the Commonwealth or any political subdivision thereof intended to provide
                       consumers of this Commonwealth protection”).



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        341.   In construing what constitutes unfair or deceptive acts or practices in actions

brought under c. 93A, “the courts will be guided by the interpretations given by the Federal Trade

Commission and the Federal Courts to section 5(a)(1) of the Federal Trade Commission Act (15

U.S.C., § 45(a)(1)), as from time to time amended.” M.G.L., c. 93A, § 2(b).

        342.   Defendant engaged in unlawful practices and unfair and deceptive conduct in the

course of its business that violated M.G.L., c. 93A, § 2 and the above-reference regulations,

including: misrepresentations and omissions related to the to the characteristics, ingredients, uses,

and benefits of the Charcoal Toothpastes; and representing that the Charcoal Toothpastes were of

a particular standard when they were of another.

        343.   Defendant’s unlawful conduct includes its false and misleading statements,

representations, and depictions in its marketing and advertising of the Charcoal Toothpastes,

including, without limitation, claims that the Charcoal Toothpastes are, will, or can create: (a)

naturally whitening; (b) whiten naturally; (c) epic whitening; (d) noticeably whiter teeth; (e)

whiten, polish and clean teeth/freshen breath; (e) detoxify your mouth; (f) detoxify and freshen

breath; (g) a natural whitener and detoxifier that helps make smiles brighter and breath fresher; (h)

a detoxifier that removes surface stains and freshens breath; (i) gentle and safe for everyday use;

(j) safe for enamel; (k) prevent cavities; (l) adsorptive; (m) adsorb the odors that cause bad breath

and the tannins that can stain teeth; (n) help prevent cavities and strengthen enamel; (o) remove

plaque; and (p) kick plaque to the curb.

        344.   Defendant’s unlawful conduct also included omitting material facts, such as failing

to disclose to consumers that: (a) its claims lacked a scientific basis or credible substantiation; and

(b) the safety and effectiveness of charcoal for use in dentifrices was contra-indicated in scientific

literature.



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       345.     Defendant’s misrepresentations and omissions were material to consumers

(including Plaintiff Durgin and MA Subclass members) in connection with their purchases of the

Charcoal Toothpastes, and were made in order to induce consumers’ purchase of the Charcoal

Toothpastes (and at a price premium). Defendant’s deceptive practices had and have the capacity

to mislead consumers, acting reasonably under the circumstances, to act differently than the way

they otherwise would have acted (i.e., to entice reasonable consumers to purchase the Charcoal

Toothpastes).

       346.     Such conduct injured Plaintiff Durgin and each of the other MA Subclass members,

in that: (a) they paid more for the falsely advertised Charcoal Toothpastes than they would have

paid for the Charcoal Toothpastes absent the false and misleading claims; and (b) they paid more

for the Charcoal Toothpastes than they would have paid for comparable oral dentifrices that don’t

make the claims made by Defendant for the Charcoal Toothpastes.

       347.     The injury suffered by Plaintiff Durgin and MA Subclass members, as described in

the preceding paragraph, was incurred as a direct and proximate result of Defendant’s unlawful

conduct, as alleged herein.

       348.     Defendant’s unfair or deceptive acts and practices, as alleged herein, were willful

or knowing violations of M. G. L. c. 93A, § 2, within the meaning of M. G. L. c. 93A, § 9(3).

       349.     Pursuant to M.G.L. c. 93A, §§ 9(3) and 9(4), Plaintiff Durgin and the other

members of the MA Subclass are entitled to recover statutory damages or actual damages,

including recovery of double or treble the amount of their actual damages, plus their reasonable

attorneys’ fees and the costs of this action.

       350.     Plaintiff Durgin and the other members of the MA Subclass are also entitled to

injunctive relief in the form of an order directing Defendant to cease its false and misleading



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marketing and advertising, retrieve existing false and misleading labeling, advertising and

promotional materials, and publish corrective advertising.

       351.    On December 20, 2019, Plaintiff Durgin served Defendant with a written demand

for relief pursuant to M.G.L., c. 93A, § 9(3). Defendant failed to make a reasonable offer of relief

in response to Plaintiff Durgin’s written demand.

                                     COUNT TWELVE
                                     MA Subclass
           Untrue and Misleading Advertising in Violation of M.G. L. c. 266, § 91

       352.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       353.    Plaintiff Durgin brings this claim on behalf of himself and the MA Subclass.

       354.    Defendant’s labeling, advertising, promotion, and marketing of the Charcoal

Toothpastes is untrue, deceptive and misleading, in violation of M.G.L. c. 266, § 91.

       355.    At all times relevant to this action, Defendant knew, or could, upon reasonable

investigation, have ascertained that the labeling, advertising, marketing, and promotion of the

Charcoal Toothpastes was untrue, deceptive and misleading.

       356.    Defendant’s untrue, deceptive and misleading labeling, advertising, marketing and

promotion of the Charcoal Toothpastes has continued throughout the Class Period and is

continuing as of the present date.

       357.    As a purchaser of the Charcoal Toothpastes who was aggrieved by Defendant’s

untrue and misleading advertising (in that Plaintiff Durgin and the other MA Subclass members

purchased a product that did not conform to the claims and representations made about it by

Defendant, including claims and representations (as set forth in detail herein) about the Charcoal

Toothpastes’ superior whitening ability and about the Charcoal Toothpastes’ ability to safely


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produce the represented results), Plaintiff Durgin is entitled to bring, and brings this class action

to seek all available remedies under M.G.L. c. 266, § 91, including injunctive relief. The injunctive

relief would include an order directing Defendant to cease its false and misleading marketing and

advertising, retrieve existing false and misleading advertising and promotional materials, and

publish corrective advertising.

                                     COUNT THIRTEEN
                                         MI Subclass
                Violation of the Michigan Consumer Protection Act (“MCPA”)
                              Mich. Comp. Laws § 445.901, et seq.

       358.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       359.    Plaintiff Huston brings this Count individually on behalf of herself, and on behalf

of the MI Subclass.

       360.    Plaintiff Huston is a person within the meaning of the MCPA and she has suffered

economic injury as a result of Defendant’s unlawful and unfair misconduct, and otherwise meets

requirements for statutory standing to sue under the MCPA. Mich. Comp. Laws §§445.902,

445.903, 445.911.

       361.    Representations that goods have “characteristics, ingredients, uses, benefits, or

quantities that they do not have,” or representations that goods are of a “particular standard, quality,

or grade…if they are of another” are specifically prohibited under the MCPA and are constituted

as “unfair, unconscionable, or deceptive methods, acts, or practices in the conduct of trade or

commerce[.]” Mich. Comp. Laws §445.903.

        362.    By the acts and conduct alleged herein, Defendant committed unfair,

unconscionable and/or deceptive acts and practices and employed deceptive, misleading, and/or

untrue advertising, as well as other prohibited acts and practices. Defendant’s deceptive acts and

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practices were likely to deceive or mislead reasonable consumers. Defendant’s deceptive acts and

practices are misleading in a material way because they fundamentally misrepresent the

characteristics and benefits of the Charcoal Toothpastes. They are likely to mislead, and did

mislead, consumers who are reasonable members of the general public acting reasonably under

the circumstances and induced them to purchase the Charcoal Toothpastes.

       Unlawful

       363.    Defendant violated, and continues to violate, the MCPA’s prohibition against

engaging in unlawful conduct. A business act is unlawful if it violates established state or federal

law. According to the MCPA, it is unlawful to engage in “unfair, unconscionable, or deceptive”

trade practices as Defendant has done here. Mich. Comp. Laws §445.903.

       Unfair & Unconscionable

       364.    Defendant violated, and continues to violate, the MCPA’s prohibition against

engaging in unfair and unconscionable conduct. The blatant misrepresentations of the

“characteristics, uses, [and] benefits” of the Charcoal Toothpastes made by Defendant is the unfair

and unconscionable conduct contemplated by the statute. Mich. Comp. Laws §445.903.

       Deceptive

       365.    Defendant’s misrepresentations, omissions, failure to disclose safety concerns and

the lack of controlled safety studies are considered deceptive practices under the MCPA because

this conduct is likely to deceive a reasonable consumer, and the true facts would be material to a

reasonable consumer.

       366.    Had Plaintiff Huston and the MI Subclass Members been aware of the Defendant’s

deceptive practices and marketing tactics, and the truth about the misbranded and falsely

advertised Charcoal Toothpastes (including the safety concerns, the lack of controlled safety



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studies, the lack of required substantiation, the misleading and deceptive nature of claims on

whitening, detoxifying and other purported properties of the products, and other facts), they would

not have purchased the product(s) or would have paid less for the product(s).

       367.    Defendant’s deceptive conduct is compounded by its continued representation that

its Charcoal Toothpastes are safe, as well as by its failure to take remedial action.

       368.    All of the wrongful conduct alleged herein occurred, and continues to occur, in the

conduct of Defendant’s business and is part of a general practice that is still being perpetuated and

repeated throughout the state of Michigan and nationwide. The misbranded products and

misleading and deceptive marketing claims continue to be disseminated.

       369.    As a direct and proximate result of Defendant’s unlawful misconduct, including but

not limited to its specific statutory and regulatory violations, Plaintiff Huston and the MI Subclass

Members have been harmed. That harm will continue unless Defendant is enjoined from using the

misleading marketing, packaging and labeling described herein in connection with the advertising

and sale of its Charcoal Tooth Products.

       370.    In accordance with Section 445.911 of the MCPA, Plaintiff Huston seeks an order

enjoining Defendant from continuing to conduct business through its unlawful, unfair,

unconscionable, and deceptive practices, and to commence a corrective advertising campaign.

Mich. Comp. Laws §445.911. Defendant’s conduct is ongoing and continuing, such that

prospective injunctive relief is necessary.

       371.    Defendant has been unjustly enriched and its monies wrongfully earned should be

disgorged, and Defendant should be required to pay, in restitution to Plaintiff Huston and MI

Subclass Members, any money that Defendant acquired by unfair competition, as provided under

the MCPA and/or as otherwise statutorily permitted. Mich. Comp. Laws §445.911.



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       372.     Plaintiff Huston and the MI Subclass Members are also entitled to restitution on the

basis of quasi-contract or equity, and should be restored with the monies they paid for the falsely

advertised misbranded products.

                                     COUNT FOURTEEN
                                         MO Subclass
              Violations of the Missouri Merchandising Practices Act (“MMPA”)
                                Mo. Rev. Stat. § 407.010, et seq.

       373.     Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       374.     Plaintiff Winston brings this Count individually on behalf of herself, and on behalf

of the MO Subclass.

       375.     Defendant is a “person” within the meaning of the MMPA (Mo. Rev. Stat.

§407.010(5)).

       376.     Defendant engaged in a “trade” or “commerce” within the meaning of the MMPA

with regard to the advertisement, offers of sale, sale and distribution of the Charcoal Toothpastes

to consumers. (Mo. Rev. Stat. §407.010(7)).

       377.     Plaintiff Winston and members of the MO Subclass purchased Charcoal

Toothpastes for personal, family, or household purposes and acted as reasonable consumer in light

of all circumstances. (Mo. Rev. Stat. §407.025).

       378.     Defendant engaged in unlawful practices and deceptive conduct in the course of its

business that violated the MMPA including: misrepresentations and omissions related to the to the

characteristics, ingredients, uses, and benefits of the Charcoal Toothpastes, with the intent that

others rely upon the concealment, suppression or omission of such material facts; and representing,

knowingly or with reason to know, that the Charcoal Toothpastes were of a particular standard

when they were of another, all in violation of Mo. Rev. Stat. §407.020.1.

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       379.    By the acts and conduct alleged herein, Defendant committed unfair or deceptive

acts and practices. These acts and conduct include, but are not limited to, Defendant’s

misrepresentations and deceptive claims that the Charcoal Toothpastes are or can create (i)

naturally whitening; (ii) whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v)

whitens, polishes and cleans teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and

freshens breath; (viii) a natural whitener and detoxifier that helps make smiles brighter and breath

fresher; (ix) detoxifier that removes surface stains and freshens breath; (x) gentle and safe for

everyday use; (xi) safe for enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors

that cause bad breath and the tannins that can stain teeth; (xv) helps prevent cavities and strengthen

enamel; (xvi) removes plaque; and (xvii) kicks plaque to the curb.

       380.    Defendant’s unlawful conduct also included omitting material facts, such as failing

to disclose to consumers that (i) its claims lacked a scientific basis or credible substantiation; and

(ii) the safety and effectiveness of charcoal for use in dentifrice was counter-indicated in scientific

literature. Defendant failed to warn consumers of the lack of substantiation, and failed to warn

consumers of risk or potential harm.

       381.    Defendant’s misrepresentations and omission were material to consumers, and

made in order to induce consumers’ reliance and purchase of the Charcoal Toothpastes (and at a

price premium). Plaintiff Winston and the MO Subclass have suffered individual damages and

have sufficiently definitive and objective evidence to allow their losses to be calculated with a

reasonable degree of certainty.

       382.    Defendant’s deceptive practices misled Plaintiff Winston and members of the MO

Subclass and would cause a reasonable person to enter into the transactions that resulted in




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damages, and did in fact cause reasonable persons to enter into the transactions, including Plaintiff

and members of the MO Subclass.

       383.     As a direct and proximate cause of Defendant’s deceptive practices and unlawful

conduct, Plaintiff Winston and members of the MO Subclass have suffered, and continue to suffer,

an ascertainable loss of money and economic injuries. Plaintiff Winston and members of the MO

Subclass purchased one or more of the Charcoal Toothpastes which did not possess the benefits,

effectiveness, safety and other qualities that Hello had represented. Had they known the true facts,

they would not have purchased the Charcoal Toothpastes, or would have paid less. Plaintiff

Winston and the MO Subclass were damaged by the difference in value between the Charcoal

Toothpastes as advertised and the Charcoal Toothpastes as actually sold.

       384.     For violations of the MMPA, Plaintiff Winston, on behalf of herself and the

members of the MO Subclass, seek to recover actual damages sustained; to recover punitive

damages; to recover reasonable attorneys’ fees and costs; to provide such equity relief as the Court

deems necessary or proper to protect Plaintiff Winston and members of the MO Subclass from

Defendant’s deceptive conduct and any other statutorily available damages or relief the court

deems proper.

                                       COUNT FIFTEEN
                                           NJ Subclass
                   Violations of the New Jersey Consumer Fraud Act (“CFA”)
                                     N.J.S.A. § 56:8-1, et seq.

       385.     Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       386.     Plaintiff Vain brings this Count individually on behalf of herself, and on behalf of

the NJ Subclass.

       387.     Defendant is a “person” within the meaning of the CFA (N.J.S.A. § 56:8-1(d)).

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         388.   Defendant engaged in a “sale” within the meaning of the CFA with regard to the

sale, offers of sale, and distribution of the Charcoal Toothpastes to consumers. (N.J.S.A. § 56:8-

1(e)).

         389.   Defendant engaged in unconscionable commercial practice in the course of its

business that violated the CFA including: misrepresentations and omissions related to the to the

characteristics, ingredients, uses, and benefits of the Charcoal Toothpastes, with the intent that

others rely upon the concealment, suppression or omission of such material facts; and representing,

knowingly or with reason to know, that the Charcoal Toothpastes were of a particular standard

when they were of another, all in violation of N.J.S.A. § 56:8-2.

         390.   By the acts and conduct alleged herein, Defendant committed unfair or deceptive

acts and practices. These acts and conduct include, but are not limited to, Defendant’s

misrepresentations and deceptive claims, made to Plaintiff Vain and NJ Subclass members on the

Charcoal Toothpastes’ packaging, its own website and through third-party retailers, that the

Charcoal Toothpastes are or can create (i) naturally whitening; (ii) whitens naturally; (iii) epic

whitening; (iv) noticeably whiter teeth; (v) whitens, polishes and cleans teeth/freshens breath; (vi)

detoxify your mouth; (vii) detoxifies and freshens breath; (viii) a natural whitener and detoxifier

that helps make smiles brighter and breath fresher; (ix) detoxifier that removes surface stains and

freshens breath; (x) gentle and safe for everyday use; (xi) safe for enamel; (xii) prevents cavities;

(xiii) adsorptive; (xiv) adsorb the odors that cause bad breath and the tannins that can stain teeth;

(xv) helps prevent cavities and strengthen enamel; (xvi) removes plaque; and (xvii) kicks plaque

to the curb.

         391.   Defendant’s unlawful conduct also included omitting material facts, such as failing

to disclose to consumers that (i) its claims lacked a scientific basis or credible substantiation; and



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(ii) the safety and effectiveness of charcoal for use in dentifrice was counter-indicated in scientific

literature. Defendant failed to warn consumers of the lack of substantiation, and failed to warn

consumers of risk or potential harm.

       392.    Defendant’s misrepresentations and omission were material to consumers, and

made in order to induce consumers’ reliance and purchase of the Charcoal Toothpastes (and at a

price premium). Defendant’s deceptive practices could reasonably be expected to mislead, and did

in fact mislead reasonable consumers, including Plaintiff Vain and members of the NJ Subclass.

Defendant’s deceptive conduct was contrary to the permissible standard of conduct under the CFA.

       393.    Defendant’s deceptive practices misled Plaintiff Vain and members of the NJ

Subclass and would cause a reasonable person to enter into the transactions that resulted in

damages, and did in fact cause reasonable persons to enter into the transactions, including Plaintiff

Vain and members of the NJ Subclass.

       394.    As a direct and proximate cause of Defendant’s deceptive practices and unlawful

conduct, as described above, Plaintiff Vain and members of the NJ Subclass have suffered, and

continue to suffer, an ascertainable loss and economic injuries. Plaintiff Vain and members of the

NJ Subclass purchased one or more of the Charcoal Toothpastes which did not possess the benefits,

effectiveness, safety and other qualities that Hello had represented. Had they known the true facts,

they would not have purchased the Charcoal Toothpastes, or would have paid less. Plaintiff Vain

and the NJ Subclass were damaged by the difference in value between the Charcoal Toothpastes

as advertised and the Charcoal Toothpastes as actually sold.

       395.    For violations of the CFA, Plaintiff Vain, on behalf of herself and the members of

the NJ Subclass, seek to recover actual damages sustained or for the Court to award threefold the

damages sustained by Plaintiff Vain and members of the NJ Subclass; to recover reasonable



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attorneys’ fees and costs; and any other statutorily available damages or relief the Court deems

proper.

                                   COUNT SIXTEEN
                                      NC Subclass
Violations of the North Carolina Unfair and Deceptive Trade Practice Act (“NCUDTPA”)
                              N.C. Gen. Stat. § 75-1.1, et seq.

          396.   Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

          397.   Plaintiff Burns brings this Count individually on behalf of herself, and on behalf of

the NC Subclass.

          398.   Defendant engaged in “commerce” within the meaning of the NCUDTPA with

regard to the sale, offers of sale, distribution, and business activities of the Charcoal Toothpastes

to consumers. NCGS §75-1.1(b).

          399.   Defendant engaged in unlawful practices in the course of its business that violated

the NCUDTPA including: making false representations, knowingly or with reason to know, as to

the characteristics, ingredients, uses, and benefits of the Charcoal Toothpastes; and representing,

knowingly or with reason to know, that the Charcoal Toothpastes were of a particular standard

when they were of another, all in violation of NCGS §75-1.1.

          400.   Defendant engaged in unlawful practices and deceptive conduct in the course of its

business that violated the NCUDTPA including: misrepresentations and omissions related to the

to the characteristics, ingredients, uses, and benefits of the Charcoal Toothpastes, with the intent

that others rely upon the concealment, suppression or omission of such material facts; and

representing, knowingly or with reason to know, that the Charcoal Toothpastes were of a particular

standard when they were of another, all in violation of NCGS §75-1.1.




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       401.    By the acts and conduct alleged herein, Defendant committed unfair or deceptive

acts and practices. These acts and conduct include, but are not limited to, Defendant’s

misrepresentations and deceptive claims that the Charcoal Toothpastes are or can create (i)

naturally whitening; (ii) whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v)

whitens, polishes and cleans teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and

freshens breath; (viii) a natural whitener and detoxifier that helps make smiles brighter and breath

fresher; (ix) detoxifier that removes surface stains and freshens breath; (x) gentle and safe for

everyday use; (xi) safe for enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors

that cause bad breath and the tannins that can stain teeth; (xv) helps prevent cavities and strengthen

enamel; (xvi) removes plaque; and (xvii) kicks plaque to the curb.

       402.    Defendant’s unlawful conduct, which affected commerce, also included omitting

material facts, such as failing to disclose to consumers that (i) its claims lacked a scientific basis

or credible substantiation; and (ii) the safety and effectiveness of charcoal for use in dentifrice was

counter-indicated in scientific literature. Defendant failed to warn consumers of the lack of

substantiation, and failed to warn consumers of risk or potential harm.

       403.    Defendant’s misrepresentations and omission were material to consumers, and

made in order to induce consumers’ reliance and purchase of the Charcoal Toothpastes (and at a

price premium). Defendant’s deceptive practices could reasonably be expected to mislead, and did

in fact mislead reasonable consumers, including Plaintiff Burns and members of the NC Subclass.

Defendant’s deceptive conduct was contrary to the permissible standard of conduct under the

NCUDTPA.

       404.    Defendant’s deceptive practices misled Plaintiff Burns and members of the NC

Subclass and would cause a reasonable person to enter into the transactions that resulted in



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damages, and did in fact cause reasonable persons to enter into the transactions, including Plaintiff

Burns and members of the NC Subclass. Defendant’s misconduct amounted to an inequitable

assertion of its power and position.

       405.     As a direct and proximate cause of Defendant’s deceptive practices and unlawful

conduct, Plaintiff Burns and members of the NC Subclass have suffered, and continue to suffer,

an ascertainable loss and economic injuries. Plaintiff Burns and members of the NC Subclass

purchased one or more of the Charcoal Toothpastes which did not possess the benefits,

effectiveness, safety and other qualities that Hello had represented. Had they known the true facts,

they would not have purchased the Charcoal Toothpastes, or would have paid less. Plaintiff Burns

and the NC Subclass were damaged by the difference in value between the Charcoal Toothpastes

as advertised and the Charcoal Toothpastes as actually sold.

       406.     For violations of the NCUDTPA, Plaintiff Burns, on behalf of herself and the

members of the NC Subclass, seek to recover actual damages sustained or for the Court to award

threefold the damages sustained by Plaintiff Burns and members of the NC Subclass; to recover

reasonable attorneys’ fees and costs; and any other statutorily available damages or relief the court

deems proper.

                                    COUNT SEVENTEEN
                                         SC Subclass
                 Violations of the South Carolina Unfair Trade Practices Act
                                  S.C. Code § 39-5-10, et seq.

       407.     Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       408.     Plaintiff Aguirre brings this Count individually on behalf of herself, and on behalf

of the SC Subclass.




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       409.    Defendant is a “person” within the meaning of the South Carolina Unfair Trade

Practices Act (S.C. Code §39-5-10(a)).

       410.    Defendant engaged in “trade” and “commerce” within the meaning of the South

Carolina Unfair Trade Practices Act with regard to the sale, offers of sale, and distribution of the

Charcoal Toothpastes to consumers. (S.C. Code §39-5-10(b)).

       411.    Defendant knowingly engaged in unlawful practices and deceptive conduct in the

course of its business that violated the South Carolina Unfair Trade Practices Act including:

misrepresentations and omissions related to the to the characteristics, ingredients, uses, and

benefits of the Charcoal Toothpastes, with the intent that others rely upon the concealment,

suppression or omission of such material facts; and representing, knowingly or with reason to

know, that the Charcoal Toothpastes were of a particular standard when they were of another, all

in violation of S.C. Code §39-5-20(a).

       412.    By the acts and conduct alleged herein, Defendant committed unfair or deceptive

acts and practices. These acts and conduct include, but are not limited to, Defendant’s

misrepresentations and deceptive claims that the Charcoal Toothpastes are or can create (i)

naturally whitening; (ii) whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v)

whitens, polishes and cleans teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and

freshens breath; (viii) a natural whitener and detoxifier that helps make smiles brighter and breath

fresher; (ix) detoxifier that removes surface stains and freshens breath; (x) gentle and safe for

everyday use; (xi) safe for enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors

that cause bad breath and the tannins that can stain teeth; (xv) helps prevent cavities and strengthen

enamel; (xvi) removes plaque; and (xvii) kicks plaque to the curb.




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       413.    Defendant’s unlawful conduct also included omitting material facts, such as failing

to disclose to consumers that (i) its claims lacked a scientific basis or credible substantiation; and

(ii) the safety and effectiveness of charcoal for use in dentifrice was counter-indicated in scientific

literature. Defendant failed to warn consumers of the lack of substantiation, and failed to warn

consumers of risk or potential harm.

       414.    Defendant’s misrepresentations and omission were material to consumers, and

made in order to induce consumers’ reliance and purchase of the Charcoal Toothpastes (and at a

price premium). Defendant’s deceptive practices could reasonably be expected to mislead, and did

in fact mislead reasonable consumers, including Plaintiff Aguirre and members of the SC Subclass.

       415.    Defendant’s deceptive practices misled Plaintiff Aguirre and members of the SC

Subclass and would cause a reasonable person to enter into the transactions that resulted in

damages, and did in fact cause reasonable persons to enter into the transactions, including Plaintiff

Aguirre and members of the SC Subclass.

       416.    As a direct and proximate cause of Defendant’s deceptive practices and unlawful

conduct, Plaintiff Aguirre and members of the SC Subclass have suffered, and continue to suffer,

an ascertainable loss and economic injuries. Plaintiff Aguirre and members of the SC Subclass

purchased one or more of the Charcoal Toothpastes which did not possess the benefits,

effectiveness, safety and other qualities that Hello had represented. Had they known the true facts,

they would not have purchased the Charcoal Toothpastes, or would have paid less. Plaintiff

Aguirre and the SC Subclass were damaged by the difference in value between the Charcoal

Toothpastes as advertised and the Charcoal Toothpastes as actually sold.

       417.    For violations of the South Carolina Unfair Trade Practices Act, Plaintiff Aguirre,

on behalf of herself and the members of the SC Subclass, seek to recover actual damages sustained



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or for the Court to award threefold the damages sustained by Plaintiff Aguirre and members of the

SC Subclass; to recover reasonable attorneys’ fees and costs; and any other statutorily available

damages or relief the court deems proper.

                                   COUNT EIGHTEEN
                                       TX Subclass
  Violations of the Texas Deceptive Trade Practices-Consumer Protection Act (“DTPA”)
                        Tex. Bus. & Com. Code Ann. § 17.41, et seq.

       418.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

       419.    Plaintiff Emerick and Plaintiff Reed (“Plaintiffs Emerick and Reed”) brings this

Count individually on behalf of themselves, and on behalf of the TX Subclass.

       420.    Defendant is a “person” within the meaning of the DTPA (Tex. Bus. & Com. Code

Ann. §17.45(3).

       421.    Plaintiffs and members of the TX Subclass are “consumers” within the meaning of

DTPA (Tex. Bus. & Com. Code Ann. §17.45(4)).

       422.    Defendant engaged in “trade” and “commerce” within the meaning of the DTPA

with regard to the sale, offers of sale, and distribution of the Charcoal Toothpastes to consumers.

(Tex. Bus. & Com. Code Ann. §17.45(6)).

       423.    Defendant knowingly engaged in unlawful practices and deceptive conduct in the

course of its business that violated the DTPA including: misrepresentations and omissions related

to the to the characteristics, ingredients, uses, and benefits of the Charcoal Toothpastes, with the

intent that others rely upon the concealment, suppression or omission of such material facts; and

representing, knowingly or with reason to know, that the Charcoal Toothpastes were of a particular

standard when they were of another, all in violation of Tex. Bus. & Com. Code Ann. §17.45(6).




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       424.    By the acts and conduct alleged herein, Defendant committed unfair or deceptive

acts and practices. These acts and conduct include, but are not limited to, Defendant’s

misrepresentations and deceptive claims that the Charcoal Toothpastes are or can create (i)

naturally whitening; (ii) whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v)

whitens, polishes and cleans teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and

freshens breath; (viii) a natural whitener and detoxifier that helps make smiles brighter and breath

fresher; (ix) detoxifier that removes surface stains and freshens breath; (x) gentle and safe for

everyday use; (xi) safe for enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors

that cause bad breath and the tannins that can stain teeth; (xv) helps prevent cavities and strengthen

enamel; (xvi) removes plaque; and (xvii) kicks plaque to the curb.

       425.    Pursuant to Tex. Bus. & Com. Code Ann. §17.505, Plaintiffs Emerick and Reed are

not required to give notice in order to prevent the expiration of the statute of limitations.

       426.    Defendant’s unlawful conduct also included omitting material facts, such as failing

to disclose to consumers that (i) its claims lacked a scientific basis or credible substantiation; and

(ii) the safety and effectiveness of charcoal for use in dentifrice was counter-indicated in scientific

literature. Defendant failed to warn consumers of the lack of substantiation, and failed to warn

consumers of risk or potential harm.

       427.    Defendant’s misrepresentations and omission were material to consumers, and

made in order to induce consumers’ reliance and purchase of the Charcoal Toothpastes (and at a

price premium). Defendant’s deceptive practices could reasonably be expected to mislead, and did

in fact mislead reasonable consumers, including Plaintiffs Emerick and Reed and members of the

TX Subclass.




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       428.    Defendant knew, or had reason to know, that the foregoing misrepresentations,

omissions and other practices were false and/or misleading. Defendant’s misrepresentations and

omission were material to consumers, and made in order to induce consumers’ reliance and

purchase of the Charcoal Toothpastes (and at a price premium). Defendant’s deceptive practices

could reasonably be expected to mislead, and did in fact mislead reasonable consumers, including

Plaintiffs Emerick and Reed and members of the TX Subclass.

       429.    As a direct and proximate cause of Defendant’s deceptive practices and unlawful

conduct, Plaintiffs Emerick and Reed and members of the TX Subclass have suffered, and continue

to suffer, an ascertainable loss and economic injuries. Plaintiffs Emerick and Reed and members

of the TX Subclass purchased one or more of the Charcoal Toothpastes which did not possess the

benefits, effectiveness, safety and other qualities that Hello had represented. Had they known the

true facts, they would not have purchased the Charcoal Toothpastes, or would have paid less.

Plaintiffs Emerick and Reed and the TX Subclass were damaged by the difference in value between

the Charcoal Toothpastes as advertised and the Charcoal Toothpastes as actually sold.

       430.    For violations of the DTPA, Plaintiffs Emerick and Reed, on behalf of themselves

and the members of the TX Subclass, seek to recover actual damages sustained or for the Court to

award threefold the damages sustained by Plaintiffs Emerick and Reed and members of the TX

Subclass; to recover reasonable attorneys’ fees and costs; and any other statutorily available

damages or relief the Court deems proper.

                                     COUNT NINETEEN
                                          WI Subclass
                  Violations of the Wisconsin Deceptive Trade Practices Act
                                   Wis. Stat. § 100.18, et seq.

       431.    Plaintiffs re-assert and reference the allegations in this Third Amended Complaint,

and incorporate as if fully set forth herein.

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       432.    Plaintiff Blotnicki brings this Count individually on behalf of himself, and on behalf

of the WI Subclass.

       433.    Defendant engaged in unlawful practices in the course of its business that violated

the Wisconsin Deceptive Trade Practices Act including: making false representations, knowingly

or with reason to know, as to the characteristics, ingredients, uses, and benefits of the Charcoal

Toothpastes, and representing, knowingly or with reason to know, that the Charcoal Toothpastes

were of a particular standard when they were of another, all in violation of Wis. Stat. §100.18(1).

       434.    By the acts and conduct alleged herein, Defendant committed unfair or deceptive

acts and practices. These acts and conduct include, but are not limited to, Defendant’s

misrepresentations and deceptive claims that the Charcoal Toothpastes are or can create (i)

naturally whitening; (ii) whitens naturally; (iii) epic whitening; (iv) noticeably whiter teeth; (v)

whitens, polishes and cleans teeth/freshens breath; (vi) detoxify your mouth; (vii) detoxifies and

freshens breath; (viii) a natural whitener and detoxifier that helps make smiles brighter and breath

fresher; (ix) detoxifier that removes surface stains and freshens breath; (x) gentle and safe for

everyday use; (xi) safe for enamel; (xii) prevents cavities; (xiii) adsorptive; (xiv) adsorb the odors

that cause bad breath and the tannins that can stain teeth; (xv) helps prevent cavities and strengthen

enamel; (xvi) removes plaque; and (xvii) kicks plaque to the curb.

       435.    Defendant’s unlawful conduct also included omitting material facts, such as failing

to disclose to consumers that (i) its claims lacked a scientific basis or credible substantiation; and

(ii) the safety and effectiveness of charcoal for use in dentifrice was counter-indicated in scientific

literature. Defendant failed to warn consumers of the lack of substantiation, and failed to warn

consumers of risk or potential harm.




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       436.    Defendant knew, or had reason to know, that the foregoing misrepresentations,

omissions and other practices were false and/or misleading. Defendant’s misrepresentations and

omission were material to consumers, and made in order to induce consumers’ reliance and

purchase of the Charcoal Toothpastes (and at a price premium). Defendant’s deceptive practices

could reasonably be expected to mislead, and did in fact mislead reasonable consumers, including

Plaintiff Blotnicki and members of the WI Subclass.

       437.    As a direct and proximate cause of Defendant’s deceptive practices and unlawful

conduct, Plaintiff Blotnicki and members of the WI Subclass have suffered, and continue to suffer,

economic injuries. Plaintiff Blotnicki and members of the WI Subclass purchased one or more of

the Charcoal Toothpastes, which did not possess the benefits, effectiveness, safety and other

qualities that Hello had represented. Had they known the true facts, they would not have purchased

the Charcoal Toothpastes, or would have paid less. Plaintiff Blotnicki and the WI Subclass were

damaged by the difference in value between the Charcoal Toothpastes as advertised and the

Charcoal Toothpastes as actually sold.

       438.    For violations of the Wisconsin Deceptive Trade Practices Act, Plaintiff Blotnicki,

on behalf of himself and the members of the WI Subclass, seeks to recover damages in twice the

amount of pecuniary loss sustained; to recover reasonable attorneys’ fees and costs; and any other

statutorily available damages or relief the Court deems proper.



                                      VII.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated in the

Class, and any other created subclasses, prays for relief as follows:




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       (a)     Certification of this case as a class action, and of the Class as proposed herein (and

any other subclasses) under the Federal Rules of Civil Procedure, designation of the Plaintiffs as

representatives of the Class, and appointment of the undersigned counsel as counsel for the Class;



       (b)     An order enjoining Defendant from making further misrepresentations regarding

the Charcoal Toothpastes, including but not limited to statements that the Charcoal Toothpastes:

       a.      Whiten teeth;

       b.      Detoxify the mouth;

       c.      Are safe and gentle for everyday use;

       d.      Are safe for enamel;

       e.      Are more safe or superior to other dentifrices; and

       f.      Have adsorptive or detoxifying properties that provide dental hygiene, oral health,

and cosmetic benefits.

       (c)     An order requiring Defendant to issue appropriate corrective advertisements and

product labeling and packaging, and to retract its prior false and misleading claims and provide

required material disclosures;

       (d)     Restitution, disgorgement, refund and/or return of all monies, revenues and profits

obtained by Defendant by means of misleading, deceptive and unlawful acts or practices;

       (e)     Actual damages in an amount to be determined at trial;

       (f)     Statutory damages in the maximum amount provided by law;

       (g)     Punitive damages;

       (h)     Costs, expenses, and reasonable attorneys’ fees pursuant to applicable statutes;

       (i)     Pre-judgment and post-judgment interest; and



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       (j)     All such other and further relief as this Court may deem just and proper.

                                         JURY TRIAL DEMAND

       Plaintiffs and the Class hereby demand a jury trial of the claims asserted in this Third

Amended Complaint.

       Dated: June 15, 2022                          Respectfully submitted,

                                                     /s/ William B. Federman
                                                     William B. Federman
                                                     (S.D. New York #WF9124)
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                                                     Counsel for Plaintiffs and the
                                                     Proposed Classes

                                CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2022, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system, which will send notice of electronic filing to all

counsel of record.

                                             By: s/William B. Federman
                                                 William B. Federman



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